Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 1 of
                                      309




                                   Exhibit C
Case 0:21-cv-60125-RNS Document 203-3Rishi
                                       Entered on FLSD Docket 08/22/2023 Page 2 of
                                            Kukreja
                                      309 01, 2023
                                     June                                          1

 ·1· · · · · · · · UNITED STATES DISTRICT COURT
 · · · · · · · · · SOUTHERN DISTRICT OF FLORIDA
 ·2
 · · · · · · · ·CASE NO. 21-60125-CIV-SCOLA/GOODMAN
 ·3

 ·4

 ·5· ·JIANGMEN BENLIDA PRINTED
 · · ·CIRCUIT CO., LTD.,
 ·6
 · · · · · · · ·Plaintiff,
 ·7
 · · · · · vs.
 ·8
 · · ·CIRCUITRONIX, LLC,
 ·9
 · · · · · · · ·Defendant.
 10· ·________________________________/

 11

 12

 13
 · · · · · · · · · · TRANSCRIPT OF PROCEEDINGS
 14· · · · · · · · ·DEPOSITION OF RISHI KUKREJA

 15

 16

 17· · · · · · · · · ·Thursday, June 1, 2023
 · · · · · · ·One Southeast Third Avenue, Suite 2300
 18· · · · · · · · · · Miami, Florida· 33131
 · · · · · · · · · · · 9:22 a.m. - 7:03 p.m.
 19

 20

 21

 22· · · · · · · · Stenographically Reported By:
 · · · · · · · · · · · · ·LAUREL A. MAZUR
 23· · · · · · · · Florida Professional Reporter

 24

 25


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                       Entered on FLSD Docket 08/22/2023 Page 3 of
                                            Kukreja
                                      309 01, 2023
                                     June                                          2

 ·1· ·APPEARANCES:

 ·2
 · · · · · On behalf of the Plaintiff:
 ·3
 · · · · · · · ·MAZZOLA LINDSTROM, LLP
 ·4· · · · · · ·1350 Avenue of the Americas, 2nd Floor
 · · · · · · · ·New York, New York· 10019
 ·5· · · · · · ·BY: RICHARD LERNER, ESQ.
 · · · · · · · ·richard@mazzolalindstrom.com
 ·6· · · · · · ·BY: JEAN-CLAUDE MAZZOLA, ESQ.
 · · · · · · · ·jeanclaude@mazzolalindstrom.com
 ·7

 ·8· · · · · · ·GABLES ESTATES TAX & ADVISORY SERVICES
 · · · · · · · ·396 Alhambra Circle, Suite 200
 ·9· · · · · · ·Miami, Florida 33134
 · · · · · · · ·BY: XIAOMING "ANGELA" GUAN, ESQ.
 10· · · · · · ·aguan@gecpas.com

 11

 12· · · · On behalf of the Defendant:

 13· · · · · · ·PODHURST ORSECK, P.A.
 · · · · · · · ·SunTrust International Center
 14· · · · · · ·One Southeast Third Avenue, Suite 2300
 · · · · · · · ·Miami, Florida· 33131
 15· · · · · · ·BY: STEPHEN F. ROSENTHAL, ESQ.
 · · · · · · · ·srosenthal@podhurst.com
 16· · · · · · ·BY: CHRISTINA H. MARTINEZ
 · · · · · · · ·cmartinez@podhurst.com
 17

 18
 · · · · · Also Present:
 19
 · · · · · · · ·HUANG SULAN
 20

 21

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 23

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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                       Entered on FLSD Docket 08/22/2023 Page 4 of
                                            Kukreja
                                      309 01, 2023
                                     June                                          3

 ·1· · · · · · · · · · · · · I N D E X

 ·2· · · · · · · · · · · ·DIRECT· CROSS· REDIRECT· RECROSS

 ·3· ·By Mr. Mazzola· · · · 5

 ·4

 ·5· · · · · · · · · · ·DEPOSITION EXHIBITS

 ·6· ·NUMBER· · DESCRIPTION· · · · · · · · · · · · · · · PAGE

 ·7· ·No. 114· ·Answers to Interrogatories· · · · · · · · ·79

 ·8· ·No. 115· ·E-mails 5/21/19 - 5/22/19· · · · · · · · · 96
 · · · · · · · ·CTX 12181-12182
 ·9
 · · ·No. 116· ·CTX Payment Detail 10/1/1· · · · · · · · ·112
 10· · · · · · ·CTX 259556

 11· ·No. 117· ·E-mail 7/29/16· · · · · · · · · · · · · · 116
 · · · · · · · ·Attachments: Various
 12· · · · · · ·CTX 1015-1016

 13· ·No. 118· ·E-mail 7/10/16· · · · · · · · · · · · · · 118
 · · · · · · · ·CTX 1017
 14
 · · ·No. 119· ·E-mail 6/8/16· · · · · · · · · · · · · · ·125
 15· · · · · · ·Attachments: Various
 · · · · · · · ·CTX 1533-1534
 16
 · · ·No. 120· ·E-mail 11/1/19· · · · · · · · · · · · · · 129
 17· · · · · · ·Attachments: Various

 18· ·No. 121· ·E-mail 7/29/19· · · · · · · · · · · · · · 131
 · · · · · · · ·Attachments: Various
 19
 · · ·No. 122· ·E-mail 12/4/14· · · · · · · · · · · · · · 144
 20· · · · · · ·Attachment: BLD Payment Detail 12/2/14

 21· ·No. 123· ·E-mails 1/29/15 - 2/2/15· · · · · · · · · 147
 · · · · · · · ·Attachments: Various
 22
 · · ·No. 124· ·E-mail 2/26/16· · · · · · · · · · · · · · 152
 23· · · · · · ·Attachment: BLD Payment Detail 3/1/15

 24· ·No. 125· ·E-mail 4/27/15· · · · · · · · · · · · · · 153
 · · · · · · · ·Attachment: ROK Payment Detail/Bank Slips
 25


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                                    (877) 479-2484
Case 0:21-cv-60125-RNS Document 203-3Rishi
                                       Entered on FLSD Docket 08/22/2023 Page 5 of
                                            Kukreja
                                      309 01, 2023
                                     June                                          4

 ·1· · · · · · · · · · ·DEPOSITION EXHIBITS

 ·2· ·NUMBER· · DESCRIPTION· · · · · · · · · · · · · · · PAGE

 ·3· ·No. 126· ·E-mails 8/11/16 - 8/31/16· · · · · · · · ·190

 ·4· ·No. 127· ·E-mail 3/27/17· · · · · · · · · · · · · · 217

 ·5· ·No. 128· ·CTX Payment Detail 9/1/16· · · · · · · · ·240

 ·6

 ·7· ·Certificate of Oath.................................257

 ·8· ·Reporter's Certificate..............................258

 ·9· ·Certificate and Jurat...............................259

 10· ·Errata Sheet........................................260

 11· ·Witness Notification Letter.........................261

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25


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                                    (877) 479-2484                                     YVer1f
Case 0:21-cv-60125-RNS Document 203-3Rishi
                                       Entered on FLSD Docket 08/22/2023 Page 6 of
                                            Kukreja
                                      309 01, 2023
                                     June                                          5

 ·1· · · · · · · · · · P R O C E E D I N G S

 ·2· · · · · · · · (The witness is duly sworn.)

 ·3· ·Thereupon,

 ·4· · · · · · · · · · · ·RISHI KUKREJA,

 ·5· ·being by the undersigned notary public first duly

 ·6· ·sworn, was examined and testified as follows:

 ·7· · · · · · · · · · ·DIRECT EXAMINATION

 ·8· ·BY MR. MAZZOLA:

 ·9· · · · Q· · Good morning, Mr. Kukreja.

 10· · · · A· · Good morning.

 11· · · · Q· · We are here to take your deposition.· I think

 12· ·you are aware of that.

 13· · · · A· · Yes, sir.

 14· · · · Q· · This is a deposition in a lawsuit that our

 15· ·clients -- and I am going to refer to them as Benlida,

 16· ·is that fair?

 17· · · · A· · Yes.

 18· · · · Q· · -- has brought against Circuitronix LLC.· You

 19· ·are aware of that lawsuit; is that correct?

 20· · · · A· · I am.

 21· · · · Q· · And you are also aware that you are here this

 22· ·morning to give testimony in a deposition connected

 23· ·with that case; is that correct?

 24· · · · A· · That is correct.

 25· · · · · · ·MR. ROSENTHAL:· Can we make appearances?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                       Entered on FLSD Docket 08/22/2023 Page 7 of
                                            Kukreja
                                      309 01, 2023
                                     June                                          6

 ·1· · · · · · ·MR. MAZZOLA:· Let's do that.· Mr. Rosenthal

 ·2· · · · reminded me we should make appearances.· I assume

 ·3· · · · the court reporter has done that, but I will start

 ·4· · · · myself.

 ·5· · · · · · ·So we have the record already begun.· My name

 ·6· · · · is JC Mazzola.· I am an attorney.· I represent the

 ·7· · · · plaintiff Benlida in this case.

 ·8· · · · · · ·To my right is my law partner Richard Lerner,

 ·9· · · · and to his right is our client and corporate

 10· · · · representative Tracy Huang, and to her right is

 11· · · · Angela Guan, and she is an attorney also

 12· · · · representing Benlida.

 13· · · · · · ·MR. ROSENTHAL:· And Stephen Rosenthal and

 14· · · · Christina Martinez on behalf of Circuitronix LLC,

 15· · · · and we have two summer law clerks who are law

 16· · · · students observing the deposition.

 17· · · · · · ·MR. MAZZOLA:· I think we are set.

 18· ·BY MR. MAZZOLA:

 19· · · · Q· · So you do understand the purpose of a

 20· ·deposition; is that correct?

 21· · · · A· · I do.

 22· · · · Q· · I am sure you have been prepared for this

 23· ·deposition, right?

 24· · · · A· · I am.

 25· · · · Q· · I am sure you spoke to your lawyers and got


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                       Entered on FLSD Docket 08/22/2023 Page 8 of
                                            Kukreja
                                      309 01, 2023
                                     June                                          7

 ·1· ·an understanding of the types of questions I would ask.

 ·2· ·I don't want to know what you talked about.· Perhaps

 ·3· ·they showed you some documents.

 ·4· · · · · · ·After that preparation with your lawyers, do

 ·5· ·you feel comfortable today to provide testimony in this

 ·6· ·case?

 ·7· · · · A· · I do.

 ·8· · · · Q· · And you feel you have been adequately

 ·9· ·prepared?

 10· · · · A· · I do.

 11· · · · Q· · What I don't want to happen is we get to

 12· ·trial and I ask you a question at trial or I refer to

 13· ·this transcript and you say, Mr. Mazzola, I would have

 14· ·wanted more time with my lawyers to prepare.· So I want

 15· ·to be very clear right now, you are set and ready to

 16· ·go?

 17· · · · A· · I am set and ready to go.

 18· · · · Q· · We understood you weren't feeling well.            I

 19· ·think maybe we got a text -- might have been Tuesday as

 20· ·you were coming down -- and I see Mr. Rosenthal has

 21· ·just put on a mask.· He likes to be safe it seems.· How

 22· ·are you feeling physically?

 23· · · · A· · I feel good.

 24· · · · Q· · Do you feel physically prepared to go forward

 25· ·with this deposition?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                       Entered on FLSD Docket 08/22/2023 Page 9 of
                                            Kukreja
                                      309 01, 2023
                                     June                                          8

 ·1· · · · A· · I do.

 ·2· · · · Q· · You know it's going to be a number of hours.

 ·3· ·It will likely be shorter than the other ones, because

 ·4· ·we don't have a translator, but you are prepared to sit

 ·5· ·here for the better part of today?

 ·6· · · · A· · I am.

 ·7· · · · Q· · I also presume you know the ground rules

 ·8· ·here.· All we are asking for is for you to tell the

 ·9· ·truth; is that correct?

 10· · · · A· · That is correct.

 11· · · · Q· · You know that you have been sworn to tell the

 12· ·truth?

 13· · · · A· · That is correct.

 14· · · · Q· · You know that you are under oath to tell the

 15· ·truth?

 16· · · · A· · That is correct.

 17· · · · Q· · I assume you know that if you don't tell the

 18· ·truth while you are under oath you could subject

 19· ·yourself to some serious repercussions; is that

 20· ·correct?

 21· · · · A· · Yes.

 22· · · · Q· · Mentally speaking -- we just talked about

 23· ·physically speaking.· Mentally speaking do you feel

 24· ·your head is clear today and you are ready to proceed?

 25· · · · A· · I do.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 10 of
                                            Kukreja
                                      309 01, 2023
                                     June                                          9

  ·1· · · · Q· · Have you taken any medications that would

  ·2· ·impact your ability to remember things clearly?

  ·3· · · · A· · No.

  ·4· · · · Q· · Anything that would impact your ability to

  ·5· ·stay sharp?

  ·6· · · · A· · No.

  ·7· · · · Q· · You answered that very quickly.· You have

  ·8· ·been deposed before; is that correct?

  ·9· · · · A· · Yes.

  10· · · · Q· · I assume this is not your first deposition,

  11· ·right?

  12· · · · A· · It is not.

  13· · · · Q· · And can you talk to me about other times you

  14· ·have been deposed?

  15· · · · A· · What would you like to know?

  16· · · · Q· · Well, let's talk about the last case that you

  17· ·were deposed in.

  18· · · · A· · Sure.

  19· · · · Q· · Which one was that one?

  20· · · · A· · The last case I was deposed in was a case

  21· ·against -- which we were the plaintiffs against a law

  22· ·firm which we brought for malpractice.

  23· · · · Q· · When did that deposition happen?

  24· · · · A· · So that deposition happened sometime in 2022,

  25· ·but I am just trying to recollect the month.· I am not


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 11 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       10

  ·1· ·being able to recollect the month.

  ·2· · · · Q· · That is okay.· Who was the law firm you were

  ·3· ·suing?

  ·4· · · · A· · Carlton Fields.

  ·5· · · · Q· · Did you tell Mr. Rosenthal you brought a

  ·6· ·malpractice suit against a prior attorney?

  ·7· · · · A· · Yes.

  ·8· · · · · · ·MR. ROSENTHAL:· And I still stay here.

  ·9· · · · · · ·MR. MAZZOLA:· Still sitting here.

  10· ·BY MR. MAZZOLA:

  11· · · · Q· · There was a case that went to trial I

  12· ·understand a couple weeks ago or couple months ago?

  13· · · · A· · Yes.

  14· · · · Q· · Chauncey Cole, your attorney -- Chauncey Cole

  15· ·is still your attorney; is that correct?

  16· · · · A· · He is.

  17· · · · Q· · What you are doing is great, because you are

  18· ·nodding your head, but try to speak audibly, because

  19· ·sometimes the court reporter may not be catching it.

  20· ·She is very good, I am sure she might be, but --

  21· · · · A· · Sure.

  22· · · · Q· · Chauncey Cole, is he still your attorney?

  23· · · · A· · Yes.

  24· · · · Q· · And there was a bench trial I was just asking

  25· ·about.· I think it was a few weeks ago or few months


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 12 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       11

  ·1· ·ago.· I know about that because Mr. Cole told us about

  ·2· ·it.

  ·3· · · · A· · Yes.

  ·4· · · · Q· · What was that case about?

  ·5· · · · A· · We were the defendant in that case --

  ·6· ·defendants and counter-plaintiffs -- and it was about

  ·7· ·trademark rights.

  ·8· · · · Q· · Who was the counter-party in that lawsuit?

  ·9· · · · A· · Shenzhen Kinwong.

  10· · · · Q· · Is that what people collectively understand

  11· ·as the Kinwong lawsuits?

  12· · · · A· · There were three Kinwong lawsuits.· The first

  13· ·two we were the plaintiffs; and we won the first one,

  14· ·they settled the second one, and the third one is

  15· ·ongoing.

  16· · · · Q· · The third one is ongoing.· That is the one

  17· ·you just tried a couple weeks ago?

  18· · · · A· · Yes, because after closing statement the

  19· ·judge told us that he would need to see us again and

  20· ·over the next couple of weeks he will be calling us

  21· ·for -- and giving each side 30 minutes each.

  22· · · · Q· · Post-trial briefings?

  23· · · · A· · No.· We were not able to close properly

  24· ·because he had given us 90 minutes each to close and

  25· ·each side had taken two hours and he had some other --


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 13 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       12

  ·1· · · · Q· · So the trial is still ongoing?

  ·2· · · · A· · That is what -- yes.

  ·3· · · · Q· · What was the Kinwong lawsuit all about?· Can

  ·4· ·you give me some background on that?

  ·5· · · · · · ·MR. ROSENTHAL:· Objection to the form.

  ·6· ·BY MR. MAZZOLA:

  ·7· · · · Q· · Do you understand my question?

  ·8· · · · A· · Sort of.

  ·9· · · · Q· · Here is another ground rule.· If I ask you a

  10· ·question and you don't say to me I don't understand the

  11· ·question or can you rephrase that question,

  12· ·Mr. Mazzola, I am going to assume you understood the

  13· ·question; is that fair?

  14· · · · A· · That is I fair.

  15· · · · Q· · And when you give an answer to that question,

  16· ·I am going to assume, and ultimately a jury and finder

  17· ·of fact is going to assume, that you understood the

  18· ·question as that question is most properly understood

  19· ·by people, okay?

  20· · · · A· · Understood.

  21· · · · Q· · I asked you can you give me some idea or

  22· ·describe in your words about what the Kinwong dispute

  23· ·was about.

  24· · · · · · ·MR. ROSENTHAL:· Object to the form.

  25· · · · · · ·THE WITNESS:· We -- Circuitronix --


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 14 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       13

  ·1· · · · Circuitronix registered the Kinwong trademark in

  ·2· · · · United States, since we believe that we had first

  ·3· · · · use from 2005, and they brought a lawsuit against

  ·4· · · · us because they believe that they had the rights

  ·5· · · · to Kinwong.

  ·6· ·BY MR. MAZZOLA:

  ·7· · · · Q· · And was Benlida involved in that in any way?

  ·8· · · · A· · Benlida was involved to the extent that they

  ·9· ·believed that we were manufacturing parts at Benlida

  10· ·using the Kinwong UL logo.

  11· · · · Q· · When you say they, Kinwong thought that you

  12· ·were manufacturing parts at Benlida using Kinwong UL

  13· ·logo?

  14· · · · A· · That is correct.

  15· · · · Q· · Were you doing that?

  16· · · · A· · No.

  17· · · · Q· · What was this about Benlida's name being on

  18· ·some of the products being scratched off or removed?

  19· · · · A· · I do not know.

  20· · · · Q· · Did you ever hear that?

  21· · · · A· · No.· Benlida's name being on some products

  22· ·and being scratched off?

  23· · · · Q· · Or removed, changed.

  24· · · · A· · Never.

  25· · · · Q· · Where were you getting -- who was the


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 15 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       14

  ·1· ·manufacturer of the Kinwong products?

  ·2· · · · A· · Who was the manufacturer of -- Kinwong was

  ·3· ·the manufacturer.

  ·4· · · · Q· · Kinwong was the manufacturer of the products?

  ·5· · · · A· · Of the products which Kinwong -- yes.

  ·6· · · · Q· · Did --

  ·7· · · · · · ·MR. ROSENTHAL:· Sorry, Robert.· Is that your

  ·8· · · · computer?

  ·9· · · · · · ·MR. LERNER:· I'm trying to shut it off.

  10· ·BY MR. MAZZOLA:

  11· · · · Q· · Did -- with respect to this Benlida -- so it

  12· ·was Kinwong believed you were manufacturing parts at

  13· ·Benlida?

  14· · · · A· · No, we were manufacturing parts at Benlida.

  15· · · · Q· · But Kinwong was alleging that you were

  16· ·manufacturing Kinwong parts at Benlida and using

  17· ·Kinwong's UL?

  18· · · · A· · Yes.

  19· · · · Q· · And that wasn't happening?

  20· · · · A· · No.

  21· · · · Q· · I heard something about CTX registering a

  22· ·Benlida trademark.· Did that ever happen?

  23· · · · A· · Never.

  24· · · · Q· · Not here in the United States?

  25· · · · A· · No.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 16 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       15

  ·1· · · · Q· · Not here or anywhere else?

  ·2· · · · A· · We have not registered the Benlida trademark.

  ·3· ·We own Benlida LLC.· We have incorporated Benlida LLC.

  ·4· · · · Q· · What is that, Benlida LLC?

  ·5· · · · A· · It's an LLC which I am the -- how do you call

  ·6· ·it -- I am the founder of or I am the registered -- I

  ·7· ·am not the registered agent.· But I am the -- it's been

  ·8· ·incorporated by me.

  ·9· · · · Q· · So let's go through that.· I didn't know

  10· ·about this.

  11· · · · · · ·So Benlida LLC, right, that is an LLC that

  12· ·you formed, is that correct?

  13· · · · A· · Benlida LLC is an LLC which we formed.

  14· · · · Q· · When you say we --

  15· · · · A· · My team.

  16· · · · Q· · That is Rishi's side?

  17· · · · A· · Yes.

  18· · · · Q· · So when you say we and me, that is Rishi?

  19· · · · A· · Yes.

  20· · · · Q· · So Benlida LLC is a corporate entity that you

  21· ·guys formed, right?

  22· · · · A· · Yes.

  23· · · · Q· · And you mentioned someone else's name in

  24· ·connection with that.

  25· · · · A· · So all my company's, the registered agent is


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 17 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       16

  ·1· ·a law firm called Torres PA.· So initially I said that

  ·2· ·I was the registered agent, but then I corrected that.

  ·3· · · · Q· · And you just do that for corporate structural

  ·4· ·purposes, et cetera, right?

  ·5· · · · A· · So that we do not miss any notices.

  ·6· · · · Q· · Do you also do that so that it's a little

  ·7· ·more difficult to find out who the party that formed

  ·8· ·the business is?

  ·9· · · · A· · No, because my name is there.

  10· · · · Q· · Your name is on it as well?· And where is

  11· ·this LLC formed, what state?

  12· · · · A· · In Florida.

  13· · · · Q· · So if I went to the Florida Department of

  14· ·Corporations and looked up Benlida LLC, I would see

  15· ·Torres PA as registered agent, and I would see your

  16· ·name on it as well; is that, Rishi?

  17· · · · A· · Absolutely.

  18· · · · Q· · When did you form Benlida LLC?

  19· · · · A· · In January of 2012 -- January of 2013.

  20· · · · Q· · What does Benlida LLC do?

  21· · · · A· · Nothing.

  22· · · · Q· · Why did you form it?

  23· · · · A· · Because at that point in time we were

  24· ·thinking -- basically what we were planning to do is

  25· ·that all the business we would do with Benlida, we


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 18 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       17

  ·1· ·would have Circuitronix LLC as the holding company, all

  ·2· ·the business which was being routed from Benlida would

  ·3· ·go under the Benlida LLC company, and the Kinwong would

  ·4· ·be the Kinwong LLC company, and we had formed several

  ·5· ·manufacturer names.

  ·6· · · · Q· · Did you form a Kinwong LLC?

  ·7· · · · A· · Yes.

  ·8· · · · Q· · Same reason?

  ·9· · · · A· · Same -- no.· Kinwong had a slightly -- had a

  10· ·different reason.· So we were planning to do the

  11· ·business, but when we formed Kinwong LLC, the main

  12· ·objective the Kinwong LLC was to hold trademark rights

  13· ·through Circuitronix.· Because Circuitronix had been

  14· ·using the Kinwong trademark since 2005, and we assigned

  15· ·the rights to -- we assigned the rights of that

  16· ·trademark to Kinwong LLC.

  17· · · · Q· · Did Kinwong know that you were using the

  18· ·trademark?

  19· · · · · · ·MR. ROSENTHAL:· Object to form.

  20· · · · · · ·THE WITNESS:· Kinwong says that they knew

  21· · · · that we were using the trademark to the extent

  22· · · · which they had permitted us to use it for their

  23· · · · product.

  24· ·BY MR. MAZZOLA:

  25· · · · Q· · So they did know there was some limited


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 19 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       18

  ·1· ·permissive use is what you are saying?

  ·2· · · · A· · Yes.

  ·3· · · · Q· · Did Benlida know you formed this LLC back in

  ·4· ·2013?

  ·5· · · · A· · Absolutely.

  ·6· · · · Q· · Who did you discuss that with?

  ·7· · · · A· · With Tracy, with Douglas.· They were there.

  ·8· · · · Q· · You wouldn't have formed it without

  ·9· ·discussing it with them, right?

  10· · · · A· · So I have a very close relationship with

  11· ·Tracy and Douglas, and I think we were discussing --

  12· ·there was nothing which we did not discuss.· They would

  13· ·tell me anything and everything which was going on in

  14· ·China, if they heard anything bad about us, and we

  15· ·would tell them about all the problems we were having.

  16· ·We were the ones who informed them about any problems

  17· ·we were having with Kinwong and everything else.· So we

  18· ·always had a good relationship.

  19· · · · · · ·Now, obviously I understand that that -- as

  20· ·this case proceeds everybody has to posture for their

  21· ·benefit.· It's part and parcel of the -- but that

  22· ·doesn't take anything away from what -- that does not

  23· ·take anything away from the way I believe our

  24· ·relationship was and I hope will be at some point in

  25· ·the future.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 20 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       19

  ·1· · · · Q· · So your recollection is that you did discuss

  ·2· ·this with Benlida, the formation of the LLC here in

  ·3· ·Florida; is that correct?

  ·4· · · · A· · Yes.

  ·5· · · · Q· · Do you know who you discussed it with

  ·6· ·specifically?

  ·7· · · · A· · With Tracy and with Douglas.

  ·8· · · · Q· · Do you have an independent recollection of

  ·9· ·that conversation, or is it, just as you said, we

  10· ·talked about so much?

  11· · · · A· · No.· So -- there are multiple occasions in

  12· ·which we have discussed this.· So I do not know whether

  13· ·you know this, but at one point in time there were also

  14· ·discussions where we would merge the companies,

  15· ·Circuitronix and Benlida, which would help Benlida get

  16· ·a better valuation when they go public.· So there is

  17· ·documentation about that.

  18· · · · · · ·There is documentation about when we created

  19· ·organization charts where Douglas or Mr. Huang was the

  20· ·CEO of the entire organization, and we, Circuitronix

  21· ·was actually reporting to Mr. Huang in some manner.

  22· ·So -- and there was Benlida -- there was Benlida LLC in

  23· ·that organizational chart.· So it was discussed --

  24· ·there is -- there were discussions and there is

  25· ·documentation to back up the discussion also.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 21 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       20

  ·1· · · · Q· · How far along did you get in this wedding

  ·2· ·planning of sorts?

  ·3· · · · · · ·MR. ROSENTHAL:· I am sorry.· Wedding

  ·4· · · · planning?

  ·5· · · · · · ·MR. MAZZOLA:· Wedding planning.

  ·6· · · · · · ·THE WITNESS:· So I believe that if it was

  ·7· · · · only Douglas, Tracy, and I working, the

  ·8· · · · discussions would move far along, but I believe

  ·9· · · · that it was something which Mr. Huang, he did not

  10· · · · want, or Mr. Huang -- it was -- I don't want to

  11· · · · say too big for him to conceptualize, but it was

  12· · · · something that was not in his way of thinking.

  13· · · · · · ·At times I felt it was going along really

  14· · · · well, and at times -- so the discussion would go

  15· · · · in -- the discussion would go in and then they

  16· · · · would ask me for a loan or money, and I would pay

  17· · · · it, the discussion would continue.· If by chance

  18· · · · that the loan or money was -- what they asked for

  19· · · · was not given to them, then it would take a back

  20· · · · seat.· So it was hot and cold at different points

  21· · · · between 2016 and 2018.

  22· ·BY MR. MAZZOLA:

  23· · · · Q· · So that was the next question I was going to

  24· ·ask you.· When did these conversations begin?· Sounds

  25· ·like 2016.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 22 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       21

  ·1· · · · A· · I think they started in 2015.· If I have to

  ·2· ·definitely say, 2016 to 2018, yes.

  ·3· · · · Q· · No one wants you to guess.

  ·4· · · · A· · That is why I said if I have to say

  ·5· ·definitely.

  ·6· · · · Q· · We have thousands of documents that will show

  ·7· ·it.· If we ever get to that point, we will have a

  ·8· ·document.

  ·9· · · · A· · Sure.

  10· · · · Q· · But what I do want is to get your best

  11· ·recollection.

  12· · · · A· · Absolutely.

  13· · · · Q· · An estimate would be fine for me, okay?          I

  14· ·will even take a guesstimate.· I am not sure

  15· ·Mr. Rosenthal will, but I will even take a guesstimate.

  16· · · · · · ·So sometime around 2015-2016 is your

  17· ·recollection?

  18· · · · · · ·MR. ROSENTHAL:· Object to the form.· Asked

  19· · · · and answered.

  20· · · · · · ·THE WITNESS:· Yes.

  21· ·BY MR. MAZZOLA:

  22· · · · Q· · Then you said this courtship would run hot

  23· ·and cold; is that correct?

  24· · · · A· · Yes.

  25· · · · Q· · And that is me recharacterizing it.· And then


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 23 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       22

  ·1· ·it would run cold when they were looking for you said

  ·2· ·loans or money; is that correct?

  ·3· · · · A· · It would run -- so as the records show that

  ·4· ·between 2016 and -- as the records will show between

  ·5· ·2016 and 2019 we bent backwards and gave concession

  ·6· ·after concession to Benlida/ROK, including fronting

  ·7· ·money which was not owed to them, and if there was a

  ·8· ·discussion taking place where they asked for help and

  ·9· ·they needed the help, it would be really hard, those

  10· ·discussions.· And let's assume that I would push back

  11· ·and say no, at this point I cannot do it, then it would

  12· ·become cold.

  13· · · · Q· · You said -- you used the word money that was

  14· ·not owed to them, them being Benlida.· Did you just say

  15· ·that?

  16· · · · A· · Benlida and ROK.

  17· · · · Q· · Benlida and ROK.· You know Benlida and ROK

  18· ·very much believe that that money was owed to them?

  19· ·You understand that, right?

  20· · · · · · ·MR. ROSENTHAL:· Object to form.

  21· · · · · · ·THE WITNESS:· I really do not believe that

  22· · · · they believe that.· I believe that this entire

  23· · · · case is about them trying to justify lies which

  24· · · · they have told to Sinosure and the Tax Department.

  25· · · · I really, really believe that with true


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 24 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       23

  ·1· · · · conviction.

  ·2· ·BY MR. MAZZOLA:

  ·3· · · · Q· · So you believe in your heart that they know

  ·4· ·that they are not entitled to any money?· That is what

  ·5· ·you believe?

  ·6· · · · A· · I genuinely believe that.· I genuinely

  ·7· ·believe and with discussions with Tracy and with

  ·8· ·Douglas I have said forget about -- let's forget for

  ·9· ·the time being about who owes who money.· Where did

  10· ·this 12 million-dollar number come from?· Where did

  11· ·this big number come from?· And both of them have said

  12· ·that -- both of them have told me that it is Mr. Huang

  13· ·who is working with Ms. Chen and it's out of their

  14· ·hands.· So I was pretty shocked by what Mr. Huang said

  15· ·yesterday --

  16· · · · · · ·MR. ROSENTHAL:· You have answered the

  17· · · · question.

  18· ·BY MR. MAZZOLA:

  19· · · · Q· · There is a few things here.· So I want to get

  20· ·back to some stuff, and now your counsel said you have

  21· ·answered the question.· And that is fine for him to say

  22· ·that.· But what I would say to you is when I ask you a

  23· ·question, you can give me as complete an answer as you

  24· ·like.· I expect that, okay?

  25· · · · A· · Understood.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 25 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       24

  ·1· · · · Q· · You understand that?· What I don't expect at

  ·2· ·a deposition is for your attorney to say that you have

  ·3· ·answered the question and stop talking, okay?

  ·4· · · · A· · Understood.

  ·5· · · · Q· · Your attorney is permitted to object, and you

  ·6· ·should always wait for him to do that, okay?

  ·7· · · · A· · Understood.

  ·8· · · · Q· · Your attorney may from time to time say,

  ·9· ·Rishi, don't answer that question.· That happens.· You

  10· ·understand that as well?

  11· · · · A· · Sure.

  12· · · · Q· · Was there something more you wanted to say,

  13· ·Rishi, before your attorney said you have said enough?

  14· · · · A· · I think I completed it by saying I was

  15· ·surprised by the position Mr. Huang took about his

  16· ·noninvolvement with the company during the relevant

  17· ·period.

  18· · · · Q· · There is a lot of things I want to touch on

  19· ·over here.

  20· · · · · · ·Back to the authorization for the BLD LLC --

  21· · · · A· · I didn't get that, BLD LLC.

  22· · · · Q· · Beg pardon.· Benlida is an LLC.· I was

  23· ·reading my shorthand.

  24· · · · A· · There is no authorization.

  25· · · · Q· · You said there were conversations, correct?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 26 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       25

  ·1· · · · A· · There is no authorization.· I said I had done

  ·2· ·that.· I didn't seek approval from anybody.

  ·3· · · · Q· · You just did it?

  ·4· · · · A· · I don't need to seek approval.· There is a

  ·5· ·way of managing things.· You go and check whether the

  ·6· ·name is available in a particular market, in a

  ·7· ·particular -- go to the Division of Corporations, it's

  ·8· ·available, you take.· As a courtesy I informed them.          I

  ·9· ·told them what I was thinking.

  10· · · · Q· · Just like I can go to a various state here in

  11· ·the United States, I can check that state -- I don't

  12· ·know, find a state, Idaho, Utah -- you are probably

  13· ·ahead of me on this one -- but then I can open my own

  14· ·LLC called Circuitronix LLC if it was available?

  15· · · · A· · Yes, but you wouldn't be able to do that.· As

  16· ·you said, I am ahead of you.

  17· · · · Q· · You probably are ahead of me.

  18· · · · · · ·You were talking just a little bit earlier

  19· ·about Tracy --

  20· · · · A· · Yes.

  21· · · · Q· · -- who is in the room, and how you thought

  22· ·that she knows in her heart of heart that this money is

  23· ·not owed to her, right?· Did you say that?· Something

  24· ·along those lines, right, Rishi?

  25· · · · A· · Yes.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 27 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       26

  ·1· · · · Q· · We had a hearing in January.· Do you remember

  ·2· ·that hearing?

  ·3· · · · A· · That was about the -- yes.

  ·4· · · · Q· · We were in court.· Do you remember that?

  ·5· · · · A· · Yes.

  ·6· · · · Q· · Judge Goodman was there.

  ·7· · · · A· · I do.

  ·8· · · · Q· · Remember he gave us a short period of time to

  ·9· ·talk?

  10· · · · A· · Yes.

  11· · · · Q· · To much of mine and Mr. Rosenthal's chagrin.

  12· ·Do you remember testifying at that hearing that you

  13· ·thought Tracy was an honest person?

  14· · · · A· · I still believe Tracy is an honest person.

  15· ·When I asked Tracy -- I have not spoken with Tracy on a

  16· ·one-to-one basis in the last 12 to 18 months.· We used

  17· ·to talk pretty much every day at one point in time.

  18· ·But when I used to talk with her and say -- on a

  19· ·particular issue -- and say, Tracy, what's up with this

  20· ·e-mail, and she would say that, Rishi, I work for

  21· ·Benlida, I have to do what I have been instructed to

  22· ·do.

  23· · · · Q· · Can you give me an example of that type of

  24· ·e-mail?

  25· · · · A· · Lots and lots.· Actually Douglas also used to


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 28 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       27

  ·1· ·say the same thing to me.· It's not one like it's on a

  ·2· ·constant basis, and I do not necessarily want to --

  ·3· ·this entire exchange is not about picking up on petty

  ·4· ·issues to get father and son in trouble or Tracy in

  ·5· ·trouble, but there are lots of instances where they

  ·6· ·express complete disagreement with what Mr. Huang was

  ·7· ·doing.· But this is not what this lawsuit is about.

  ·8· ·The numbers are going to show what the numbers are

  ·9· ·going to show.

  10· · · · Q· · That is right.· The numbers will show what

  11· ·the numbers will show.· You are confident in your

  12· ·numbers, right?

  13· · · · A· · Absolutely confident.

  14· · · · Q· · The team that puts together your numbers, top

  15· ·team, right?

  16· · · · A· · Yes.· They are human.· They make mistakes

  17· ·once in a while, and through reconciliation those

  18· ·mistakes are reconciled.· But yes, top team.

  19· · · · Q· · And so mistakes that are made are discovered

  20· ·in reconciliation?

  21· · · · A· · They are discovered in different ways.· One

  22· ·of them is reconciliation.

  23· · · · Q· · What are the otherwise they get discovered?

  24· · · · A· · They can be internal reconciliations, there

  25· ·could be external reconciliations, they can be


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 29 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       28

  ·1· ·third-party audits, internal audits.· There are

  ·2· ·different ways of doing it.

  ·3· · · · · · ·As an example, if we buy 1 million of a part

  ·4· ·number from somebody, we have sold 900,000 pieces to

  ·5· ·the customer and we have got 200,000 pieces lying in

  ·6· ·the warehouse; we have to investigate where the extra

  ·7· ·hundred thousand pieces come from.· Then it comes out

  ·8· ·that either we didn't buy 1 million, we bought

  ·9· ·1.1 million; or we didn't sell 900,000, we sold only

  10· ·800,000; or the inventory is not 200,000, it's only

  11· ·100,000.· So there are internal audits which take

  12· ·place.

  13· · · · Q· · You also mentioned external audits, right?

  14· · · · A· · Yes.

  15· · · · Q· · External audits have occurred, right, between

  16· ·you and Benlida?

  17· · · · A· · What is your definition of external audit?

  18· · · · Q· · You know, times where Benlida would come in

  19· ·and audit with you.· Did that ever happen?

  20· · · · A· · They would not audit with us.· One side, they

  21· ·would give their records, they would provide their

  22· ·records, and we would provide our records side-by-side,

  23· ·and they would come back and say -- like let's assume

  24· ·that our records showed we received 10,000 pieces and

  25· ·they showed that they shipped 11,000 pieces.· They


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 30 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       29

  ·1· ·would demonstrate that they shipped 11,000 pieces,

  ·2· ·and as long as we would go and check with the

  ·3· ·warehouse, we received $11,000, correct the records.

  ·4· ·Or let's assume -- the same could happen with pricing.

  ·5· ·The price on our purchase order is $1, their bill shows

  ·6· ·$1.10.· I understand the reason why the bill shows

  ·7· ·$1.10.

  ·8· · · · Q· · And then pay the ten cents?

  ·9· · · · A· · No, tell them that they are not allowed --

  10· ·they are not allowed to bill anything different than

  11· ·what is on the purchase order.· Simple and straight.          A

  12· ·purchase order is a contract.

  13· · · · Q· · What if a price increase had been agreed?

  14· · · · A· · So there was a methodology for the price

  15· ·increase.

  16· · · · Q· · But if a price increase had been agreed, then

  17· ·they can bill more; is that right?

  18· · · · A· · No.· If a price increase had been -- are you

  19· ·talking about price increase on a part number or

  20· ·general price increase which was agreed -- which was

  21· ·discussed in the December 2016 meeting?

  22· · · · Q· · Well, you brought it up.· Let's talk about

  23· ·both, okay.· There was the December 2016 meeting,

  24· ·right?

  25· · · · A· · Yes.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 31 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       30

  ·1· · · · Q· · And there you just said -- because this lady

  ·2· ·is writing it down -- that in the December 2016 meeting

  ·3· ·you used the word agreed.· Do you remember saying that?

  ·4· ·Do you remember saying that?

  ·5· · · · A· · I said there was a discussion, and it did

  ·6· ·not -- from our side it's black and white as to what

  ·7· ·the agreement is, but the e-mail minutes of the meeting

  ·8· ·show exactly what the agreement is, but the position

  ·9· ·which Benlida is taking today in terms of how they are

  10· ·calculating shows that they are diverting from those

  11· ·minutes of the meeting.

  12· · · · Q· · That may be true.· So what I am hearing is

  13· ·that there is a dispute between you and Benlida as to

  14· ·whether or not the price increase was agreed; is that

  15· ·correct?

  16· · · · A· · It cannot be a dispute.· There is a minutes

  17· ·of the meeting which has been exchanged.· Anybody can

  18· ·go back and change a contract and say no, no, I didn't

  19· ·agree to this, but if it's documented, it's documented.

  20· · · · Q· · My question is this.· Do you agree that they

  21· ·believe -- Benlida -- that a price increase was agreed?

  22· ·Do you believe that, yes or no?· Whether they are right

  23· ·or wrong, do you believe that?

  24· · · · A· · I believe that there was a -- forget about

  25· ·them.· I believe there was a price increase agreed


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 32 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       31

  ·1· ·upon.

  ·2· · · · Q· · You believe that there was a price increase

  ·3· ·agreed upon?

  ·4· · · · A· · Based upon the terms and conditions in the

  ·5· ·December 2016 meeting.

  ·6· · · · Q· · So you believe there was a price increase

  ·7· ·agreed upon?

  ·8· · · · A· · Yes.

  ·9· · · · Q· · Is that your testimony?

  10· · · · A· · That is my testimony.

  11· · · · Q· · And the price increase was agreed upon per

  12· ·the 2016 meeting?

  13· · · · A· · Yes.

  14· · · · Q· · What do you think Benlida agrees -- this is

  15· ·just -- this is not a guesstimate, just what do you

  16· ·think.· What do you think Benlida agrees with respect

  17· ·to the price increase from the December 2016 meeting?

  18· · · · A· · So the first guideline is -- let's break this

  19· ·down, right?· I did not need to agree.· I was the one

  20· ·who proposed any sort of increment beyond the base

  21· ·price -- the base square footage of whatever, 5600

  22· ·square meters, whatever that number was.

  23· · · · · · ·The first problem is that the price increase

  24· ·could only happen if by chance Benlida on a weekly

  25· ·basis shipped 7600 square meters, excluding the PQ 26,


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 33 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       32

  ·1· ·and launched 7600 square meters into production

  ·2· ·excluding the PQ 26, which did not happen a single week

  ·3· ·after December 2016.

  ·4· · · · Q· · So that was your understanding of the price

  ·5· ·increase?

  ·6· · · · A· · That is not my understanding.· This is the

  ·7· ·minutes of the meeting.· You got the minutes of

  ·8· ·meeting, right?

  ·9· · · · Q· · It's not for me to decide.

  10· · · · A· · Yes, anybody who can speak English will

  11· ·decide -- or understanding English will decide.· That

  12· ·is beside the point.

  13· · · · Q· · Do you think the people at Benlida properly

  14· ·understand English?

  15· · · · A· · So --

  16· · · · Q· · Do you think that?

  17· · · · A· · I believe based upon what I saw of Douglas, I

  18· ·believe that they choose to understand when they want

  19· ·to understand, and they choose not to understand when

  20· ·they do not understand -- when they do not want to

  21· ·understand.

  22· · · · Q· · So you think that they feigned ignorance

  23· ·sometimes?

  24· · · · A· · You cannot feign ignorance when stuff is in

  25· ·black and white.· You can come back and keep denying in


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 34 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       33

  ·1· ·the face of stuff and it's -- the minutes are black and

  ·2· ·white.

  ·3· · · · Q· · Hold on a second.· You can keep talking if

  ·4· ·you want, but --

  ·5· · · · · · ·MR. ROSENTHAL:· Do you want the exhibit?· Is

  ·6· · · · that what you are looking for?· We had marked

  ·7· · · · that.· All the minute meetings have been marked in

  ·8· · · · the notebook, which is over here if you want me to

  ·9· · · · tell you what it is.

  10· · · · · · ·At any point if you want me to try to help --

  11· · · · · · ·MR. MAZZOLA:· I am going to use my whomped-up

  12· · · · ones.

  13· · · · · · ·MR. ROSENTHAL:· That is fine.· I am saying if

  14· · · · you want to show him one --

  15· · · · · · ·MR. MAZZOLA:· Do you put the colloquies on

  16· · · · the record?

  17· · · · · · ·THE REPORTER:· I'm on until everybody agrees

  18· · · · we are off.

  19· · · · · · ·MR. MAZZOLA:· My own marked-up one, not

  20· · · · whomped-up exhibits.

  21· · · · · · ·MR. LERNER:· The number on the top corner

  22· · · · matches.

  23· · · · · · ·MR. ROSENTHAL:· We have that in the notebook

  24· · · · before the witness if you want.· If you tell me

  25· · · · what you are looking for, I will help him get it.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 35 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       34

  ·1· ·BY MR. MAZZOLA:

  ·2· · · · Q· · Would you agree, Rishi, that CTX and Benlida

  ·3· ·have a different understanding about the price

  ·4· ·increase?· Would you agree to that statement?

  ·5· · · · · · ·MR. ROSENTHAL:· Object to the form.

  ·6· · · · · · ·THE WITNESS:· The only -- only when I am

  ·7· · · · forced to agree is because what the numbers they

  ·8· · · · are proposing -- I have seen the numbers they

  ·9· · · · propose, right?· I heard the -- I participate in

  10· · · · the depositions.· So I am seeing the numbers on

  11· · · · spreadsheets, I have seen the Answers to the

  12· · · · Interrogatories.· I have seen everything.· So

  13· · · · obviously I disagree with all of that.

  14· ·BY MR. MAZZOLA:

  15· · · · Q· · I am just trying to understand if you just

  16· ·agree that CTX -- you -- and Benlida -- Tracy -- have a

  17· ·different understanding of what the price increase was.

  18· ·Can you agree to that?

  19· · · · · · ·MR. ROSENTHAL:· Objection.

  20· · · · · · ·THE WITNESS:· Yes, because it shows in the

  21· · · · work product.· It shows in the calculations.

  22· ·BY MR. MAZZOLA:

  23· · · · Q· · So when you say yes -- I think you said

  24· ·but -- because it shows in the calculations, what do

  25· ·you mean by that?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 36 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       35

  ·1· · · · A· · As I explained to you, they do not follow the

  ·2· ·guidelines in the December 2016 meeting.

  ·3· · · · Q· · As you understood those guidelines, right?

  ·4· · · · A· · As any English-speaking person should

  ·5· ·understand.

  ·6· · · · Q· · And that is how we went down that whole line

  ·7· ·about English speaking.· They would provide pricing to

  ·8· ·you, is that correct, and invoices, and they would send

  ·9· ·you things, right?

  10· · · · A· · Yes.

  11· · · · Q· · And those invoices would reflect what they

  12· ·believe the price increase was?

  13· · · · A· · Absolutely not.· The price increase was not

  14· ·on any invoices.

  15· · · · Q· · You are saying the price increase was never

  16· ·agreed?

  17· · · · · · ·MR. ROSENTHAL:· Objection to form.

  18· · · · · · ·THE WITNESS:· The price -- until today they

  19· · · · have not provided us with a single invoice on a

  20· · · · price increase, and the -- they provided us with

  21· · · · spreadsheets showing the calculation, and there is

  22· · · · enough documentation on the record which shows

  23· · · · that both parties agreed that they will hold off

  24· · · · on giving price increase invoices to us and we

  25· · · · will hold off giving lead time penalty invoices to


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 37 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       36

  ·1· · · · them.· So we gave our calculations of the lead

  ·2· · · · time penalty, they gave their calculations of

  ·3· · · · price increase, neither side gave -- after

  ·4· · · · February of 2016 we did not give any lead time

  ·5· · · · penalty -- lead time penalty invoices, and I do

  ·6· · · · not believe that they have given us a single

  ·7· · · · invoice for price increase.

  ·8· ·BY MR. MAZZOLA:

  ·9· · · · Q· · Okay.· I just want to lock this statement

  10· ·down, okay.· We are going to get back to this later.

  11· ·Lead time is -- it's one of my topics.· I am going to

  12· ·do that later.

  13· · · · · · ·So after 2016, you have not applied any lead

  14· ·time penalty; is that what you are saying?

  15· · · · · · ·MR. ROSENTHAL:· Objection.

  16· · · · · · ·THE WITNESS:· Our last invoice on lead time

  17· · · · penalty, our last debit note on lead time penalty,

  18· · · · was in the month of February of 2016.· Starting

  19· · · · March of 2016 until now everything is done on

  20· · · · spreadsheets.

  21· ·BY MR. MAZZOLA:

  22· · · · Q· · On spreadsheets?

  23· · · · A· · Yes.

  24· · · · Q· · So the spreadsheets do reflect the lead time

  25· ·penalty; is that correct?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 38 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       37

  ·1· · · · A· · The spread sleets do, but we didn't give them

  ·2· ·a physical credit note, because both parties accepted

  ·3· ·that they would hold back giving their invoice for

  ·4· ·price increase as we would hold back -- this entire

  ·5· ·thing boils down to that -- because of whatever

  ·6· ·problems -- misreporting they did to China Customs.

  ·7· ·They were not in a position to make their numbers look

  ·8· ·any worse, so they requested us to hold back.

  ·9· · · · Q· · Why do you keep talking about this China

  10· ·Customs thing?

  11· · · · A· · Because they really messed up.· There

  12· ·is acknowledgment all over the place from their side.

  13· ·There is so many documents out there which show that

  14· ·they messed up reporting to China Customs.

  15· · · · Q· · So you think the whole thing is made up to

  16· ·cover up something with China Customs?

  17· · · · A· · It absolutely is.· It's a very serious

  18· ·problem for them.· And whatever lies they said to

  19· ·Sinosure and whatever lies they said to the banks to

  20· ·get the lines of credit, this is all what this case is

  21· ·about.

  22· · · · Q· · You keep talking about lies.· I have heard

  23· ·that a few times now.· I wrote down lies and I put a

  24· ·circle around it, meaning to get at it, and I am going

  25· ·to get back at that.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 39 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       38

  ·1· · · · · · ·How many years have you been doing business

  ·2· ·with Benlida and Tracy and Mr. Huang and ROK?· How many

  ·3· ·years?

  ·4· · · · · · ·MR. ROSENTHAL:· Object to form.

  ·5· · · · · · ·THE WITNESS:· From 2005.

  ·6· ·BY MR. MAZZOLA:

  ·7· · · · Q· · So we are going on 23 years -- no.· A lot of

  ·8· ·time.· Eighteen years.

  ·9· · · · A· · Yes.

  10· · · · Q· · During that period of time, did you ever lie

  11· ·to anyone at Benlida or ROK?

  12· · · · A· · Did I lie?

  13· · · · Q· · Yes.

  14· · · · A· · I didn't -- all these lies from their side

  15· ·started in 2018 -- in 2018-2019.· Until that time

  16· ·nobody was lying to each other.· One day though just to

  17· ·justify the numbers backwards and they were in such

  18· ·financial trouble and they were being audited by China

  19· ·Customs and the Tax Department, and that is where this

  20· ·entire thing -- that is the -- they fabricated

  21· ·everything.

  22· · · · Q· · The question was during the time that you

  23· ·have done business with these people, did you ever lie

  24· ·to them?· That is a yes or no.

  25· · · · A· · No.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 40 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       39

  ·1· · · · Q· · Have you ever misled them?

  ·2· · · · A· · I have never deliberately misled them.

  ·3· · · · Q· · Have you ever told them a half truth?

  ·4· · · · A· · I do not believe that I have deliberately

  ·5· ·told them a half truth.

  ·6· · · · Q· · Did you ever lie to any of your upstream

  ·7· ·customers?

  ·8· · · · A· · Every sales organization has to lie to

  ·9· ·sugarcoat.· When are these parts going to get

  10· ·delivered?· They are in route to Hong Kong.· They are

  11· ·stuck in China Customs.· They are in the last stages of

  12· ·production.· So there may have been white lies like

  13· ·that, yes.

  14· · · · Q· · Misleading?

  15· · · · A· · Yes.

  16· · · · Q· · To customers?

  17· · · · A· · It's part of the sales -- there is no

  18· ·organization which can say they did not sugarcoat stuff

  19· ·when presenting information to a customer.

  20· · · · Q· · Or lie to a customer, right?

  21· · · · A· · You can use that as -- you can characterize

  22· ·it as lie.· I do not characterize it as lie.

  23· · · · Q· · I don't know.· This lady is writing it all

  24· ·down.· She wrote it down.

  25· · · · A· · I did not characterize it, you characterized


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 41 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       40

  ·1· ·it as a lie.

  ·2· · · · Q· · I don't know what she wrote down.

  ·3· · · · · · ·MR. ROSENTHAL:· I think we all know what she

  ·4· · · · wrote down; what is being said in the room.

  ·5· ·BY MR. MAZZOLA:

  ·6· · · · Q· · Is this way of sugarcoating things, is that a

  ·7· ·way of life at Circuitronix?

  ·8· · · · A· · Not really.

  ·9· · · · Q· · I think you said it's what you have to do,

  10· ·you have to sugarcoat things for your customers.· You

  11· ·said those words, right?

  12· · · · A· · You have to manage customers' expectations.

  13· ·A customer comes back and says that I need the delivery

  14· ·of these boards in two weeks, and you know you are not

  15· ·going to make it in two weeks.· But sales 101 says you

  16· ·never go back and tell the customer you are not going

  17· ·to do it, you go back and say it's very difficult and

  18· ·impossible, but we try our best to do it.

  19· · · · Q· · What sales 101 course was that?

  20· · · · A· · In Wharton, and maybe in Howard too.

  21· · · · Q· · Why not just tell them the truth?

  22· · · · A· · Because you want your customers to believe

  23· ·that you are trying everything for them, which at the

  24· ·back end we are trying everything for them.· Ask Tracy

  25· ·whether she has seen anybody who works as diligently as


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 42 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       41

  ·1· ·we do for our customers.· We work hard for the

  ·2· ·customers.· We try -- our goal is to try and achieve

  ·3· ·success for our sales, for our manufacturers, and we

  ·4· ·manage that in that process.

  ·5· · · · Q· · Isn't it just easier to tell the truth,

  ·6· ·because then you don't have to remember anything?

  ·7· · · · A· · The majority of the time that information is

  ·8· ·given -- majority of the time the information is

  ·9· ·exactly what it is.· What I have just described to you

  10· ·maybe an exception.

  11· · · · Q· · Now it's an exception that that happens?

  12· · · · · · ·MR. ROSENTHAL:· Objection.

  13· ·BY MR. MAZZOLA:

  14· · · · Q· · You can answer.

  15· · · · A· · You are talking about a full -- you are

  16· ·talking about millions and millions of transactions.

  17· · · · Q· · Yes.

  18· · · · A· · Out of the millions and millions of

  19· ·transactions, 99 percent of the transactions are just

  20· ·black and white as what's required.· Any sort of

  21· ·sugarcoating is required on 1 percent of the

  22· ·transaction.

  23· · · · Q· · Those are your numbers now, right; 1 percent

  24· ·versus 99 percent?

  25· · · · · · ·MR. ROSENTHAL:· Objection to form.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 43 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       42

  ·1· · · · · · ·THE WITNESS:· Yes, those are my numbers.

  ·2· ·BY MR. MAZZOLA:

  ·3· · · · Q· · Now?

  ·4· · · · · · ·MR. ROSENTHAL:· Objection to form.

  ·5· · · · · · ·THE WITNESS:· Always.· Always.

  ·6· ·BY MR. MAZZOLA:

  ·7· · · · Q· · Did you ever tell any white lies to Benlida

  ·8· ·or ROK?

  ·9· · · · · · ·MR. ROSENTHAL:· Objection.

  10· ·BY MR. MAZZOLA:

  11· · · · Q· · You used the word white lies.

  12· · · · A· · I do not believe so.

  13· · · · Q· · Did you ever sugarcoat anything to Benlida or

  14· ·ROK?

  15· · · · A· · I do not believe so.

  16· · · · Q· · So white lies and sugarcoating are only

  17· ·things that you use upstream to your customers, right?

  18· · · · A· · Because upstream we have to manage

  19· ·expectations.· On the flip side, Benlida has lied to me

  20· ·on several occasions.· Something is going to ship next,

  21· ·and it does not ship next week.· DWI pre status of

  22· ·product is here and it's not here.

  23· · · · · · ·Now, when I get that information, if I went

  24· ·to Tracy, she would get down to the bottom of it and

  25· ·tell me the exact situation.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 44 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       43

  ·1· · · · Q· · You don't know if it was a white lie from

  ·2· ·Tracy, you just know she said it would ship next week?

  ·3· · · · A· · We would get that information, but if I went

  ·4· ·to Tracy, she was a reliable source for me to get

  ·5· ·accurate information.· I am not saying Tracy said white

  ·6· ·lies to me.

  ·7· · · · Q· · You said that we should ask Benlida if they

  ·8· ·believe that they -- that you diligently worked for

  ·9· ·your customers.· Do you remember just saying that?

  10· · · · A· · Yes, I do.

  11· · · · Q· · How about I ask you this question.· Do you

  12· ·think that Benlida diligently worked for you?

  13· · · · A· · Benlida diligently worked for us until the

  14· ·2018-2019 time frame when we no longer could support

  15· ·all these loans and advances which we were paying them,

  16· ·and within that -- within that characterization they

  17· ·did overestimate their capabilities from a capacity and

  18· ·quality perspective.

  19· · · · · · ·Now, whether they did it maliciously, I

  20· ·cannot necessarily say that, but during that time frame

  21· ·they did -- they made statements -- until 2018-'19.

  22· ·After 2019 they blatantly -- they did not follow the

  23· ·Manufacturing Agreement, the second agreement.

  24· ·Nothing.· Everything went to the wayside.

  25· · · · Q· · That is what you think, right?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 45 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       44

  ·1· · · · A· · That is what I think, and that is what a

  ·2· ·Court will think too.

  ·3· · · · Q· · That is what you think?

  ·4· · · · · · ·MR. ROSENTHAL:· Objection to form.

  ·5· ·BY MR. MAZZOLA:

  ·6· · · · Q· · Is that right?· Correct?

  ·7· · · · · · ·MR. ROSENTHAL:· Asked and answered.

  ·8· · · · · · ·THE WITNESS:· So, Mr. Mazzola, I would like

  ·9· · · · to ask you a question.· How would I ask a question

  10· · · · based upon what you think?· I can only answer

  11· · · · questions based on what I think.· That is the only

  12· · · · way I can answer the question.· I cannot answer

  13· · · · the question on anybody else's behalf.

  14· ·BY MR. MAZZOLA:

  15· · · · Q· · So you don't know what Benlida believes,

  16· ·right?

  17· · · · A· · Specific to?

  18· · · · Q· · To anything.

  19· · · · A· · I cannot get into the mind of Benlida, but

  20· ·obviously I can tell you what I believe based upon my

  21· ·conversations with them, and what is recapped in the

  22· ·minutes of the meetings also.

  23· · · · Q· · The minutes of the meeting.· This would be

  24· ·the December 2016 meeting?

  25· · · · A· · You know how many minutes of meetings we


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 46 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       45

  ·1· ·have?· Twenty, 30, 40.

  ·2· · · · Q· · I think you did say December 2016 meeting.

  ·3· · · · A· · That addressed price increase issue.

  ·4· ·Specific topic, specific minutes of meeting.· Other

  ·5· ·lead time penalty is addressed in another meeting,

  ·6· ·October 2017 meeting.· I can keep going on.

  ·7· · · · · · ·Anyway, yeah, different meetings have

  ·8· ·different --

  ·9· · · · Q· · Different what?

  10· · · · A· · Different contents in it.

  11· · · · Q· · What other meetings do you remember?· You

  12· ·remember the December 2016 meeting was pricing, you

  13· ·remember the October 2017 meeting was lead time, right?

  14· · · · A· · Yes.

  15· · · · Q· · Are there any other meetings as you sit here

  16· ·today you have a specific recollection of and what was

  17· ·the -- and the subject of those meetings?

  18· · · · A· · If you tell me the subject, I will tell you

  19· ·the -- which meeting was discussed.

  20· · · · Q· · Air freight.

  21· · · · A· · Air freight was discussed in the March 2018

  22· ·meeting in Miami, but prior to that in 2018 they asked

  23· ·us to give the backup of the air freight.

  24· · · · Q· · There was a trial, I think, at the end of

  25· ·last year, November-December, 2022.· Chauncey was the


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 47 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       46

  ·1· ·trial attorney, and the trial related to -- it started

  ·2· ·off as an unpaid obligation, maybe 75 or $80,000.· You

  ·3· ·made a counterclaim and you prevailed.

  ·4· · · · · · ·Do you remember that trial?

  ·5· · · · A· · It was a Top Search trial.· And we didn't

  ·6· ·only prevail, yesterday the judge certified a

  ·7· ·7 million-dollar judgment in our favor.

  ·8· · · · Q· · So you did prevail?

  ·9· · · · A· · Not only did we prevail, they objected and

  10· ·asked for reconsideration, and yesterday the judge

  11· ·denied all their -- denied their request for

  12· ·reconsideration and awarded us $7 million.· And we

  13· ·expect to get that in -- during the hearing he said

  14· ·within two weeks -- what do they do?· They issue the --

  15· ·the written judgment.

  16· · · · Q· · Top Search was suing you for unpaid

  17· ·obligations?

  18· · · · A· · Yes.

  19· · · · Q· · And why, as you recall, were those invoices

  20· ·not paid by you?

  21· · · · A· · There were multiple reasons.· Firstly,

  22· ·majority of the $75,000 worth of invoices belonged to

  23· ·Circuitronix Hong Kong, not Circuitronix USA, and

  24· ·Circuitronix Hong Kong was not a plaintiff in the case.

  25· ·So that is number one.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 48 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       47

  ·1· · · · · · ·Number two is that on several of the

  ·2· ·Circuitronix LLC invoices they were quality claims tied

  ·3· ·to them.

  ·4· · · · · · ·The third one was that our Manufacturing

  ·5· ·Agreement with Top Search allowed us to offset for any

  ·6· ·potential claims we may have against breach of

  ·7· ·contract.

  ·8· · · · Q· · And that was the Top Search case?

  ·9· · · · A· · Yes.

  10· · · · Q· · Have you ever been convicted of a crime?

  11· · · · A· · No.

  12· · · · Q· · Never?

  13· · · · A· · Never.

  14· · · · Q· · What about misdemeanor?· Ever convicted of a

  15· ·misdemeanor?

  16· · · · A· · No.

  17· · · · Q· · When I say crime, I mean felonies or

  18· ·misdemeanors.· You understand that, right?

  19· · · · A· · Never convicted.

  20· · · · Q· · Who is Melanie Rhodan?

  21· · · · A· · She used to work in -- she used to work at

  22· ·Circuitronix LLC.

  23· · · · Q· · Used to work there.· When did she leave?

  24· · · · A· · I cannot recollect, but it's been a number of

  25· ·years.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 49 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       48

  ·1· · · · Q· · Any recollection as to why she left?

  ·2· · · · A· · I do not, but I guess just normal attrition.

  ·3· · · · Q· · Lina might know, Lina Ochoa?

  ·4· · · · A· · She may, yes.

  ·5· · · · Q· · Does she still work there?

  ·6· · · · A· · She does.

  ·7· · · · Q· · What about Marcia Delgado, who is that

  ·8· ·person?

  ·9· · · · A· · She used to be an accounting manager at

  10· ·Circuitronix.

  11· · · · Q· · Does she still work for Circuitronix?

  12· · · · A· · No.

  13· · · · Q· · She used to be?

  14· · · · A· · Used to be.

  15· · · · Q· · Nicole Donaldson, who is that person?

  16· · · · A· · She also used to work in Circuitronix.

  17· · · · Q· · She left as well?

  18· · · · A· · Yes.

  19· · · · Q· · What does Lina Ochoa do?

  20· · · · A· · She is the global operations manager.

  21· · · · Q· · And as global operations manager, one of her

  22· ·roles is HR, right?

  23· · · · A· · HR reports to global ops.· That is correct.

  24· · · · Q· · What about accounting, do they report up to

  25· ·her?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 50 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       49

  ·1· · · · A· · Yes.· Actually, I take that back.· Accounting

  ·2· ·reports to the CFO who reports to me, but she has

  ·3· ·dotted line reporting of the accounting team to her.

  ·4· · · · Q· · Who else reports up to her?

  ·5· · · · A· · Administration, logistics -- administration

  ·6· ·and logistics are the same -- HR -- that is it.· Yes.

  ·7· · · · Q· · And when you say global operations, you are

  ·8· ·referring to CTX.· When I say CTX, you know what I

  ·9· ·mean?

  10· · · · A· · CTX LLC.

  11· · · · Q· · CTX LLC, right?

  12· · · · A· · Yes.

  13· · · · Q· · And then there is also a Mexican operation;

  14· ·is that correct?

  15· · · · A· · Yes, but she doesn't have -- she doesn't do

  16· ·anything for the Mexican -- it's the -- the Mexican

  17· ·operation is not under Circuitronix.

  18· · · · Q· · It's not part of the CTX umbrella?

  19· · · · A· · Yes.

  20· · · · Q· · But there's the Hong Kong that is under the

  21· ·CTX, LLC umbrella?

  22· · · · · · ·MR. ROSENTHAL:· Object to the form.

  23· ·BY MR. MAZZOLA:

  24· · · · Q· · It's not?

  25· · · · A· · Circuitronix Hong Kong is a separate company.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 51 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       50

  ·1· · · · Q· · So it's not under the same umbrella?

  ·2· · · · A· · No.

  ·3· · · · Q· · No?· What about Circuitronix India?

  ·4· · · · A· · Circuitronix India is --

  ·5· · · · · · ·MR. ROSENTHAL:· Object to form.

  ·6· · · · · · ·Sorry.· Go ahead.

  ·7· ·BY MR. MAZZOLA:

  ·8· · · · Q· · Also a separate company?

  ·9· · · · A· · Yes.

  10· · · · Q· · What about Circuitronix Shenzhen?

  11· · · · · · ·MR. ROSENTHAL:· Objection to form.

  12· · · · · · ·THE WITNESS:· Circuitronix Shenzhen is owned

  13· · · · by Circuitronix Hong Kong.

  14· ·BY MR. MAZZOLA:

  15· · · · Q· · If she is global operations manager, what is

  16· ·her globe, just US CTX LLC?

  17· · · · A· · And any aspect of Circuitronix LLC operations

  18· ·which -- so we have a team in India which does work for

  19· ·Circuitronix LLC.· So she will have dotted line

  20· ·reporting of that team to her.

  21· · · · Q· · What do you mean you have a team in India

  22· ·that works for Circuitronix LLC?· Can you clarify that?

  23· · · · A· · So we have got -- you may know about back

  24· ·office operations.· So we have several back office

  25· ·operations in India; for accounting, for inside sales,


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 52 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       51

  ·1· ·engineering.

  ·2· · · · Q· · What about Akshay, where does he work?

  ·3· · · · A· · Whenever you have a chance, can I take a

  ·4· ·break?

  ·5· · · · Q· · We will take a break right now.· Where does

  ·6· ·Akshay work?

  ·7· · · · A· · Akshay is based in Circuitronix Hong Kong.

  ·8· · · · Q· · Akshay is in -- so A-K-S-H-A-Y· K-O-U-L -- is

  ·9· ·in Circuitronix Hong Kong?

  10· · · · A· · Yes.

  11· · · · Q· · Was he working at Circuitronix Hong Kong in

  12· ·2018?

  13· · · · A· · Yes.· I think he has been there since 2014.

  14· · · · Q· · Why would he keep an e-mail address that says

  15· ·Circuitronix.co.India?

  16· · · · A· · Because he started in India and he was moved

  17· ·from India.

  18· · · · Q· · So he just kept the e-mail address?

  19· · · · A· · Yes.

  20· · · · · · ·MR. MAZZOLA:· Let's take a break.

  21· · · · · · ·(Thereupon, there is a short break.)

  22· ·BY MR. MAZZOLA:

  23· · · · Q· · So we were asking about Akshay.

  24· · · · A· · Yes.

  25· · · · Q· · And Akshay works, as you said, for CTX Hong


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 53 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       52

  ·1· ·Kong?

  ·2· · · · A· · That is correct.

  ·3· · · · Q· · He just kept his India --

  ·4· · · · A· · Yes.

  ·5· · · · Q· · You are the overall boss of all the global

  ·6· ·operations, right?

  ·7· · · · A· · So my mother is the owner of Circuitronix

  ·8· ·Hong Kong.· Circuitronix -- and through that

  ·9· ·Circuitronix Shenzhen and Circuitronix Europe, and my

  10· ·mom and my dad were the owners of Circuitronix India.

  11· ·My dad passed away a couple of years ago, and since

  12· ·then the second owner is just for -- yeah, there is a

  13· ·second minority owner just for --

  14· · · · Q· · Who is that?

  15· · · · A· · Sounendra Mahapatra.

  16· · · · · · ·THE REPORTER:· You're going to have to spell

  17· · · · that for me.

  18· · · · · · ·THE WITNESS:· Yes.· S-O-U-M-E-N-D-R-A, last

  19· · · · name M-A-H-A-P-A-T-R-A.

  20· · · · · · ·And I am the owner of Circuitronix Hong Kong,

  21· · · · and I manage -- I am the owner of Circuitronix

  22· · · · LLC.

  23· ·BY MR. MAZZOLA:

  24· · · · Q· · But you manage Hong Kong?

  25· · · · A· · I manage Hong Kong.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 54 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       53

  ·1· · · · Q· · Because I hear a lot about Ms. Promila.

  ·2· · · · A· · That is my mom, yes.

  ·3· · · · Q· · Funny enough though, I have never seen an

  ·4· ·e-mail in the tens of thousands of e-mails -- we did a

  ·5· ·search -- for Promila, P-R-O-M-I-L-A.· Why is that?

  ·6· · · · A· · Same reason why you didn't see a single

  ·7· ·e-mail from Mr. Huang.

  ·8· · · · Q· · She is not on e-mails?

  ·9· · · · A· · Yes.

  10· · · · Q· · But you do do the day-to-day management of

  11· ·Circuitronix Hong Kong?

  12· · · · A· · I do the day-to-day -- so, as one would

  13· ·appreciate, we obviously rely on managers.· Akshay runs

  14· ·the day-to-day operations and he reports to me.

  15· · · · Q· · You have overall management authority?

  16· · · · A· · I have overall management authority.

  17· · · · Q· · And naturally you are authorized to sign

  18· ·documents on behalf of Circuitronix Hong Kong, right?

  19· · · · A· · I am.· But I do want to clarify in the event

  20· ·my mother says I cannot sign a document, I cannot sign

  21· ·a document.· I do have the authority, but she has the

  22· ·final authority.

  23· · · · Q· · Are there any documents in this case that

  24· ·have been signed on behalf of Circuitronix Hong Kong

  25· ·that your mother later said, hey, Rishi, you didn't


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 55 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       54

  ·1· ·have authority to sign that?

  ·2· · · · A· · No.

  ·3· · · · Q· · So if I look at something -- let's look, for

  ·4· ·example, at this.· This was previously marked as

  ·5· ·Exhibit 40.

  ·6· · · · A· · May I have a copy?

  ·7· · · · Q· · It's in those binders.

  ·8· · · · · · ·MR. ROSENTHAL:· By the way, JC, when -- if

  ·9· · · · you are going to ask about any documents -- JC?

  10· · · · Just housekeeping.· This doesn't have numbers 1

  11· · · · through 20 in it because they were the ones you

  12· · · · marked during the depositions you took last year.

  13· · · · I have a set I think somewhere that I have to get.

  14· · · · · · ·MR. MAZZOLA:· I don't know if we will use any

  15· · · · of them.· If we do, it will be nothing of any

  16· · · · excitement.

  17· · · · · · ·MR. ROSENTHAL:· Well, if you do need one send

  18· · · · us a copy of it and we will work as we go.

  19· ·BY MR. MAZZOLA:

  20· · · · Q· · This starts off with an e-mail.· Do you see

  21· ·that?

  22· · · · A· · Yes.

  23· · · · Q· · It refers to the secondary agreement, do you

  24· ·see that?

  25· · · · A· · Yes.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 56 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       55

  ·1· · · · Q· · You talked earlier about a secondary

  ·2· ·agreement.· Do you remember that, Rishi?

  ·3· · · · A· · I do.

  ·4· · · · Q· · When you were talking about the secondary

  ·5· ·agreement, were you referring to the document in front

  ·6· ·of you?· It's an e-mail followed by a four-page letter.

  ·7· · · · A· · Yes.

  ·8· · · · Q· · Five-page letter.· Are you familiar with this

  ·9· ·letter?

  10· · · · A· · I am.

  11· · · · Q· · It looks like it has been signed by the

  12· ·people at Benlida and ROK; is that correct?· At the

  13· ·back page.

  14· · · · A· · Yes.

  15· · · · Q· · Now, it says Rishi Kukreja for CTX USA and

  16· ·CTX Hong Kong.· The document I am looking at is not

  17· ·signed.· Why is that?

  18· · · · A· · Because you got an unsigned copy of the

  19· ·document.· We have a signed copy too.

  20· · · · Q· · So there is a signed copy out there?

  21· · · · A· · Yes.

  22· · · · · · ·MR. ROSENTHAL:· You guys filed it.

  23· · · · · · ·MR. MAZZOLA:· Okay.

  24· ·BY MR. MAZZOLA:

  25· · · · Q· · So when you guys signed that document,


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 57 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       56

  ·1· ·presumably you were authorized to sign for CTX Hong

  ·2· ·Kong?

  ·3· · · · A· · Yes.

  ·4· · · · Q· · Is this something you would have cleared past

  ·5· ·your mother?

  ·6· · · · A· · I would have discussed it with her.

  ·7· · · · Q· · So this would be an example of -- the signed

  ·8· ·version, the one that is filed with the court -- that

  ·9· ·you are signing on behalf of CTX Hong Kong, right?

  10· · · · A· · Yes.

  11· · · · Q· · Is it your view that this second signed

  12· ·agreement remains in force?

  13· · · · A· · Yes.

  14· · · · Q· · If you look to the second to last page, if

  15· ·there is notices that need to be provided -- do you see

  16· ·that?

  17· · · · A· · Yes.

  18· · · · Q· · It says Hanchao Huang.· You know that to be

  19· ·Douglas?

  20· · · · A· · Yes.

  21· · · · Q· · And if it's CTX USA or CTX Hong Kong, the

  22· ·notices are to you, correct?

  23· · · · A· · Yes, but different addresses.

  24· · · · Q· · What was the purpose of entering into that

  25· ·second agreement?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 58 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       57

  ·1· · · · A· · There were number of reasons.· The first

  ·2· ·reason was that the Manufacturing Agreement did not

  ·3· ·have Hong Kong as Circuitronix Hong Kong.· So we wanted

  ·4· ·that Manufacturing Agreement to -- for Circuitronix

  ·5· ·Hong Kong to be an independent party to the

  ·6· ·Manufacturing Agreement.

  ·7· · · · · · ·The second reason is that at this point in

  ·8· ·time, Benlida was asking us to do things which --

  ·9· · · · Q· · Okay.· So the first one was to effectively

  10· ·make Circuitronix Hong Kong a party to the agreement?

  11· · · · · · ·MR. ROSENTHAL:· Forgive me.· I didn't know if

  12· · · · he wanted to list anything else before you

  13· · · · interrupted him.

  14· · · · · · ·MR. MAZZOLA:· I just need to remember.

  15· ·BY MR. MAZZOLA:

  16· · · · Q· · The first one was Circuitronix.· You went

  17· ·into the second one -- the first one was Circuitronix

  18· ·Hong Kong.· You went into the second one?

  19· · · · A· · The second one was at this point in time

  20· ·Benlida was asking us to do things which were -- which

  21· ·were -- which did not align with what was agreed on

  22· ·the -- which did not align with the Manufacturing

  23· ·Agreement.

  24· · · · · · ·As an example, the payment terms.· So we did

  25· ·not want anybody to go back and say, well, since you


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 59 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       58

  ·1· ·started, that is the way you were doing business,

  ·2· ·somehow we had waived terms and conditions, the payment

  ·3· ·terms, in the original agreement.· So that is why we

  ·4· ·wrote the second paragraph.

  ·5· · · · Q· · What are you looking at?

  ·6· · · · A· · "Due to discrepancies between Circuitronix

  ·7· ·USA and manufacturing with respect to balances of

  ·8· ·certain accounts."· That paragraph.

  ·9· · · · Q· · Okay.

  10· · · · A· · So that was number two.· Number three, we

  11· ·clarified the way notices should be given to either

  12· ·party.

  13· · · · Q· · That was it, the two reasons, right?

  14· · · · A· · Three reasons.

  15· · · · Q· · The third reason was the notices.

  16· · · · · · ·Do you have Exhibit 21 in front of you?

  17· · · · A· · No.

  18· · · · · · ·MR. ROSENTHAL:· I think you might.· It's the

  19· · · · first one in the binder.

  20· · · · · · ·THE WITNESS:· Yes.

  21· ·BY MR. MAZZOLA:

  22· · · · Q· · Let me ask you -- you might have to flip back

  23· ·and forth, but you may not have to.

  24· · · · · · ·You earlier were looking at Exhibit 40.· That

  25· ·was the letter on Circuitronix letterhead dated


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 60 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       59

  ·1· ·July 21, 2016.· That is the document that you are

  ·2· ·referring to as the secondary -- that is what you mean

  ·3· ·by the second agreement?

  ·4· · · · A· · Secondary.

  ·5· · · · Q· · Second agreement?

  ·6· · · · A· · Secondary.

  ·7· · · · Q· · So I am holding it up.· This is the secondary

  ·8· ·agreement, Exhibit 41, right?

  ·9· · · · A· · Yes.

  10· · · · Q· · Exhibit 21, that is the Manufacturing

  11· ·Agreement; is that correct?· The existing agreement; is

  12· ·that correct?

  13· · · · A· · What do you mean by existing?· Both of them

  14· ·are existing agreement.· It's the existing agreement

  15· ·referred to in 41, yes.

  16· · · · · · ·THE WITNESS:· By the way, it's not 41, it's

  17· · · · 40.

  18· ·BY MR. MAZZOLA:

  19· · · · Q· · I beg your pardon.· There is a reference in

  20· ·the second paragraph of Page 2 of Exhibit 41.

  21· · · · A· · 41 or 40?

  22· · · · Q· · I beg your pardon, 40.

  23· · · · · · ·MR. ROSENTHAL:· Off the record.

  24· · · · · · ·(Thereupon, there is a short break.)

  25


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 61 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       60

  ·1· ·BY MR. MAZZOLA:

  ·2· · · · Q· · So you are referring -- in Exhibit 40 you are

  ·3· ·referring to a secondary Manufacturing Agreement; is

  ·4· ·that correct?

  ·5· · · · A· · Yes.

  ·6· · · · Q· · Was that secondary Manufacturing Agreement

  ·7· ·ever prepared, agreed to, or signed, entered into?

  ·8· · · · A· · It was prepared, but it was never signed --

  ·9· ·never agreed to and never signed.

  10· · · · Q· · So insofar as you are concerned, the

  11· ·relationship between CTX and Benlida is governed by

  12· ·this Exhibit 21, the Manufacturing Agreement; is that

  13· ·correct?

  14· · · · A· · Yes.

  15· · · · Q· · And this letter agreement, Exhibit 40?

  16· · · · A· · And subsequent minutes of meeting post

  17· ·July 21, 2016.

  18· · · · Q· · You stated three purposes for this -- what I

  19· ·am going to call the letter agreement, because that is

  20· ·what it says, Exhibit 40.· One was to bring CTX Hong

  21· ·Kong into the agreement; is that correct?

  22· · · · A· · Yes.

  23· · · · Q· · The second one is the second paragraph, and

  24· ·it relates to discrepancies between CTX USA and the

  25· ·manufacturer.· Do you see that?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 62 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       61

  ·1· · · · A· · Yes.· But it was more about the change in

  ·2· ·payment terms.

  ·3· · · · Q· · Well, it says what it says, right?

  ·4· · · · A· · Yes, the last -- yeah, it says what it says.

  ·5· · · · Q· · And you talk about the discrepancy, and next

  ·6· ·to discrepancy in the second line you talk about CTX

  ·7· ·USA, CTX Hong Kong, and the manufacturer.· The idea was

  ·8· ·that a new second Manufacturing Agreement would be

  ·9· ·negotiated, right?

  10· · · · A· · Yes.

  11· · · · Q· · But until such Manufacturing Agreement was

  12· ·negotiated, you agree to continue to make payments to

  13· ·Benlida, right?

  14· · · · A· · Make payments to Benlida based upon what

  15· ·ships this week will be paid next week.

  16· · · · Q· · I am not sure I understand that.· Why would

  17· ·you volunteer that?

  18· · · · A· · Why would I volunteer that statement?

  19· · · · Q· · Why would you volunteer that statement just

  20· ·now, yeah.

  21· · · · A· · Nothing.· That was something what they

  22· ·requested for.· So --

  23· · · · Q· · You are saying they requested that?

  24· · · · A· · Okay.

  25· · · · Q· · It says what it says, right?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 63 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       62

  ·1· · · · A· · No, no, no.· Let me try to explain the

  ·2· ·rationale to you behind it also.

  ·3· · · · · · ·So we were doing close to 20 to $25 million

  ·4· ·per year of business at this point in time with

  ·5· ·Benlida.· Or that is what we were projecting to do.· So

  ·6· ·if you take that as per month, that would be around

  ·7· ·$2 million worth of business.· Let's just put

  ·8· ·$24 million.· So at any point in time we would be owing

  ·9· ·Benlida between 4 to $6 million, because three months

  10· ·payment terms with AMS of 60.· So the accounts

  11· ·receivable would be four to six months -- 4 to

  12· ·$6 million.

  13· · · · · · ·So what we -- by this time, or around this

  14· ·time, we had had our first meeting in Miami, and Tracy

  15· ·had outlined the discrepancies, and the discrepancies

  16· ·between the two parties was less than $2 million.· So

  17· ·what we told them is -- and they were saying that the

  18· ·$2 million was impacting their --

  19· · · · Q· · In their favor?

  20· · · · A· · In their favor, correct.

  21· · · · Q· · That was in --

  22· · · · A· · -- July of 2016.· So we said -- they were

  23· ·saying the $2 million was affecting their cash flow and

  24· ·operations.· So we said that if we pay you for what you

  25· ·ship this week, next week that puts you ahead as far as


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 64 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       63

  ·1· ·cash flow is concerned.· So that is what we started

  ·2· ·doing in December of 2016.· And it remains to be seen

  ·3· ·how they are going to prove that the $2 million

  ·4· ·ballooned to $12 million.

  ·5· · · · Q· · So that is what this Paragraph 2 was as you

  ·6· ·understand?

  ·7· · · · A· · Yes.· But we did not want to tell them that

  ·8· ·that is something which -- it was no sort of waiver to

  ·9· ·the original Manufacturing Agreement.· It was temporary

  10· ·solution.

  11· · · · · · ·MR. ROSENTHAL:· Mr. Mazzola, what paragraph

  12· · · · were you talking about?

  13· · · · · · ·MR. MAZZOLA:· Paragraph 2 to attachment

  14· · · · Exhibit 40.

  15· · · · · · ·MR. ROSENTHAL:· Thank you.

  16· ·BY MR. MAZZOLA:

  17· · · · Q· · Who is Donovan Waite?

  18· · · · A· · He is -- he is the accounting manager for

  19· ·Circuitronix LLC.

  20· · · · Q· · How long has he been accounting manager?

  21· · · · A· · I think for three years now.

  22· · · · Q· · Do you remember meeting -- the March 2018

  23· ·meeting addressed air freight; is that your

  24· ·recollection?

  25· · · · A· · It spoke about air freight, yes.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 65 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       64

  ·1· · · · Q· · So there is a document that is Exhibit 58 in

  ·2· ·the binder.· It starts off with an e-mail.· It's from

  ·3· ·Tracy.· It says, "Rishi, here is the meeting recap."

  ·4· · · · · · ·MR. ROSENTHAL:· Give him a minute until he

  ·5· · · · finds it.

  ·6· · · · · · ·THE WITNESS:· Got it.

  ·7· ·BY MR. MAZZOLA:

  ·8· · · · Q· · When you testified earlier that the

  ·9· ·March 2018 meeting addressed air freight, is this the

  10· ·meeting you were referring to?

  11· · · · A· · Yes.

  12· · · · Q· · It says Meeting Recap on the attachment.· Do

  13· ·you see that?

  14· · · · A· · Yes.

  15· · · · Q· · Would you consider this meeting minutes?

  16· · · · A· · Yes.

  17· · · · Q· · Did you respond to this e-mail that Tracy

  18· ·sent you on March 21, 2018?

  19· · · · A· · Respond in terms of whether I agreed or

  20· ·disagreement with this?

  21· · · · Q· · Yes.

  22· · · · A· · I did not because -- I did not, no.

  23· · · · Q· · But you did get it, right?

  24· · · · A· · I did get it.

  25· · · · Q· · And there was no response to it?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 66 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       65

  ·1· · · · · · ·MR. ROSENTHAL:· Object to form.

  ·2· ·BY MR. MAZZOLA:

  ·3· · · · Q· · Is that correct?

  ·4· · · · · · ·MR. ROSENTHAL:· Objection.

  ·5· · · · · · ·THE WITNESS:· There was no response.

  ·6· · · · · · ·MR. MAZZOLA:· Steve, we want to use

  ·7· · · · Circuitronix Answers to Plaintiff's

  ·8· · · · Interrogatories.· There was a new version printed

  ·9· · · · off yesterday.· Do you have a copy we can use?

  10· · · · · · ·MS. MARTINEZ:· I can print one.

  11· · · · · · ·MR. MAZZOLA:· And excuse me.· I just need

  12· · · · to --

  13· · · · · · ·(Thereupon, there is a short break.)

  14· ·BY MR. MAZZOLA:

  15· · · · Q· · Who is Sourabh Sharma?

  16· · · · A· · He manages inside sales team.· He is the

  17· ·general manager for Circuitronix India.

  18· · · · Q· · But he manages the inside sales team for all

  19· ·the CTX operations?

  20· · · · A· · No, for India.· For Circuitronix India.

  21· · · · Q· · When you say inside sales -- I want to

  22· ·refresh my recollection -- that means these are the

  23· ·salesmen that sell to your upstream customers, right?

  24· · · · A· · No.

  25· · · · Q· · What do these guys do?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 67 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       66

  ·1· · · · A· · They support the outside salespeople who sell

  ·2· ·to the upstream customers.

  ·3· · · · Q· · Okay.· So they are on that side then?

  ·4· · · · A· · So basically they do all paperwork, they

  ·5· ·order entry.

  ·6· · · · Q· · But they are your salesmen to sell to your

  ·7· ·customers?

  ·8· · · · A· · Yes, provide reports to outside salespeople.

  ·9· · · · Q· · Who is the head of your bookkeeping

  10· ·department, accounting department?

  11· · · · A· · Circuitronix LLC?

  12· · · · Q· · Yes.

  13· · · · A· · It's Donovan.

  14· · · · Q· · Donovan.· Who is Todor?

  15· · · · A· · Todor used to be -- Donovan took -- Todor

  16· ·used to do the same thing as Donovan.

  17· · · · Q· · And Todor is T-O-D-O-R, right?

  18· · · · A· · Yes.

  19· · · · Q· · What happened to Todor?

  20· · · · A· · He left the company.

  21· · · · Q· · Was he fired?

  22· · · · A· · No.

  23· · · · Q· · So Donovan is the person who took Todor's

  24· ·position?

  25· · · · A· · I am trying to recollect whether somebody


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 68 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       67

  ·1· ·joined between Todor and Donovan, but today Donovan

  ·2· ·does what Todor was doing.

  ·3· · · · Q· · That is what?

  ·4· · · · A· · He manages the entire accounting team.

  ·5· · · · Q· · And that includes accounts payable, right?

  ·6· · · · A· · Accounts payable and -- it includes accounts

  ·7· ·payable, yes.

  ·8· · · · Q· · And so Donovan does that now and Todor did it

  ·9· ·then?

  10· · · · A· · Yes.

  11· · · · Q· · Between Donovan and Todor, the team that they

  12· ·manage, that team would be responsible for accounts

  13· ·payable, right?

  14· · · · A· · And accounts receivable.

  15· · · · Q· · And accounts receivable.· That team would

  16· ·also be responsible for preparing the reconciliations

  17· ·we talked so much about during this case, right?

  18· · · · A· · Yes.

  19· · · · Q· · And when I say reconciliations, you know what

  20· ·I mean, right?

  21· · · · A· · Absolutely.

  22· · · · Q· · And that would be the team that -- I should

  23· ·put something in front of you.· There is an

  24· ·Exhibit 106.· It should be in the binders.

  25· · · · A· · Yes.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 69 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       68

  ·1· · · · Q· · Exhibit 106 is an e-mail from Melanie Rhodan.

  ·2· ·She is an accounts payable specialist, right?

  ·3· · · · A· · Yes.

  ·4· · · · Q· · And attached to that is a spreadsheet on

  ·5· ·Circuitronix letterhead.· Do you see that?

  ·6· · · · A· · Yes.

  ·7· · · · Q· · And then behind that looks like -- these look

  ·8· ·like something internal.

  ·9· · · · A· · That is screen shots from the payment forms.

  10· · · · Q· · From the banks?

  11· · · · A· · From the bank.

  12· · · · Q· · Marcia doesn't work there anymore, Nicole

  13· ·doesn't work there anymore, Melanie doesn't work there

  14· ·anymore; is that correct?

  15· · · · A· · Marcia, Nicole, Evan -- who's Chu Kwok Wai --

  16· ·and Nicole.· None of them work there no more.

  17· · · · Q· · So we have seen a lot of these documents, the

  18· ·attachments.· Do you see this?

  19· · · · A· · Yes, I do.

  20· · · · Q· · The Circuitronix one, the green across the

  21· ·top?

  22· · · · A· · Yes.

  23· · · · Q· · I think they are all the same color; is that

  24· ·correct?

  25· · · · A· · They are all what?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 70 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       69

  ·1· · · · Q· · They are all the same color.· They all have

  ·2· ·the green across and the three columns?

  ·3· · · · A· · Yes, I think so.

  ·4· · · · Q· · So the green doesn't mean anything, right?

  ·5· · · · A· · The green --

  ·6· · · · Q· · The colors that you are using don't mean

  ·7· ·anything?

  ·8· · · · A· · Circuitronix company colors.· That is what a

  ·9· ·circuit board looks like.

  10· · · · Q· · And then on these bank reference printouts --

  11· ·do you see that?

  12· · · · A· · Yes.

  13· · · · Q· · I see it's got a source account, 2698, right?

  14· · · · A· · Yes.

  15· · · · Q· · They are both from 2698, and if you go to the

  16· ·next page you will see that, right?

  17· · · · A· · Yes.

  18· · · · Q· · There is different amounts.· Do you see

  19· ·that --

  20· · · · A· · Yes.

  21· · · · Q· · -- on the first and second one?

  22· · · · A· · Uh-huh.

  23· · · · Q· · The beneficiary is the same of course.· The

  24· ·beneficiary account of course is the same, right?

  25· · · · A· · Yes.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 71 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       70

  ·1· · · · Q· · The bank that the money is going to is the

  ·2· ·same, as is the swift, right?

  ·3· · · · A· · Yes.

  ·4· · · · Q· · And they made the special instructions.· Then

  ·5· ·there is a Citibank reference number.

  ·6· · · · A· · Yes, which is different.

  ·7· · · · Q· · And those are difference numbers because

  ·8· ·those are just numbers that the bank applies to this

  ·9· ·particular wire; is that correct?

  10· · · · A· · That is right.

  11· · · · Q· · So that is not a number you create; is that

  12· ·correct?

  13· · · · A· · Yes, it's a Citibank reference number.

  14· · · · Q· · And it says -- so when I say -- when I see

  15· ·Citibank, I can presume that that means that these

  16· ·payments were paid from the Citibank account; is that

  17· ·correct?

  18· · · · A· · That is correct.

  19· · · · Q· · Does Circuitronix LLC have any other bank

  20· ·accounts other than Citibank accounts?

  21· · · · A· · Yes.

  22· · · · Q· · What other bank accounts do they have?

  23· · · · A· · HSBC.

  24· · · · Q· · CTX LLC has an HSBC account?

  25· · · · A· · Yes.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 72 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       71

  ·1· · · · Q· · If you look back to the spreadsheet now on

  ·2· ·the page before --

  ·3· · · · A· · Yes.

  ·4· · · · Q· · -- there are bill numbers.· You see that,

  ·5· ·right?

  ·6· · · · A· · Yes.

  ·7· · · · Q· · Those bill numbers are unique numbers that

  ·8· ·were created by Benlida; is that correct?

  ·9· · · · A· · Yes.

  10· · · · Q· · And then there is a bill date.· Do you see

  11· ·that?

  12· · · · A· · Yes.

  13· · · · Q· · And this is a ledger of what is being paid

  14· ·prepared by Circuitronix; is that correct?

  15· · · · A· · Yes.

  16· · · · Q· · So I can understand the dates, payment

  17· ·detail, October 1, 2019 -- do you see that?

  18· · · · A· · Yes.

  19· · · · Q· · But if I look below, all the bill dates are

  20· ·all from July, August, and it looks like there is a

  21· ·debit memo at the bottom from September.· Do you see

  22· ·that?

  23· · · · A· · Yes.

  24· · · · Q· · And this e-mail was sent in October; is that

  25· ·correct?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 73 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       72

  ·1· · · · A· · Yes.

  ·2· · · · Q· · When were the payments made?· The payments

  ·3· ·would have been made in September; is that correct?

  ·4· · · · A· · September 6 and September 18.

  ·5· · · · Q· · So why such a long lag time between the bill

  ·6· ·date and the payment detail that is prepared?

  ·7· · · · A· · So the contractual payment terms are AMS 60

  ·8· ·days.· So payments for bills in July are payable in

  ·9· ·October based upon AMS 60 days.

  10· · · · Q· · How do you understand AMS 60 days to operate?

  11· · · · A· · I understand it exactly the way everybody

  12· ·should understand it.· It stands for after monthly

  13· ·statement 60 days.

  14· · · · Q· · So 60 days after you get the bill?

  15· · · · A· · Sixty days after we get the monthly

  16· ·statements.· So all of July shipments Benlida gives --

  17· ·contractually supposed to give us a statement say the

  18· ·first few working dates of August, and 60 days starts

  19· ·from the monthly statement.

  20· · · · Q· · So a bill date that says July 5, 2019, may

  21· ·not have been received until some other time; is that

  22· ·what you are saying?

  23· · · · A· · No.

  24· · · · Q· · It was received on July 5?

  25· · · · A· · In that time frame.· But the actual statement


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 74 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       73

  ·1· ·for whatever happened in a month came in August.· And

  ·2· ·the reason why you see the invoices for 8/2 and 8/3

  ·3· ·included, because we didn't want to include those

  ·4· ·invoices in there, but Benlida requested us to include

  ·5· ·those invoices because they said the shipment was made

  ·6· ·in July.· So they wanted -- they wanted us to go by

  ·7· ·when they shipped from their factory, not when we

  ·8· ·received it.· So that is why -- and another reason why

  ·9· ·they told us they wanted us to do that was because they

  10· ·wanted to keep their books with China Customs in sync.

  11· ·So we accepted it.

  12· · · · Q· · No big deal, right?

  13· · · · A· · No big deal, because as long as we received

  14· ·it in the first couple of working days and as long as

  15· ·we had evidence that it was actually shipped in the

  16· ·month of July, we included in there.

  17· · · · Q· · You don't dispute that Benlida has sent you

  18· ·these invoices; is that correct?

  19· · · · A· · I don't dispute it at all.

  20· · · · Q· · So if we pulled up all of these, there would

  21· ·be no dispute that Benlida had sent the invoices,

  22· ·right?

  23· · · · A· · Absolutely.

  24· · · · Q· · And when you say when we get invoices, this

  25· ·detail that I am looking at is just for Circuitronix


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 75 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       74

  ·1· ·LLC, right?

  ·2· · · · A· · It says from Circuitronix LLC, and the

  ·3· ·invoice nomenclature also shows Circuitronix LLC.

  ·4· · · · Q· · But there are similar documents that say

  ·5· ·Circuitronix Hong Kong on it, right?

  ·6· · · · A· · There are, yes.

  ·7· · · · Q· · And those similar documents will have a

  ·8· ·different nomenclature or numbering convention, if you

  ·9· ·will, for the bill number, right?

  10· · · · A· · That is right.

  11· · · · Q· · And those that relate to Hong Kong would have

  12· ·a HK on it someplace?

  13· · · · A· · If I recollect correctly.· I would have to

  14· ·look at it, but yes, sounds correct.· That sounds

  15· ·correct.

  16· · · · Q· · So when you say we get invoices, you are

  17· ·referring to Circuitronix LLC and Circuitronix Hong

  18· ·Kong, right?

  19· · · · A· · Circuitronix LLC gets the Circuitronix LLC

  20· ·invoices, Circuitronix Hong Kong gets Circuitronix Hong

  21· ·Kong invoices.

  22· · · · Q· · You use them collectively as we?· You did say

  23· ·we.

  24· · · · A· · Every time I am using we, I am talking about

  25· ·Circuitronix LLC.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 76 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       75

  ·1· · · · Q· · On this document over here?

  ·2· · · · A· · Unless you ask me differently, everything

  ·3· ·which I am going to testify to is about Circuitronix

  ·4· ·LLC.

  ·5· · · · Q· · Okay.· And when they would send invoices or

  ·6· ·bills for Hong Kong accounts payable, did they use the

  ·7· ·same e-mail addresses?

  ·8· · · · A· · No.· So, like, if you look at the e-mail, you

  ·9· ·would be able to see that ChuW@CircuitronixHK is a Hong

  10· ·Kong e-mail address.· So if they send it to everybody,

  11· ·the ones which are Hong Kong will be dealt by the Hong

  12· ·Kong personnel, the one for US would be dealt by the US

  13· ·personnel.

  14· · · · Q· · But they would be copied on the same e-mail?

  15· · · · A· · In some cases.

  16· · · · Q· · So it would not be uncommon for me to see

  17· ·another payment detail coming from the LLC that copies

  18· ·people from Hong Kong on it; is that correct?

  19· · · · A· · That is correct.

  20· · · · Q· · And likewise, it would not be uncommon for me

  21· ·to see a Benlida payment detail for US -- for Hong Kong

  22· ·invoices that copy people in the US, right?

  23· · · · A· · Yes, it would not be uncommon.

  24· · · · Q· · This Exhibit 106, this spreadsheet, has a CTX

  25· ·US credit balance.· Do you see that?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 77 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       76

  ·1· · · · A· · That is correct.

  ·2· · · · Q· · Why the reference to US credit balance?· Was

  ·3· ·there a CTX Hong Kong credit balance?

  ·4· · · · A· · There should be.

  ·5· · · · Q· · As of October 1, 2019, do you know what the

  ·6· ·CTX Hong Kong credit balance was?

  ·7· · · · A· · I do not.

  ·8· · · · Q· · But there should have been one, right?

  ·9· · · · A· · Yes.

  10· · · · Q· · One more question.· Why -- are you

  11· ·familiar -- there might have been some talk, and I am

  12· ·sure you heard about it -- this idea of first in, first

  13· ·out accounting.· Did you hear anything about that?· Are

  14· ·you familiar with that?

  15· · · · A· · I am.

  16· · · · Q· · And when Circuitronix would send these

  17· ·payment detail accounts, there would be bill dates and

  18· ·there would be amounts, right?

  19· · · · A· · Yes.

  20· · · · Q· · And was it your intention that what was paid

  21· ·was to pay these particular bills?

  22· · · · A· · So if you look at this point in time, we

  23· ·should not have paid the 86,166 or the 101,356, because

  24· ·we were already overpaid by 6,220,188.02.· We made

  25· ·those payments as loans which were being requested by


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 78 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       77

  ·1· ·Benlida.

  ·2· · · · · · ·And so in our case -- in this case -- there

  ·3· ·was no reason to do first in, first out basis, because

  ·4· ·the 5,506,949.73 would be covered for invoices of --

  ·5· ·let's assume at a million dollars per month -- for the

  ·6· ·next five to six months.

  ·7· · · · Q· · Your view is you didn't have to pay anything?

  ·8· · · · A· · We just had to apply it to past -- past

  ·9· ·balances which they owed us.

  10· · · · Q· · How did you come up with this number; the

  11· ·86,166 and the 101,356?· How did you come up with those

  12· ·numbers?

  13· · · · A· · The previous week's ships was paid in the

  14· ·next week.· It was numbers which Benlida was asking us

  15· ·for help on.

  16· · · · Q· · You keep calling these loans.

  17· · · · A· · Yes.

  18· · · · Q· · Were there any loan documents in place?

  19· · · · A· · So there are lots of e-mails which outline

  20· ·discussions with loan documents, and there is an e-mail

  21· ·where -- where Tracy or Douglas, I have forgotten

  22· ·whom -- said not to provide the loan document, because

  23· ·if it's a loan it would basically mess up their

  24· ·financials even more.· But there are discussions where

  25· ·they have acknowledged that any prepayment is a loan.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 79 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       78

  ·1· · · · Q· · But there is no loan document?· That is the

  ·2· ·question.

  ·3· · · · A· · There is no loan document.

  ·4· · · · Q· · Was there any interest owed on this loan?

  ·5· · · · A· · Technically there should be interest owed on

  ·6· ·the loan, but as a good partner we -- we could see that

  ·7· ·they were already in deep amount of trouble through

  ·8· ·this and throughout the e-mails and everything else,

  ·9· ·and the objective was not to do anything which would

  10· ·make this situation any worse.

  11· · · · Q· · So it was just an act of grace by you to not

  12· ·have applied interest then, right?

  13· · · · A· · Yes.

  14· · · · Q· · And then what about were there any default

  15· ·terms in this loan?· What happens if they defaulted?

  16· ·Were there any terms agreed to?

  17· · · · A· · Yes, lawsuit.

  18· · · · Q· · They sued you.

  19· · · · A· · If they not sued us, we would sue them very

  20· ·shortly.· We understand the concept of statute of

  21· ·limitations.

  22· · · · Q· · Were any default terms -- beg pardon --

  23· ·collateral.· Was there any collateral placed on this

  24· ·loan?

  25· · · · A· · There was no collateral.· There was no


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 80 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       79

  ·1· ·specific collateral as such.· At this point in time we

  ·2· ·were thinking they would continue shipping new parts to

  ·3· ·us, which would allow us to keep reducing the

  ·4· ·outstanding balance, but just around this time frame

  ·5· ·they went ahead and asked for -- started asking for

  ·6· ·prepayment.

  ·7· · · · Q· · You talked about a statute of limitations.

  ·8· ·You said we know what a statute of limitations is,

  ·9· ·right?

  10· · · · A· · Yes.

  11· · · · · · ·MR. MAZZOLA:· What number are we up to?· This

  12· · · · is a new exhibit.

  13· · · · · · ·MR. ROSENTHAL:· I think 114.· Yeah, 114.

  14· · · · · · ·(Thereupon, Deposition Exhibit No. 114

  15· · · · · · · is marked for identification.)

  16· · · · · · ·MR. MAZZOLA:· Plaintiffs Answers to

  17· · · · Plaintiffs Interrogatories.· Hold on.· It's the

  18· · · · Defendant's Answers to Plaintiff's

  19· · · · Interrogatories.

  20· · · · · · ·MR. LERNER:· The one you gave us yesterday.

  21· · · · · · ·MS. MARTINEZ:· I gave you two.

  22· · · · · · ·MR. MAZZOLA:· Do you have a copy of it?

  23· · · · · · ·MS. MARTINEZ:· I have a copy of it.

  24· ·BY MR. MAZZOLA:

  25· · · · Q· · Do you see this document, Rishi?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 81 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       80

  ·1· · · · A· · Yes, I do.

  ·2· · · · Q· · This is Defendant's Answers to Plaintiff's

  ·3· ·Interrogatories.· If we go towards the back, I think

  ·4· ·there is a Page 13 -- there is two Page 13s -- but you

  ·5· ·are signing and you are saying that this is true and

  ·6· ·correct?

  ·7· · · · A· · That is correct.

  ·8· · · · Q· · So I will presume that you saw the questions,

  ·9· ·you are aware of the questions, and you saw the answers

  10· ·and you are aware of the answers that were being given

  11· ·in this document; is that correct?

  12· · · · A· · Yes.

  13· · · · Q· · And you had talked earlier about the statute

  14· ·of limitations, were aware of the statute of

  15· ·limitations.· What did you mean by that?

  16· · · · A· · You asked why did we not bring a claim, and I

  17· ·was trying to explain in due course of time if we were

  18· ·not able to resolve everything in an amicable fashion

  19· ·we would have brought a claim.

  20· · · · Q· · Ultimately you think you would have sued as

  21· ·well first?

  22· · · · A· · Yes.

  23· · · · Q· · And the suit would have been on the loan; is

  24· ·that what you're saying?

  25· · · · A· · The suit would be on the damages which we


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 82 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       81

  ·1· ·have outlined in our supplemental interrogatories

  ·2· ·tomorrow -- yesterday.· We provided it to you

  ·3· ·yesterday.· We provided you additional supplement.

  ·4· · · · Q· · Additional one, right?

  ·5· · · · · · ·MR. ROSENTHAL:· I think he is referring to

  ·6· · · · the supplemental initial disclosure.

  ·7· · · · · · ·THE WITNESS:· I am sorry.· Supplemental

  ·8· · · · initial disclosure.

  ·9· ·BY MR. MAZZOLA:

  10· · · · Q· · We are talking about this set of

  11· ·Interrogatories over here and the statute of

  12· ·limitations.

  13· · · · · · ·If you look at Interrogatory No. 8, do you

  14· ·see that?

  15· · · · A· · Yes.

  16· · · · Q· · And you talk about the plaintiff, that being

  17· ·Benlida, waiting an unreasonably long time to file the

  18· ·late suit, and that defendant's ability to defend the

  19· ·lawsuit have been unduly prejudiced by this

  20· ·unreasonable delay.· Do you see that?

  21· · · · A· · I do.

  22· · · · Q· · And then you provide an answer.· Do you see

  23· ·your answer over there?

  24· · · · A· · Yes.

  25· · · · Q· · And it says, "It appears that plaintiff is


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 83 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       82

  ·1· ·seeking to justify these false claims by asserting that

  ·2· ·the money defendant paid for these invoices was used by

  ·3· ·plaintiff to pay alleged debts from many years ago

  ·4· ·prior to January 19, 2017."

  ·5· · · · · · ·Why did you say that?

  ·6· · · · A· · Because that is what they did.

  ·7· · · · Q· · What did they do?

  ·8· · · · A· · They just -- it's all documentation -- so

  ·9· ·on -- on -- starting December 2016, December 1, 2016,

  10· ·anything shipped in a particular week, we made payments

  11· ·next week and on a regular basis, never exceeding two

  12· ·weeks.· There was master log which was kept where all

  13· ·the invoices, all the shipments they made, was on the

  14· ·left side, all the payments they made on the right

  15· ·side, and -- or payment number on the top.· It was

  16· ·shared between the companies.· So there is no way

  17· ·anybody would be able to convince any finder of fact

  18· ·that these invoices in 2018-2019 were not paid for.

  19· · · · · · ·And once all the documentation is -- once

  20· ·everything is reviewed, you will see that what Benlida

  21· ·did was that they flagged a certain discrepancy in

  22· ·2016, and between 2016, '17, '18, '19 we worked

  23· ·together and addressed those discrepancies.· Some we

  24· ·agreed with them, some they agreed with us, we came up

  25· ·to the numbers and the reconciliation.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 84 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       83

  ·1· · · · · · ·As soon as we showed them that they were in

  ·2· ·all paid position, all of a sudden they started

  ·3· ·bringing up issues from 2011 to 2014, because we

  ·4· ·clearly showed them that we had addressed all the

  ·5· ·issues satisfactory.

  ·6· · · · Q· · So you take objection to them applying

  ·7· ·payments on later invoices to earlier invoices; is that

  ·8· ·what you take objection to?

  ·9· · · · A· · I take objection to three different things.

  10· ·The first thing I take objection to is for the

  11· ·statements for the record being shared starting with

  12· ·December 2016, where week after week we are exchanging

  13· ·the spreadsheets showing the invoices and the payments.

  14· · · · Q· · Are these the reconciliation spreadsheets?

  15· · · · A· · That is a different spreadsheet, different

  16· ·set of spreadsheets.· It's not a different spreadsheet.

  17· ·It's week after week.

  18· · · · Q· · But the reconciliation spreadsheets are

  19· ·accurate, right?

  20· · · · · · ·MR. ROSENTHAL:· Let him answer the question

  21· · · · you asked.

  22· · · · · · ·THE WITNESS:· Then the second thing which we

  23· · · · objected to is when month after month we are

  24· · · · sending these payment details, there is not a

  25· · · · single e-mail from Benlida saying, hey, guys, no,


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 85 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       84

  ·1· · · · no, this money -- whether it's the 86,000 or

  ·2· · · · 101,000 or the 6 million -- do not apply that way.

  ·3· · · · We have applied it this entire -- the entire game

  ·4· · · · they started playing started in 2019 or 2020.

  ·5· ·BY MR. MAZZOLA:

  ·6· · · · Q· · What game was that?

  ·7· · · · A· · Of saying that -- the first time we heard

  ·8· ·that they were applying any of these payments to

  ·9· ·something in 2011, '12, '13, '14 was far, far --

  10· ·actually it may even have been after the lawsuit.          I

  11· ·cannot recollect.· And --

  12· · · · Q· · What is wrong with them applying payments to

  13· ·old unpaid invoices?· Why is that a problem?

  14· · · · A· · So the first thing is that we are clearly on

  15· ·a month-by-month basis showing what we are doing, and

  16· ·they are not objecting to it.· That is number one.

  17· · · · · · ·Number two, you don't wake up one day in 2019

  18· ·and say something is open in 2012 where all the minutes

  19· ·of meetings from 2015, '16, '17, '18, '19 show -- do

  20· ·not show my past due balances.

  21· · · · Q· · So you don't believe there were any past due

  22· ·balances?

  23· · · · A· · There were no past due balances.· They are

  24· ·all fabricated.· And we have given enough opportunity

  25· ·for -- through our statements to show -- through these


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 86 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       85

  ·1· ·statements to show what we were doing.

  ·2· · · · · · ·And the final one is the reconciliation, that

  ·3· ·we gave -- we gave two reconciliations.· First we gave

  ·4· ·one from 2015 to 2019.· They sat on it for a few

  ·5· ·months, and then they came back and said now we need

  ·6· ·stuff from 2011 onwards.

  ·7· · · · Q· · Did you give them a reconciliation going back

  ·8· ·to 2011?

  ·9· · · · A· · To 2012.· And I had -- and then they provided

  10· ·the feedback on that two thousand -- they provided

  11· ·feedback on the reconciliation.· We addressed any

  12· ·errors which we had made on the reconciliation, and we

  13· ·resubmitted it to them addressing all the -- every

  14· ·observation they gave.· And we still demonstrated we

  15· ·were up by $7 million.

  16· · · · Q· · So my question is this.· What is wrong from a

  17· ·business accounting perspective with a business person

  18· ·applying payments to old unpaid invoices?

  19· · · · A· · Two things which are wrong.· The first thing

  20· ·which is wrong -- actually three things which are

  21· ·wrong.· The first one is -- the first thing that is

  22· ·wrong, if it's fabricated, it's wrong.

  23· · · · · · ·The second thing, in 2019 or 2018 you

  24· ·cannot -- 2019 you cannot bring up, hey, you guys have

  25· ·adequately shown us the reconciliation from 2015 to


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 87 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       86

  ·1· ·2019, so now we need to go back to 2012.· In 2019, if

  ·2· ·you apply the statute of limitations, you passed 2012,

  ·3· ·2013, and all of 2014 actually.

  ·4· · · · · · ·But leave that aside.· The most important

  ·5· ·thing is that once we gave the reconciliations, they

  ·6· ·have accepted our reconciliations.· They have accepted

  ·7· ·our -- they flagged certain errors in our

  ·8· ·reconciliations, we corrected those errors, and

  ·9· ·actually what they flagged increased the number, did

  10· ·not decrease what was owed by them to us.

  11· · · · Q· · So you simply just don't believe that those

  12· ·invoices remained unpaid from 2011, '12, '13, '14?

  13· · · · · · ·MR. ROSENTHAL:· Object to the form.

  14· · · · · · ·THE WITNESS:· I don't -- it's not that I

  15· · · · don't believe.· I don't think they believe the

  16· · · · same.

  17· ·BY MR. MAZZOLA:

  18· · · · Q· · But you don't believe it either?

  19· · · · A· · I certainly do not believe it.

  20· · · · Q· · Let me ask you this question.· What does your

  21· ·accounts receivable department do if a customer has got

  22· ·some AR and they pay in to you?· Does your accounts

  23· ·receivable department apply to the oldest invoice or

  24· ·apply to the newest invoice?

  25· · · · A· · GAAP doesn't allow that.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 88 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       87

  ·1· · · · Q· · What does your accountant do?

  ·2· · · · A· · GAAP does not allow that.· You put it into a

  ·3· ·suspense account and you continue to follow up with the

  ·4· ·customer to provide you with a statement of what they

  ·5· ·have paid.· And until the time they provide you with a

  ·6· ·statement, you leave it in the suspension account.

  ·7· ·International accounting rules do not allow you to

  ·8· ·randomly apply invoices wherever you want to apply

  ·9· ·invoices.

  10· · · · Q· · So your people don't do that?

  11· · · · A· · It's not -- it's not allowed by GAAP.

  12· · · · Q· · So your people don't do that; is that what

  13· ·you are telling me?

  14· · · · A· · Yes, yes, they do not do that.

  15· · · · Q· · Yes, they do not do that?

  16· · · · A· · Yes.

  17· · · · Q· · They don't do that?

  18· · · · A· · They do not do that.

  19· · · · Q· · And you don't believe the Benlida people were

  20· ·doing that?

  21· · · · A· · They didn't tell us they were doing, they

  22· ·just fabricated everything for Sinosure, for Sinosure

  23· ·and for China Customs.

  24· · · · Q· · Do you have -- have you ever lied to the Tax

  25· ·Authority or Customs officials?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 89 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       88

  ·1· · · · A· · Never.

  ·2· · · · Q· · Ever lie to your insurer?

  ·3· · · · A· · Never.

  ·4· · · · Q· · Did you ever sugarcoat anything for the

  ·5· ·Customs officials?

  ·6· · · · A· · Never.

  ·7· · · · Q· · What about for your insurance companies --

  ·8· · · · A· · Never.

  ·9· · · · Q· · Who is Ralph Bischoff, B-I-S-C-H-O-F-F?

  10· · · · A· · Ralph Bischoff was a -- Ralph Bischoff used

  11· ·to own 50 percent of a company called EIEMS in India.

  12· · · · Q· · EIEMS, what do they do?

  13· · · · A· · They are in to PCBA, printed circuit board

  14· ·assemblies.

  15· · · · Q· · And his company was called -- what was it?

  16· · · · A· · EIEMS.

  17· · · · Q· · Is he -- are you part owner of that business,

  18· ·or were you ever part owner?

  19· · · · A· · Not me.· My mother bought 50 percent -- 60

  20· ·percent of his ownership stake.

  21· · · · Q· · When did she buy that?

  22· · · · A· · 2017 or 2018.· I have forgotten.

  23· · · · Q· · Did he ever own any of your business?

  24· · · · A· · No.

  25· · · · Q· · She bought 60 percent of it?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 90 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       89

  ·1· · · · A· · She bought -- yes.

  ·2· · · · Q· · How big was his business?

  ·3· · · · A· · Not big.· Small company.

  ·4· · · · Q· · It's a small -- what is a small company?

  ·5· · · · A· · I think today their sales are close to

  ·6· ·$3 million per year.

  ·7· · · · Q· · There was a lot of talk about round trip

  ·8· ·money, that Tracy asked you to send her money and you

  ·9· ·sent her money and then she was to send it back.

  10· · · · · · ·Do you remember those conversations?

  11· · · · A· · I do.

  12· · · · Q· · Do you recall asking Tracy to wire $150,000

  13· ·to Ralph Bischoff?

  14· · · · A· · I was trying to think -- yes, that is what I

  15· ·did.· She still owe me $50,000.· I want my money right

  16· ·now.

  17· · · · Q· · What was the --

  18· · · · · · ·MR. ROSENTHAL:· Let the record reflect he is

  19· · · · smiling.

  20· ·BY MR. MAZZOLA:

  21· · · · Q· · What was the money going to Ralph Bischoff

  22· ·for?

  23· · · · A· · My mother -- my mother must have been using

  24· ·it as a part of transaction.

  25· · · · Q· · Why do it that way?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 91 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       90

  ·1· · · · A· · Why do it in --

  ·2· · · · Q· · Why have Tracy send the money to Ralph

  ·3· ·Bischoff?

  ·4· · · · A· · Tracy asked me to help them where she would

  ·5· ·send money to us, $200,000, and we from Circuitronix

  ·6· ·Hong Kong would send money to ROK so they can clean up

  ·7· ·whatever mess they were in.

  ·8· · · · · · ·So from my side and from my mother's side,

  ·9· ·you can do it in two ways.· The $150,000, which we send

  10· ·to Tracy to ROK, she would have pulled that out as

  11· ·owner's drawing into a personal name and sent it to

  12· ·Ralph Bischoff.

  13· · · · · · ·Or we could help ROK -- Mr. Huang, Douglas

  14· ·and Tracy -- with what they were trying to do, send it

  15· ·to ROK and have Tracy send the money.

  16· · · · · · ·So as long as the transaction is booked

  17· ·properly in terms of the money being withdrawn from

  18· ·Circuitronix Hong Kong as owners drawing, and that is

  19· ·what was done, and that is how it was reflected on our

  20· ·financials.

  21· · · · Q· · That is how you booked it out, owner's draw?

  22· · · · A· · Owner's draw.· It had the same effect.· So it

  23· ·was not -- we did not misrepresent or lie to any tax

  24· ·authority or anything of that sort.· And they did

  25· ·whatever they had to do to clean their mess up.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 92 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       91

  ·1· · · · · · ·MR. MAZZOLA:· Can we take two minutes?

  ·2· · · · · · ·(Thereupon, there is a short break.)

  ·3· ·BY MR. MAZZOLA:

  ·4· · · · Q· · Rishi, we are done with that exhibit.         I

  ·5· ·think Stephen is going to be the -- keep track of them.

  ·6· · · · · · ·MR. ROSENTHAL:· I will.

  ·7· ·BY MR. MAZZOLA:

  ·8· · · · Q· · I think in the binders there is two exhibits

  ·9· ·that were previously marked, Exhibits 68 and 69.

  10· · · · A· · Yes, sir.

  11· · · · Q· · Exhibit 68 is an e-mail stream dated from

  12· ·May 2017.· Do you see that?

  13· · · · A· · Yes.

  14· · · · Q· · And it starts -- the bottom of the thread

  15· ·says, "Please send me a photograph outlining the recap

  16· ·of our discussion on 17 May 2017 on the white board to

  17· ·me"?

  18· · · · A· · Yes.

  19· · · · Q· · Did that meeting happen in China or here in

  20· ·the US?

  21· · · · A· · Based upon my recollection in China.

  22· · · · Q· · And the e-mail thread starts off with you

  23· ·asking for an outline; is that correct?

  24· · · · A· · Meaning we discussed something that was on

  25· ·the white board.· So the handwriting where it says


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 93 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       92

  ·1· ·AMS 60 days and everything on the right side is my

  ·2· ·handwriting, and the main handwriting is Tracy's

  ·3· ·handwriting.

  ·4· · · · Q· · The -- you talked earlier about these

  ·5· ·meetings you would have a lot.· Is this white board

  ·6· ·a -- how would I call this -- a recap or memo of the

  ·7· ·meeting that you guys had somewhere around 17 May 2017?

  ·8· · · · A· · That should be correct.

  ·9· · · · Q· · And this was sent to you.· Did you ever

  10· ·respond to this e-mail when you received it, Rishi?

  11· · · · A· · No, I did not.

  12· · · · Q· · I presume you read it, right?

  13· · · · A· · Absolutely I read it.

  14· · · · Q· · I presume you would have reviewed the

  15· ·photograph?

  16· · · · A· · Absolutely I did.

  17· · · · Q· · And I presume if you had taken any exception,

  18· ·you would have responded to Tracy, right?

  19· · · · A· · Absolutely I would.

  20· · · · Q· · Let's look at Exhibit 69.· This one is a

  21· ·similar setup.· It's an e-mail addressed to you.

  22· · · · A· · Yes.

  23· · · · Q· · And then on the back of it is a photograph.

  24· ·Do you see the photograph?

  25· · · · A· · Yes.


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 94 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       93

  ·1· · · · Q· · Another white board.· And it starts off with,

  ·2· ·"For the number we found out in our last meeting in

  ·3· ·CTX, did CTX revise the books?· What is the payable

  ·4· ·number to Benlida/ROK now in CTX's books?· Please share

  ·5· ·more details to us."

  ·6· · · · · · ·Did you respond to that e-mail?

  ·7· · · · A· · I cannot recollect.

  ·8· · · · Q· · Is this -- when she refers to our last

  ·9· ·meeting in CTX March 2018, were you present at that

  10· ·meeting?

  11· · · · A· · I was.

  12· · · · Q· · That was a meeting at your offices here in

  13· ·Florida, right?

  14· · · · A· · Yes.

  15· · · · Q· · When you look at the photograph in the next

  16· ·page, white board, whose handwriting is that?

  17· · · · A· · Tracy's.

  18· · · · Q· · There is a black column and a blue column of

  19· ·writing; do you see that?

  20· · · · A· · Yes.

  21· · · · Q· · The black column looks like it's -- it

  22· ·represents -- talks about money.· Looks like moneys

  23· ·owed.· Is that what it is?

  24· · · · A· · Yes.

  25· · · · Q· · And then the other side, the right side, the


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 95 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       94

  ·1· ·blue side, has BLD/ROK books; do you see that?

  ·2· · · · A· · Yes.

  ·3· · · · Q· · The left side is your books, CTX books; is

  ·4· ·that right?

  ·5· · · · A· · Yes.

  ·6· · · · Q· · And the right side is BLD/ROK books?

  ·7· · · · A· · Yes.

  ·8· · · · Q· · And below it has sub.· What does that mean at

  ·9· ·the bottom?

  10· · · · A· · What does sub mean?· I cannot recollect, but

  11· ·it's some sort of total or something.· I don't know.

  12· · · · Q· · It says 4.124 million.· Do you know what that

  13· ·total is?

  14· · · · A· · I do not.· I do not, but --

  15· · · · Q· · Do you see on the blue column it says

  16· ·4.625 million?

  17· · · · A· · Yes.

  18· · · · Q· · Do you recall those totals being moneys that

  19· ·were owed to Benlida?

  20· · · · A· · I cannot recollect.· I am not able to

  21· ·recollect, but all I can say with certainty is that

  22· ·both these documents go against your case completely.

  23· · · · Q· · That is fine.· It's not for me to decide.

  24· · · · A· · But I cannot recollect.· That is fine.

  25· · · · Q· · So you don't recollect?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 96 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       95

  ·1· · · · · · ·MR. ROSENTHAL:· Object to the form.

  ·2· · · · · · ·THE WITNESS:· So --

  ·3· · · · · · ·MR. ROSENTHAL:· Just objection, asked and

  ·4· · · · answered.· I am saying as to the form, because we

  ·5· · · · typically do that in Florida practice, which means

  ·6· · · · anything having to do --

  ·7· · · · · · ·MR. MAZZOLA:· I will live and die by my

  ·8· · · · question.

  ·9· · · · · · ·MR. ROSENTHAL:· I just don't want to do

  10· · · · speaking objections, I would rather just say asked

  11· · · · and answered if that is okay.

  12· · · · · · ·MR. MAZZOLA:· That is fine.

  13· ·BY MR. MAZZOLA:

  14· · · · Q· · You can answer again.

  15· · · · A· · There is some part of this which I am

  16· ·completely aware of, but there is some parts which I am

  17· ·not.· But, again, all in all -- these numbers do not

  18· ·sound unreasonable to me.· Let's put it this way.

  19· · · · Q· · And Tracy does ask you what is the payable

  20· ·number to Benlida ROK now in CTX's books?· Did you

  21· ·respond to this e-mail?

  22· · · · A· · I gave her a complete reconciliation.

  23· · · · Q· · And that would have been the response?

  24· · · · A· · Yes.

  25· · · · Q· · Did you understand Tracy to be trying to


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 97 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       96

  ·1· ·understand what she believed was owed to her?

  ·2· · · · A· · Yes.

  ·3· · · · Q· · And you gave her a reconciliation.· Would

  ·4· ·that have been a reconciliation done about July 2019?

  ·5· · · · A· · I cannot recollect the date, but some -- we

  ·6· ·worked on a reconciliation and gave a complete

  ·7· ·reconciliation.

  ·8· · · · Q· · Let's look at a reconciliation.

  ·9· · · · · · ·(Thereupon, Deposition Exhibit No. 115

  10· · · · · · · is marked for identification.)

  11· ·BY MR. MAZZOLA:

  12· · · · Q· · Rishi, that is a document we just marked

  13· ·as --

  14· · · · · · ·MR. ROSENTHAL:· Are you going to give us a

  15· · · · copy?

  16· · · · · · ·MR. MAZZOLA:· Yes.

  17· ·BY MR. MAZZOLA:

  18· · · · Q· · Do you see this e-mail thread, Rishi?

  19· · · · A· · Yes.

  20· · · · Q· · It's dated May 22, 2019.

  21· · · · A· · May I have the attachment?

  22· · · · Q· · I don't have the attachments.· But you have

  23· ·the document in front of you, right?

  24· · · · A· · Sure.

  25· · · · Q· · That is what I am using.· This is an e-mail,


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 98 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       97

  ·1· ·and when you refer to reconciliations --

  ·2· · · · A· · That is not what I am referring to.

  ·3· · · · Q· · What are you referring to?· Can you describe

  ·4· ·it to me.

  ·5· · · · A· · So this reconciliation, which is what you are

  ·6· ·seeing, Benlida and us, we put a system in place where

  ·7· ·starting I think 2016 -- definitely 2017 -- like,

  ·8· ·whatever was shipped in March, by the following month

  ·9· ·we would reconcile to any pricing discrepancy, any

  10· ·quantity discrepancy.· So this is just one month.

  11· · · · Q· · That is right.

  12· · · · A· · So you would have -- you should have 12, 24,

  13· ·36 -- between 36 to 48 months of reconciliation like

  14· ·this, which the reconciliation I gave was a complete

  15· ·master reconciliation from 2015 to 2019 which basically

  16· ·listed the moneys we believed Benlida owed Circuitronix

  17· ·LLC.

  18· · · · Q· · That was sometime in July of 2019, right?

  19· · · · · · ·MR. ROSENTHAL:· Objection, asked and

  20· · · · answered.

  21· · · · · · ·THE WITNESS:· I cannot recollect.· You will

  22· · · · have to show me something.

  23· ·BY MR. MAZZOLA:

  24· · · · Q· · But it would have a final payment

  25· ·reconciliation?


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Case 0:21-cv-60125-RNS Document 203-3Rishi
                                      Entered on FLSD Docket 08/22/2023 Page 99 of
                                            Kukreja
                                      309 01, 2023
                                     June                                       98

  ·1· · · · A· · If you show me the document, I will confirm

  ·2· ·if that is the one.

  ·3· · · · Q· · In any event, what you are saying is that

  ·4· ·this document, No. 115, down at the bottom it says,

  ·5· ·"Please find attached statement reconciliation for

  ·6· ·April 2019 invoices," this would just be one of many

  ·7· ·reconciliations done on a monthly basis, right?

  ·8· · · · A· · Yes.

  ·9· · · · Q· · Now, these reconciliations, they would have

  10· ·been done by who?

  11· · · · A· · So by this time the process had been really

  12· ·streamlined.· We had one of our employees who was

  13· ·actually sitting in the -- in Benlida, and any time a

  14· ·shipment left she would first verify the quantities and

  15· ·prices and everything else, and then for the entire

  16· ·month we would do the reconciliation -- Chu Kwok Wai

  17· ·would do it for Hong Kong and Melanie and Nicole would

  18· ·do it for -- or Paul -- would do for the US, for the

  19· ·LLC.

  20· · · · Q· · How many employees did you have at Benlida?

  21· · · · A· · We had one person in accounting.

  22· · · · Q· · Was that Chu Kwok --

  23· · · · A· · No, Chu Kwok Wai was based in Hong Kong.

  24· · · · Q· · At CTX Hong Kong?

  25· · · · A· · Yes.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 100 of
                                       309 01, 2023
                                      June                                        99

  ·1· · · · Q· · Paul Silodor was here in the US?

  ·2· · · · A· · Yes.

  ·3· · · · Q· · And this was a good team, right?

  ·4· · · · A· · I believe that we have a good team.

  ·5· · · · Q· · And the work they did was correct and

  ·6· ·accurate?

  ·7· · · · A· · Within what could be expected of a human

  ·8· ·being, yes.

  ·9· · · · Q· · Do you see, if you move up the e-mail thread,

  10· ·Tracy is writing back?

  11· · · · A· · What am I looking at?

  12· · · · Q· · Middle of the page.

  13· · · · A· · I don't think it's Tracy, it's Ms. Chen.

  14· · · · Q· · Ms. Chen is writing back, correct?

  15· · · · A· · Yes.

  16· · · · Q· · She is writing something is defective?· Do

  17· ·you know what she was referring to?

  18· · · · A· · Yes.

  19· · · · Q· · What is she referring to?

  20· · · · A· · I don't know the nitty-gritty of things.

  21· ·There must be some discrepancy.· There was -- it looks

  22· ·like there was a discrepancy in the March invoice.

  23· ·So -- and then she flagged something in an April

  24· ·invoice.

  25· · · · Q· · So Ms. Chen is clearly reviewing the


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 101 of
                                       309 01, 2023
                                      June                                      100

  ·1· ·reconciliations, right?

  ·2· · · · A· · Yes.

  ·3· · · · Q· · And Ms. Chen is pointing out, as you can see

  ·4· ·in this e-mail, things that she views to be a

  ·5· ·discrepancy, right?

  ·6· · · · A· · Yes.· Part of the reconciliation process.

  ·7· · · · Q· · This Benlida statement reconciliation, the

  ·8· ·one from April 2019, you see down below at the bottom

  ·9· ·it's the subject.· When the reconciliations were done

  10· ·in 2019 and prior, did they include CTX Hong Kong?

  11· · · · A· · You would have to show me the attachments --

  12· ·if you show me the attachment, I will be able to -- to

  13· ·comment on it.· Without the attachment, I cannot.

  14· · · · Q· · Why did -- I am looking at these e-mails.            I

  15· ·am seeing a lot of people from Hong Kong and people

  16· ·from the US side all on the same e-mail.· Why was that?

  17· · · · A· · For the benefit of Benlida, because they were

  18· ·sending invoices and statements to the wrong parties.

  19· ·So what we actually did was at some point in time we

  20· ·actually made it simpler, we just put accountreceivable

  21· ·and accountspayable@Circuitronix.com, and there were

  22· ·lots of people who were in that -- and then our Hong

  23· ·Kong people would pull up what is relevant for them and

  24· ·the US people would pull up what is relevant for them.

  25· ·Because a lot of confusion was coming because they


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 102 of
                                       309 01, 2023
                                      June                                      101

  ·1· ·would send information to the wrong e-mail or something

  ·2· ·of that sort.

  ·3· · · · Q· · And you are also saying -- I think, I want to

  ·4· ·clarify -- are you saying that Benlida was sending

  ·5· ·invoices that should have been going to Hong Kong to

  ·6· ·the US?

  ·7· · · · A· · So they were sending invoices in error in a

  ·8· ·group of, like, 20 invoices which were being sent to

  ·9· ·the US, there would be one invoice included for Hong

  10· ·Kong.· When you would follow up what is the reason,

  11· ·they would immediately flag an error.· And it happened

  12· ·a few times.· So we resolved it and came up with these

  13· ·global e-mail IDs.

  14· · · · Q· · At some point CTX US had agreed to guarantee

  15· ·all of Circuitronix Hong Kong's debts and liabilities.

  16· ·Do you remember that?

  17· · · · · · ·MR. ROSENTHAL:· Objection.

  18· · · · · · ·THE WITNESS:· Absolutely wrong.

  19· ·BY MR. MAZZOLA:

  20· · · · Q· · That is not right?

  21· · · · A· · Not right.

  22· · · · Q· · Do you remember the -- do you remember the

  23· ·Business Authorization?

  24· · · · A· · Absolutely I do.

  25· · · · Q· · What do you remember about that?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 103 of
                                       309 01, 2023
                                      June                                      102

  ·1· · · · A· · If you can show me the Business Authorization

  ·2· ·I will be able to --

  ·3· · · · Q· · It's exhibit 27.

  ·4· · · · A· · "For the purposes of our company's business,

  ·5· ·Circuitronix LLC hereby authorizes Circuitronix Hong

  ·6· ·Kong Limited to place orders to your company on our

  ·7· ·behalf.· Circuitronix LLC assumes all of Circuitronix

  ·8· ·Limited's debts due to these orders."

  ·9· · · · · · ·There were three types of orders which we

  10· ·were placing with Benlida.· Circuitronix LLC was

  11· ·placing orders for Circuitronix LLC's requirements.

  12· · · · Q· · Hold on.· Okay, so Circuitronix LLC was

  13· ·placing orders on its own behalf?

  14· · · · A· · Yes.· Circuitronix Hong Kong was placing

  15· ·orders --

  16· · · · Q· · Let me guess, on behalf of CTX LLC?

  17· · · · A· · Circuitronix Hong Kong.

  18· · · · · · ·MR. ROSENTHAL:· Why don't you just let him

  19· · · · answer.

  20· · · · · · ·MR. MAZZOLA:· I think I know where he is

  21· · · · going.

  22· · · · · · ·MR. ROSENTHAL:· But you didn't.

  23· ·BY MR. MAZZOLA:

  24· · · · Q· · On its own behalf?

  25· · · · A· · Yes.· And then there was these orders,


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 104 of
                                       309 01, 2023
                                      June                                      103

  ·1· ·Circuitronix LLC orders, which required some sort of

  ·2· ·secondary operation in China.· As an example, their

  ·3· ·boards which required PTF, so Circuitronix Benlida was

  ·4· ·expected to build the boards and ship it to a PTF

  ·5· ·subcontractor.

  ·6· · · · Q· · Who was expected to build the boards and ship

  ·7· ·it to the subcontractor?

  ·8· · · · A· · Benlida was expected.

  ·9· · · · Q· · To build and ship to subcontractor for

  10· ·additional work?

  11· · · · A· · Yes.· But the subcontractor was not their

  12· ·subcontractor, it was a Circuitronix subcontractor.

  13· · · · · · ·So initially what was decided was for those

  14· ·specific orders, Circuitronix LLC would place the

  15· ·purchase order in Benlida, Benlida -- Circuitronix Hong

  16· ·Kong -- Benlida would ship those boards to Circuitronix

  17· ·Hong Kong.

  18· · · · · · ·So the order for that -- for that specific

  19· ·was supposed to come from two places, because --

  20· ·because the boards, when they were released to a

  21· ·subcontractor -- let's assume a hundred thousand

  22· ·dollars worth of boards were released to our

  23· ·subcontractor -- if something got lost, those boards

  24· ·got lost, Benlida wanted a way to get -- be made whole

  25· ·for those boards.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 105 of
                                       309 01, 2023
                                      June                                      104

  ·1· · · · · · ·And so -- because it was our subcontractor.

  ·2· ·They were not working with that subcontractor.· So

  ·3· ·there was -- this was put in place that Circuitronix --

  ·4· ·since those boards were being consigned to Circuitronix

  ·5· ·Hong Kong, if those boards got lost before being

  ·6· ·returned to Benlida, we would be responsible for

  ·7· ·Circuitronix Hong Kong's debt on those boards.

  ·8· · · · Q· · I am sorry, Rishi.· You are an awesome

  ·9· ·witness.· I have deposed thousands of witnesses, but

  10· ·that is barely passing the straight face test for me.

  11· · · · · · ·MR. ROSENTHAL:· Objection.

  12· ·BY MR. MAZZOLA:

  13· · · · Q· · Can you explain where it says that on this

  14· ·document, Exhibit 27?

  15· · · · A· · That is what it says, that for specific

  16· ·orders -- so Circuitronix Hong Kong never placed orders

  17· ·for Circuitronix LLC.· Circuitronix Hong Kong placed

  18· ·orders for Circuitronix Hong Kong; Circuitronix LLC

  19· ·placed orders for Circuitronix LLC; and in those

  20· ·specific cases Circuitronix Hong Kong placed orders for

  21· ·Circuitronix LLC for those specific cases.

  22· · · · Q· · Were the invoices different?· Were the

  23· ·purchase orders different?

  24· · · · · · ·Let's start the first time.· Were the

  25· ·purchase orders different?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 106 of
                                       309 01, 2023
                                      June                                      105

  ·1· · · · A· · Were the --

  ·2· · · · Q· · Could I find a purchase order that fit into

  ·3· ·this square peg that you are creating?

  ·4· · · · · · ·MR. ROSENTHAL:· Objection.

  ·5· · · · · · ·THE WITNESS:· So if there were purchase

  ·6· · · · orders which were being placed, there would not be

  ·7· · · · those purchase orders, then we do not need to have

  ·8· · · · this Business Authorization.

  ·9· · · · · · ·At some point -- so Circuitronix LLC shipped

  10· · · · a hundred thousand pieces to -- Circuitronix LLC

  11· · · · built -- placed a PO for a hundred thousand pieces

  12· · · · to Benlida.

  13· ·BY MR. MAZZOLA:

  14· · · · Q· · LLC -- CTX LLC places a hundred thousand

  15· ·order to Benlida?

  16· · · · A· · Benlida build the hundred thousand pieces and

  17· ·gave it to Circuitronix Hong Kong.· Circuitronix Hong

  18· ·Kong coordinated the PTF process with the third-party

  19· ·contractor.· They released the hundred thousand pieces,

  20· ·shipped the hundred thousand pieces back to Benlida.

  21· ·Benlida finished the last step of wash and packaging

  22· ·and shipped the boards to us.

  23· · · · · · ·This Business Authorization letter is

  24· ·specifically for if something happened to those boards

  25· ·when it went to Circuitronix Hong Kong and the PTF


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 107 of
                                       309 01, 2023
                                      June                                      106

  ·1· ·process, because if the boards got lost in that entire

  ·2· ·process, Circuitronix Benlida would not be paid for

  ·3· ·them.

  ·4· · · · Q· · That is what it says?

  ·5· · · · A· · That is what this is for.· Because until

  ·6· ·today -- if by chance Circuitronix Hong Kong was

  ·7· ·placing orders from Circuitronix LLC, that means

  ·8· ·Circuitronix Hong Kong would need to be selling stuff

  ·9· ·to Circuitronix LLC.· They never sold stuff to

  10· ·Circuitronix LLC.

  11· · · · · · ·The transaction is Circuitronix Hong Kong to

  12· ·Benlida, Benlida ships the board to Circuitronix Hong

  13· ·Kong, and Circuitronix Hong Kong to their customers.

  14· ·Similar to Circuitronix LLC to Benlida, Benlida ships

  15· ·the boards to Circuitronix LLC, and the board ships to

  16· ·the customers.

  17· · · · Q· · So this Business Authorization you are saying

  18· ·is for that narrow scenario?

  19· · · · A· · Because Circuitronix Hong Kong never placed

  20· ·orders for Circuitronix LLC.· Never, ever placed orders

  21· ·for Circuitronix LLC.

  22· · · · Q· · So -- I want to understand though.· Could I

  23· ·find a purchase order that fits this narrow scenario

  24· ·whereby this Business Authorization would apply?

  25· · · · A· · I believe that if you speak with your client,


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 108 of
                                       309 01, 2023
                                      June                                      107

  ·1· ·she will be able to tell you about what I have just

  ·2· ·said, about boards shipping to the PTF -- to the PTF

  ·3· ·subcontractor.· They never paid the PTF subcontractor.

  ·4· ·Circuitronix managed the PTF subcontractor.

  ·5· · · · · · ·The boards would reach -- you will see

  ·6· ·several e-mails on record where they complained that

  ·7· ·the PTF subcontractor is not returning the boards back

  ·8· ·to them on time.· You will see several e-mails where

  ·9· ·they are concerned -- when Benlida gives hundred

  10· ·thousand pieces to the PTF subcontractor, the PTF

  11· ·subcontractor, when they finish whatever they do, they

  12· ·may return 99,500 pieces and 500 may get scrapped at

  13· ·their end.· Who is going to be responsible for the 500?

  14· ·So there is discussion about that.

  15· · · · · · ·So, yes, there is a complete line of

  16· ·questioning associated with that.· There is a complete

  17· ·line of transactions for which there is documentation.

  18· · · · Q· · Associated with that aspect of it?

  19· · · · A· · Yes.

  20· · · · Q· · Why was that never reduced to this agreement?

  21· · · · · · ·MR. ROSENTHAL:· Why was what?

  22· ·BY MR. MAZZOLA:

  23· · · · Q· · Why was that language never introduced into

  24· ·this agreement?

  25· · · · A· · Because at the end of the day it was that


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 109 of
                                       309 01, 2023
                                      June                                      108

  ·1· ·situation.· There were other situations which were

  ·2· ·being contemplated where, say, Kinwong would build

  ·3· ·boards -- and it actually happened sometime in the

  ·4· ·future after 2014 -- Kinwong would build boards and

  ·5· ·ship it to Benlida for OSP or immersion tin.

  ·6· · · · · · ·And so that -- in that situation also

  ·7· ·Circuitronix Hong Kong was doing certain transactions

  ·8· ·for Circuitronix LLC, but it's a very limited scope

  ·9· ·of -- Circuitronix Hong Kong never placed orders for

  10· ·Circuitronix LLC.· Simple and straight.· Never.

  11· · · · Q· · The orders are only placed for Circuitronix

  12· ·Hong Kong?

  13· · · · A· · Circuitronix Hong Kong.· Every board

  14· ·Circuitronix Hong Kong got from Benlida went to

  15· ·Circuitronix Hong Kong customers, besides this narrow

  16· ·set of three, four, five transaction part numbers

  17· ·where --

  18· · · · Q· · Didn't every board that was produced by

  19· ·Benlida go to clear it's way through Circuitronix Hong

  20· ·Kong?

  21· · · · A· · So every board either went to a warehouse

  22· ·which was owned by Circuitronix Hong Kong or a

  23· ·third-party warehouse which was not owned by us but we

  24· ·subcontracted.

  25· · · · Q· · But it all went to Hong Kong?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 110 of
                                       309 01, 2023
                                      June                                      109

  ·1· · · · A· · Because according to China Customs law it has

  ·2· ·to transit out of the country.· That is right.· And our

  ·3· ·terms with Benlida were FOB or FCE Hong Kong.· So we

  ·4· ·were the ones responsible for moving the product from

  ·5· ·Hong Kong to our customers either -- in the US.

  ·6· · · · Q· · So you are telling me that there would be an

  ·7· ·e-mail thread, or various e-mails treads, that discuss

  ·8· ·your understanding of this agreement?

  ·9· · · · A· · Not really.· There would be e-mail thread --

  10· ·there should be some e-mail treads for sure, but mostly

  11· ·e-mail threads would show the orders which apply to a

  12· ·transaction like this.

  13· · · · Q· · Did you ever hear or understand that Benlida

  14· ·interpreted this as being a Business Authorization

  15· ·whereby Circuitronix LLC would guarantee and pay the

  16· ·debts of Circuitronix Hong Kong?

  17· · · · A· · I heard about it not -- I heard about it at

  18· ·some point in time in 2017 or 2018 when they asked me

  19· ·to sign another authorization agreement, and I refused

  20· ·to sign it.

  21· · · · Q· · Did you disavow them of that statement in

  22· ·2017?

  23· · · · · · ·MR. ROSENTHAL:· What statement?

  24· · · · · · ·MR. MAZZOLA:· Disabuse?· Disabuse.

  25


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 111 of
                                       309 01, 2023
                                      June                                      110

  ·1· ·BY MR. MAZZOLA:

  ·2· · · · Q· · Did you disabuse them of that belief in 2017?

  ·3· · · · A· · Yes, by not signing it, by saying that

  ·4· ·Circuitronix Hong Kong would not responsible --

  ·5· ·Circuitronix LLC is not responsible for Circuitronix

  ·6· ·Hong Kong's debts.

  ·7· · · · Q· · And that is the position you maintain today,

  ·8· ·right?

  ·9· · · · A· · That is the position I maintain today.

  10· · · · Q· · Has CTX USA ever paid a debt on behalf of CTX

  11· ·Hong Kong?

  12· · · · A· · Specific to?

  13· · · · Q· · Benlida or anyone.

  14· · · · A· · Has CTX USA paid a debt to -- I do not think

  15· ·so.· I believe that Circuitronix -- I do not think so.

  16· · · · · · ·There were one or two wires with Circuitronix

  17· ·which Benlida applied -- there were one or two wires

  18· ·which Circuitronix -- which Benlida received from

  19· ·Circuitronix LLC and applied to Hong Kong, and then at

  20· ·some point in time when corrected it.

  21· · · · Q· · What about the other way; any instance where

  22· ·Circuitronix Hong Kong was paying the debt of CTX LLC,

  23· ·the US operation?

  24· · · · A· · So let's, again, start off by saying that

  25· ·there were certain transactions -- like let's talk


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 112 of
                                       309 01, 2023
                                      June                                      111

  ·1· ·about the investment in the immersion tin line or the

  ·2· ·OSP payment.

  ·3· · · · · · ·Benlida requested for all the money to come

  ·4· ·from -- to ROK.· Some of those moneys were moneys owed

  ·5· ·by Circuitronix LLC.· So if Circuitronix -- were owed

  ·6· ·by Circuitronix LLC and some of those moneys were owed

  ·7· ·by Circuitronix Hong Kong.· So let's assume that entire

  ·8· ·wire went from Circuitronix LLC --

  ·9· · · · Q· · So that would be an example of Circuitronix

  10· ·LLC paying the debt of Circuitronix Hong Kong?

  11· · · · A· · But shortly after that, Circuitronix Hong

  12· ·Kong would pay their share by paying something -- let's

  13· ·assume the OSP payment was hundred thousand dollars;

  14· ·$75,000 was for Circuitronix Hong Kong, $25,000 for

  15· ·Circuitronix LLC.· The money went from Circuitronix

  16· ·LLC, because they wanted a hundred thousand dollars.

  17· ·Then there is a possibility that $75,000 was applied --

  18· ·Circuitronix Hong Kong made a payment for $75,000 on

  19· ·behalf of Circuitronix LLC to balance the books out.

  20· ·But it was very seldom.· It hardly happened.

  21· · · · Q· · It sounds to me, though, like what you are

  22· ·saying is there are examples where Circuitronix LLC

  23· ·would pay a debt owed -- an amount owed, whether you

  24· ·call it a debt or not -- an amount owed to Benlida or

  25· ·ROK for US invoices and Hong Kong invoices; is that


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 113 of
                                       309 01, 2023
                                      June                                      112

  ·1· ·correct?

  ·2· · · · A· · Not for any invoices.· Not for any invoices.

  ·3· ·For any --

  ·4· · · · Q· · Let's do this --

  ·5· · · · · · ·MR. ROSENTHAL:· Let him finish his answer.

  ·6· · · · · · ·MR. MAZZOLA:· He can finish it, but let me

  ·7· · · · put him out of his misery though.· My misery.

  ·8· ·BY MR. MAZZOLA:

  ·9· · · · Q· · Go ahead.· Continue.

  10· · · · A· · Not for any invoices.· At the end of the day,

  11· ·they could be -- it was never for parts, it was for

  12· ·something like investment in the immersion tin line or

  13· ·OSP or something of that sort.

  14· · · · Q· · Okay.· Well, this is why I do use documents

  15· ·sometimes.

  16· · · · · · ·MR. ROSENTHAL:· Is this going to be 116?

  17· · · · · · ·MR. MAZZOLA:· Yeah, 116.· I don't have the

  18· · · · e-mail chain.· I probably did, but I decided it

  19· · · · wasn't interesting enough.

  20· · · · · · ·(Thereupon, Deposition Exhibit No. 116

  21· · · · · · · is marked for identification.)

  22· ·BY MR. MAZZOLA:

  23· · · · Q· · This is a payment detail.· Do you see this?

  24· · · · A· · Yes.

  25· · · · Q· · It's an exhibit marked 116.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 114 of
                                       309 01, 2023
                                      June                                      113

  ·1· · · · A· · Yes.

  ·2· · · · Q· · Now, I learned earlier on today that when it

  ·3· ·says from Circuitronix LLC, that means Circuitronix US

  ·4· ·operation, right?

  ·5· · · · A· · That is correct.

  ·6· · · · Q· · And ROK, that is a Benlida business, right?

  ·7· ·It's a Mr. Huang business?

  ·8· · · · A· · It's not a Benlida business, it's a separate

  ·9· ·business.

  10· · · · Q· · But it's a Mr. Huang business, right?

  11· · · · A· · Yes.· ROK is a signatory to the Manufacturing

  12· ·Agreement.

  13· · · · Q· · They are a signatory to the Manufacturing

  14· ·Agreement, right?

  15· · · · A· · So different entity but --

  16· · · · Q· · I am holding up Exhibit 21.· They are a

  17· ·signatory to this agreement, right?

  18· · · · A· · Sure.· If we thought they were one, we would

  19· ·not split them up.· Similarly, if we thought

  20· ·Circuitronix LLC and Circuitronix Hong Kong were one,

  21· ·we would not add the secondary agreement.

  22· · · · Q· · I am just saying, here is an example, right?

  23· · · · A· · Sure.

  24· · · · Q· · It's in 2016, right?· And it looks to me like

  25· ·it's an example of Circuitronix LLC paying a Hong Kong


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 115 of
                                       309 01, 2023
                                      June                                      114

  ·1· ·invoice; am I correct?

  ·2· · · · A· · ROK's Hong Kong invoice, not Benlida's Hong

  ·3· ·Kong invoice.· There's a difference.

  ·4· · · · Q· · Are they paying a Hong Kong invoice?

  ·5· · · · A· · ROK's invoice, not Benlida's.· There is a

  ·6· ·difference.

  ·7· · · · Q· · What is the difference?

  ·8· · · · A· · The -- right at the beginning when

  ·9· ·Mr. Huang -- when Douglas started -- or Mr. Huang

  10· ·started ROK, they requested specifically for ROK -- so

  11· ·they can get concessions from the Chinese government

  12· ·because it was a start-up -- that all the payments

  13· ·should come from the US specifically for ROK.

  14· · · · · · ·You will not see this in the case of Benlida.

  15· ·You cannot turn around and combine Business

  16· ·Authorization letter to Jiangmen Benlida and put that

  17· ·for ROK.

  18· · · · Q· · But this is an example of a payment on behalf

  19· ·of CTX Hong Kong coming through the US; is that

  20· ·correct?

  21· · · · A· · For ROK.

  22· · · · Q· · I don't care who it's being made on behalf

  23· ·of.· Is that correct?

  24· · · · A· · It's correct for ROK.

  25· · · · Q· · If I went through all of the payment details


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 116 of
                                       309 01, 2023
                                      June                                      115

  ·1· ·like this, would I find other examples of Circuitronix

  ·2· ·LLC paying something -- I don't care who it's going

  ·3· ·to -- paying something on behalf of CTX Hong Kong?

  ·4· ·Would I see other examples?

  ·5· · · · A· · You may for ROK, yes.

  ·6· · · · Q· · For ROK, right?· How would I know it's for

  ·7· ·ROK?· Because it would say it, right?

  ·8· · · · A· · Yes, sir.

  ·9· · · · · · ·MR. ROSENTHAL:· Objection to form.

  10· ·BY MR. MAZZOLA:

  11· · · · Q· · We were talking about instances of CTX USA

  12· ·paying on behalf of CTX Hong Kong.· What I am trying to

  13· ·understand is if that ever happened -- and we went over

  14· ·the one example which you say was limited to the ROK

  15· ·scenario --

  16· · · · A· · I think you stated that incorrect.

  17· · · · Q· · Correct me please?

  18· · · · A· · I told you that for payments like where --

  19· ·for payments like OSP and investment into immersion tin

  20· ·lines -- if by chance one company paid those amounts

  21· ·which were not part related, a certain portion was owed

  22· ·by the other company, and to -- if -- I gave the

  23· ·example that if by chance there is $200,000 was paid

  24· ·for the immersion tin line, and it was decided that a

  25· ·hundred thousand is going to be taken by Circuitronix


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 117 of
                                       309 01, 2023
                                      June                                      116

  ·1· ·Hong Kong and a hundred thousand by Circuitronix LLC,

  ·2· ·and the payment went from Circuitronix LLC, then

  ·3· ·Circuitronix Hong Kong would pay hundred thousand of

  ·4· ·Circuitronix LLC's invoices.

  ·5· · · · Q· · I understand.· But we also just went over the

  ·6· ·other example --

  ·7· · · · A· · That is ROK.· That is different.

  ·8· · · · Q· · Okay.· I am trying to understand this

  ·9· ·document.· This is why I have been scratching my head

  10· ·over here.

  11· · · · · · ·(Thereupon, Deposition Exhibit No. 117

  12· · · · · · · is marked for identification.)

  13· ·BY MR. MAZZOLA:

  14· · · · Q· · This is an e-mail we marked as Exhibit 117.

  15· ·Do you see this e-mail from 2016?· It's from Jim Cho.

  16· ·Do you see that?

  17· · · · A· · I do.

  18· · · · Q· · Jim is in Circuitronix Hong Kong, right?

  19· · · · A· · Yes.

  20· · · · Q· · And it talks about payment details.· See how

  21· ·it says payment details for Benlida, and it has the CTX

  22· ·Hong Kong on it?· Do you see that?

  23· · · · A· · Yes.

  24· · · · Q· · "Dear Tracy:· Attached are the CTX Hong Kong

  25· ·payment details for your info and our payment records


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 118 of
                                       309 01, 2023
                                      June                                      117

  ·1· ·as below.· Thank you."

  ·2· · · · · · ·And there is two payments; do you see that?

  ·3· ·It says approved?

  ·4· · · · A· · Yes.

  ·5· · · · Q· · There is two payments.· There is a Citibank

  ·6· ·payment, which I understand to be the CTX US account?

  ·7· · · · A· · Yes.

  ·8· · · · Q· · And there is an HSBC payment, which I

  ·9· ·understand to be the Hong Kong account?

  10· · · · A· · Hong Kong also has a Citibank account.

  11· · · · · · ·MR. ROSENTHAL:· Where are you pointing about

  12· · · · the HSB --

  13· · · · · · ·MR. LERNER:· Middle.

  14· ·BY MR. MAZZOLA:

  15· · · · Q· · Hong Kong may have a Citibank?

  16· · · · A· · Not may have, has.

  17· · · · Q· · Okay, they have.· And if they have, that

  18· ·would make my next question a lot more difficult, but

  19· ·it's not so difficult because it does say in a

  20· ·parenthetical that CTX pay on behalf of CTX Hong Kong.

  21· ·What does that mean?

  22· · · · · · ·MR. ROSENTHAL:· Object to form.

  23· · · · · · ·THE WITNESS:· So I need to go back and look

  24· · · · at the records, but it could fall in the category

  25· · · · of payments which I have just spoken to you about.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 119 of
                                       309 01, 2023
                                      June                                      118

  ·1· · · · That is number one.· Or number two is whether

  ·2· · · · subsequently this was an error and it was

  ·3· · · · corrected in subsequent statements.· So those two

  ·4· · · · possibilities.

  ·5· ·BY MR. MAZZOLA:

  ·6· · · · Q· · And the third possibility is that perhaps CTX

  ·7· ·just paid something on behalf of CTX Hong Kong?

  ·8· · · · A· · Not possible.

  ·9· · · · Q· · Not possible.· Any other possibilities?

  10· · · · A· · I have given you the information which I have

  11· ·here.

  12· · · · Q· · Well --

  13· · · · A· · I don't even see the payment details for

  14· ·Circuitronix, the 90,000 attached.· So I will have to

  15· ·go back and look into what that was.

  16· · · · · · ·MR. MAZZOLA:· Maybe this will help.

  17· · · · · · ·(Thereupon, Deposition Exhibit No. 118

  18· · · · · · · is marked for identification.)

  19· · · · · · ·MR. ROSENTHAL:· Would you mind putting

  20· · · · exhibits at the bottom, so when it's scanned --

  21· · · · · · ·MR. MAZZOLA:· Sorry about that.

  22· · · · · · ·MR. ROSENTHAL:· It's easier for document

  23· · · · management.

  24· ·BY MR. MAZZOLA:

  25· · · · Q· · This is another e-mail.· It's from Jim Cho to


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 120 of
                                       309 01, 2023
                                      June                                      119

  ·1· ·Tracy.· Looks like it's in July 2016.· Do you see that?

  ·2· · · · A· · Yes, I see the e-mail.

  ·3· · · · Q· · And it's payment details of CTX Hong Kong

  ·4· ·payments.· Do you see that?

  ·5· · · · A· · Yes.

  ·6· · · · Q· · Now, here it's talking about payments from

  ·7· ·the HSBC account.· Do you see that?

  ·8· · · · A· · I do.

  ·9· · · · Q· · Can you talk to me about -- if you'd put 117

  10· ·in front of you.

  11· · · · A· · I have got it.

  12· · · · Q· · And you have 118 in front of you, right?

  13· · · · A· · Yes.

  14· · · · Q· · Let me ask you this question.· Looking at

  15· ·118, does this help jog your recollection, refresh your

  16· ·recollection, or help you better understand why on 117

  17· ·CTX is paying on behalf of CTX Hong Kong?

  18· · · · A· · On 117?

  19· · · · Q· · Yes.

  20· · · · A· · Where is 117?

  21· · · · Q· · 117.

  22· · · · A· · Oh, 117, okay.· No, as I said, I have to go

  23· ·back and look at the records.· I cannot -- I have to go

  24· ·back and see what the 90,000 was specifically paid for.

  25· · · · Q· · Here is the next question then.· Maybe you


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 121 of
                                       309 01, 2023
                                      June                                      120

  ·1· ·can help me with this.· Both of these have a credit

  ·2· ·balance, do you see that?· 117 has a credit balance and

  ·3· ·118 has a credit balance?

  ·4· · · · A· · Yes, I see that.

  ·5· · · · Q· · How does -- how are they the same, the

  ·6· ·19,047.65.· Can you talk me through the logic of this?

  ·7· · · · · · ·On 117, Exhibit 117, it says current payable

  ·8· ·balance paid in total 331,303.78.· Do you see that?

  ·9· · · · A· · Can I just use my calculator?

  10· · · · Q· · Sure.

  11· · · · · · ·It may be very simple, Rishi.

  12· · · · A· · Give me one second.

  13· · · · · · ·Go ahead.· I am okay.· Tell me.· It's the

  14· ·same -- this is 10th of July, the 19,047.· He pays the

  15· ·next month -- it's 581.· We paid 160 plus 90.· He is

  16· ·showing the balance as 331.· Out of the 331, the

  17· ·19,047.65 still has to be subtracted.

  18· · · · Q· · Then in the following -- I guess my question

  19· ·is how do you -- how is the current payable balance

  20· ·carrying over every month?· Is that always carried over

  21· ·every month?

  22· · · · A· · Why don't we see the next month.

  23· · · · Q· · I don't have it at hand.

  24· · · · A· · Because let's see what it takes, because the

  25· ·next month there should be a positive balance of


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 122 of
                                       309 01, 2023
                                      June                                      121

  ·1· ·331,303.78 minus 19,047.65 --

  ·2· · · · · · ·MR. ROSENTHAL:· You should probably say those

  ·3· · · · numbers more slowly for our court reporter.

  ·4· · · · · · ·THE WITNESS:· In the following month for

  ·5· · · · September, there should be a positive balance in

  ·6· · · · Benlida's favor of 331,303.78 minus 19,047.65.

  ·7· ·BY MR. MAZZOLA:

  ·8· · · · Q· · Let's look at 118, Exhibit 118.· I took my

  ·9· ·calculator out.

  10· · · · A· · The math out there is correct.

  11· · · · Q· · So that reflects -- in 118 it reflects an

  12· ·overpayment is what you are saying, right?

  13· · · · A· · Yes.

  14· · · · Q· · And then in 117 it reflects that for the next

  15· ·period 331,303.78 less 19,047.65 would be due

  16· ·presumably?

  17· · · · A· · Next what?· Sorry.

  18· · · · Q· · On the next one following.

  19· · · · A· · Yeah.

  20· · · · · · ·MR. ROSENTHAL:· By the next one, you are

  21· · · · referring to the next one --

  22· · · · · · ·MR. MAZZOLA:· The next one in sequence.

  23· · · · · · ·THE WITNESS:· 117.

  24· ·BY MR. MAZZOLA:

  25· · · · Q· · Not 117.· The next one that would follow --


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 123 of
                                       309 01, 2023
                                      June                                      122

  ·1· · · · A· · Oh, yes, the September invoice.· The

  ·2· ·September payment.

  ·3· · · · Q· · In terms of things like penalty, lead time

  ·4· ·penalty, air freight, were those items broken down

  ·5· ·between US CTX and Hong Kong CTX?

  ·6· · · · A· · So until when we were sending them, they were

  ·7· ·broken, and the spreadsheets which we have are also

  ·8· ·separated.

  ·9· · · · Q· · At some point you stopped sending them; is

  10· ·that correct?

  11· · · · A· · No.· When the prepayment started, there was

  12· ·no need to send them.

  13· · · · Q· · Okay.· That is it?

  14· · · · A· · Yes.

  15· · · · · · ·MR. MAZZOLA:· We have ten more minutes?

  16· · · · · · ·MR. ROSENTHAL:· I was just informed at this

  17· · · · moment that for our sake our food won't be here

  18· · · · until 1:30.· So if you want to wait -- if

  19· · · · Mr. Kukrega can keep going --

  20· · · · · · ·MR. MAZZOLA:· I figured we'd break at --

  21· · · · yeah, let's do that.

  22· · · · · · ·(Thereupon, there is a short break.)

  23· ·BY MR. MAZZOLA:

  24· · · · Q· · So I think I was asking about some lead time

  25· ·penalty before we took that little quick break.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 124 of
                                       309 01, 2023
                                      June                                      123

  ·1· · · · A· · Yes.

  ·2· · · · Q· · And you had indicated that there was a time

  ·3· ·period where the lead time penalty ended or they were

  ·4· ·stopped being calculated?

  ·5· · · · · · ·MR. ROSENTHAL:· Objection.

  ·6· ·BY MR. MAZZOLA:

  ·7· · · · Q· · Clarify for me please.

  ·8· · · · A· · So at some point in time when there was

  ·9· ·prepayment which was being requested and we were

  10· ·prepaying the moneys, two things happened.· One is

  11· ·quantum purchase orders which we were using on Benlida

  12· ·became very small, and the second thing was that

  13· ·Benlida more or less was meeting the established lead

  14· ·time on the parts, because they had a lot of open

  15· ·capacity.· There are stragglers letters here and there

  16· ·where there is -- they do default on the lead time

  17· ·penalty, but the amount is so insignificant that we

  18· ·stopped -- it stopped not being calculated, it's been

  19· ·calculated, but I am not sending it to them.

  20· · · · Q· · When did that start?

  21· · · · A· · We did it --

  22· · · · Q· · Yeah.

  23· · · · A· · Not sending it?

  24· · · · Q· · Yes.

  25· · · · A· · I cannot recollect.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 125 of
                                       309 01, 2023
                                      June                                      124

  ·1· · · · Q· · How were lead time penalties calculated?· Was

  ·2· ·there a formula?

  ·3· · · · A· · Yes.· It was as per our agreement in the

  ·4· ·minutes of the meeting.

  ·5· · · · Q· · But originally?· Is it in the contract, the

  ·6· ·manufacturing contract?

  ·7· · · · A· · Yes.

  ·8· · · · Q· · It is, okay.· You have that in front of you,

  ·9· ·right.· It's Exhibit 21?

  10· · · · A· · The exhibits are not --

  11· · · · · · ·MR. ROSENTHAL:· Yes, here.

  12· · · · · · ·THE WITNESS:· The thing which I have seen is

  13· · · · the exhibits are not included in the -- let me

  14· · · · just see.· I take it back.· They are there.· Yes.

  15· ·BY MR. MAZZOLA:

  16· · · · Q· · It's not a trick question, Rishi.

  17· · · · A· · Actually it's not.· The lead time penalty

  18· ·formula, there is another document.

  19· · · · Q· · And that was a formula that had been agreed

  20· ·on by you and Benlida?

  21· · · · A· · There was a formula between -- agreed between

  22· ·us and Benlida, and they -- we sent them lead time

  23· ·penalty debit notes for close to two years, two to

  24· ·three years, before they objected to any of it.· Yes,

  25· ·there was an agreement.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 126 of
                                       309 01, 2023
                                      June                                      125

  ·1· · · · Q· · And you don't recall in what time -- what

  ·2· ·year it was or what date it was -- that you stopped

  ·3· ·charging the lead times?

  ·4· · · · · · ·MR. ROSENTHAL:· Object to form.· Objection,

  ·5· · · · misstates testimony.

  ·6· · · · · · ·THE WITNESS:· I do not remember the time, but

  ·7· · · · it's not that we stopped charging.· We calculated,

  ·8· · · · but I don't send it to them.

  ·9· · · · · · ·(Thereupon, Deposition Exhibit No. 119

  10· · · · · · · is marked for identification.)

  11· ·BY MR. MAZZOLA:

  12· · · · Q· · This is a document we have marked as 119,

  13· ·Exhibit 119.· This is an e-mail thread dated June 8,

  14· ·2016.

  15· · · · A· · Yes.

  16· · · · Q· · So the e-mail thread starts off with Jim

  17· ·sending to Tracy a penalty for lead times.· Do you see

  18· ·that?

  19· · · · A· · Yes.

  20· · · · Q· · And obviously you are copied on it?

  21· · · · A· · Yes.

  22· · · · Q· · And so is Lina copied on it?

  23· · · · A· · Yes.

  24· · · · Q· · And Tracy pushes back and she objects.· Do

  25· ·you see that?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 127 of
                                       309 01, 2023
                                      June                                      126

  ·1· · · · A· · Yes.

  ·2· · · · Q· · When Jim sent this out to Tracy, he talked

  ·3· ·about a lead time penalty of $36,581.86.· If you go to

  ·4· ·the last page you will see that.

  ·5· · · · A· · Yes.

  ·6· · · · Q· · As Tracy calculates it, she comes up closer

  ·7· ·to somewhere around $63.· Do you see that?

  ·8· · · · A· · After adding days only four PO are late and

  ·9· ·penalty amount is 33.60.

  10· · · · Q· · She comes up with $33?

  11· · · · A· · That is what she wrote in that part of the

  12· ·e-mail.

  13· · · · Q· · I guess that is a pretty large discrepancy,

  14· ·isn't it?

  15· · · · A· · That is a pretty large discrepancy.· The two

  16· ·issues are this is related to Circuitronix Hong Kong.

  17· ·So I have not reviewed it closely.

  18· · · · · · ·The second problem is that she just used an

  19· ·arbitrary methodology on what she was -- so, yeah.

  20· ·I -- every time we got e-mails like this, all we said

  21· ·is that we will have to sit down and discuss, because

  22· ·we do not agree with that calculation methodology.

  23· · · · Q· · So the reconciliations wouldn't be adjusted

  24· ·on a receipt of such an e-mail, right?

  25· · · · A· · So by this time -- actually I have to -- I


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 128 of
                                       309 01, 2023
                                      June                                      127

  ·1· ·stand corrected on one thing which I wanted to tell

  ·2· ·you.· Initially I told you that we stopped sending lead

  ·3· ·time penalty on March 1, 2016.· It was March 1, 2017.

  ·4· · · · · · ·But more importantly, during minutes of

  ·5· ·meeting, we had waived the penalty for March of 2016 to

  ·6· ·October of 2016.· So that was taken out of the

  ·7· ·equation.

  ·8· · · · Q· · But not in June of 2016 it wasn't?

  ·9· · · · A· · So in June of 2016 it was not.

  10· · · · Q· · And I guess my question is this is an e-mail

  11· ·thread where Tracy is writing back and she is objecting

  12· ·to some -- to your calculations.· Do you see that?

  13· · · · A· · Yes.

  14· · · · Q· · When Tracy would object to your calculations,

  15· ·did your team do anything?· Did they review?· Did they

  16· ·correct?· What did they do?

  17· · · · A· · So I know that at some point in time I got

  18· ·involved, and when Tracy objected I objected back to

  19· ·what Tracy was saying and we would say that we would

  20· ·sit down and meet and see to it where we could come up

  21· ·with -- but the specific one is related to Circuitronix

  22· ·Hong Kong.· So I am not -- I have not really reviewed

  23· ·it.

  24· · · · Q· · Do you know if this discrepancy was ever

  25· ·corrected?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 129 of
                                       309 01, 2023
                                      June                                      128

  ·1· · · · · · ·MR. ROSENTHAL:· Objection.

  ·2· · · · · · ·THE WITNESS:· On the Circuitronix Hong Kong

  ·3· · · · books?· I am not sure, because I have not done any

  ·4· · · · sort of reconciliation.· I have not reviewed any

  ·5· · · · reconciliation for Hong Kong.

  ·6· ·BY MR. MAZZOLA:

  ·7· · · · Q· · But the reconciliations were done?

  ·8· · · · A· · Reconciliations were done at some point, yes.

  ·9· · · · Q· · Are you aware of other examples similar to

  10· ·this Exhibit 119 where Tracy writes back objecting to

  11· ·lead time penalty?

  12· · · · A· · I am aware of that.

  13· · · · Q· · Are you aware of other examples where Tracy

  14· ·writes back objecting to a reconciliation number?

  15· · · · A· · Reconciliation?· Which one, monthly

  16· ·reconciliation?

  17· · · · Q· · Yes.

  18· · · · A· · The monthly reconciliations, they objected,

  19· ·but at the end of the day, by the time we finished it

  20· ·in 2019, or whenever it stopped, there was no

  21· ·disagreement because -- in 2017, '18, '19, finally

  22· ·there was sort of complete agreement in the monthly

  23· ·reconciliation.

  24· · · · Q· · So by November 2019 your position is that

  25· ·Benlida/ROK and Tracy were in full agreement with your


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 130 of
                                       309 01, 2023
                                      June                                      129

  ·1· ·reconciliation?

  ·2· · · · A· · For 2017, '18, '19.

  ·3· · · · Q· · Yes.

  ·4· · · · A· · Monthly reconciliations.· As far as master

  ·5· ·reconciliations, they were in full agreement with our

  ·6· ·Circuitronix LLC reconciliation from June to -- from

  ·7· ·2012 to 2019 and --

  ·8· · · · Q· · The master reconciliation?

  ·9· · · · A· · Master.· Because what they did was we

  10· ·provided them with feedback, they made certain

  11· ·observations, we corrected those observations, and that

  12· ·really did not decrease the numbers.

  13· · · · Q· · And the master reconciliation, that was in

  14· ·two thousand when?

  15· · · · A· · From 2015 to 2019 was in March-April of 2019,

  16· ·and from 2012 to 2019 was in November of 2019.

  17· · · · · · ·MR. MAZZOLA:· I think this e-mail is

  18· · · · somewhere out there guys.

  19· · · · · · ·(Thereupon, Deposition Exhibit No. 120

  20· · · · · · · is marked for identification.)

  21· ·BY MR. MAZZOLA:

  22· · · · Q· · Rishi, this is a document we marked as 120.

  23· ·I think it's a similar version as what has already been

  24· ·put out there.· There is attachments, and we will get

  25· ·to that.· I am just trying to keep track of the time


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 131 of
                                       309 01, 2023
                                      June                                      130

  ·1· ·before the break.

  ·2· · · · · · ·You referred to the master reconciliation.

  ·3· ·Is this what you are referring to, what is attached?

  ·4· · · · A· · Yes.

  ·5· · · · Q· · See how it goes from April 2012 to -- for

  ·6· ·Benlida and ROK.· It's everything?

  ·7· · · · A· · Yes.

  ·8· · · · Q· · I am not going to ask you any more questions

  ·9· ·about that.· I wanted that put aside before the break

  10· ·so I don't have to go crazy trying to find it.

  11· · · · · · ·Before we break, you talked about a person

  12· ·that works for C -- CTX employee working at BLD.

  13· · · · A· · Used to work.

  14· · · · Q· · Were they your person, or was it like a

  15· ·Benlida person?· Was it a secundant?· What was the

  16· ·arrangement?

  17· · · · A· · It was a Circuitronix employee.

  18· · · · Q· · They were there every day, they had a desk

  19· ·and --

  20· · · · A· · Yes.

  21· · · · Q· · Who did that person report to?· I assume you.

  22· · · · A· · No, to Honkit Cho.

  23· · · · Q· · And I presume -- and that was Jim, Honkit

  24· ·Cho?

  25· · · · · · ·THE REPORTER:· Can I get a spelling on that?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 132 of
                                       309 01, 2023
                                      June                                      131

  ·1· · · · · · ·THE WITNESS:· H-O-N-K-I-T· C-H-O.

  ·2· ·BY MR. MAZZOLA:

  ·3· · · · Q· · We are going to get into the spreadsheets,

  ·4· ·but we can look at this document 120, right?· Why are

  ·5· ·you sending spreadsheets for the Hong Kong operation?

  ·6· · · · A· · I only sent it for Circuitronix US and ROK.

  ·7· · · · Q· · But it does say ROK payment details for

  ·8· ·US-HK.

  ·9· · · · A· · Reason is because specific to ROK, we

  10· ·received instructions to -- from Benlida to make

  11· ·payments to ROK for monies which were not owed at that

  12· ·point in time to ROK.

  13· · · · Q· · So it was intentional for you to leave Hong

  14· ·Kong office this spreadsheet then, right?

  15· · · · A· · That is correct, because we were not doing

  16· ·Hong Kong.· But at some point in time we did send Hong

  17· ·Kong too.

  18· · · · Q· · Because you sent the spreadsheet -- let's

  19· ·look at this one over here.

  20· · · · · · ·(Thereupon, Deposition Exhibit No. 121

  21· · · · · · · is marked for identification.)

  22· ·BY MR. MAZZOLA:

  23· · · · Q· · This is 121, and you can look at it together

  24· ·with 120.· This is from July.· This document I put in

  25· ·front of you is 121, and this is from July 2019.· So


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 133 of
                                       309 01, 2023
                                      June                                      132

  ·1· ·just a couple months earlier, right?

  ·2· · · · A· · Yes.

  ·3· · · · Q· · And this one seemingly includes Hong Kong

  ·4· ·payments.· I don't think the spreadsheets are useful,

  ·5· ·but you can look at it if you want.

  ·6· · · · · · ·MR. ROSENTHAL:· What is the question?

  ·7· ·BY MR. MAZZOLA:

  ·8· · · · Q· · Well, Rishi, you just said that in

  ·9· ·November 2019 on Exhibit 120 it was your intent --

  10· ·intent -- to not give any information regarding CTX

  11· ·Hong Kong because they were separate companies.

  12· · · · · · ·And then I am just asking -- maybe you can

  13· ·clarify -- why four months earlier or five months

  14· ·earlier when you were sending over reconciliations you

  15· ·included Hong Kong payments?

  16· · · · A· · Firstly, you should be aware that the

  17· ·reconciliation from November 1, 2019, is completely

  18· ·different from the reconciliation in July of 2019.

  19· · · · Q· · July starts in 2015 --

  20· · · · A· · No, July starts in 2016.· July is the

  21· ·reconciliation showing what was shipped one week, paid

  22· ·next week.· Douglas was claiming that we were not

  23· ·adhering to the agreement what we accepted on the

  24· ·July -- in the December 20 -- December 14, 2016

  25· ·meeting.· And so I gave this and I said you are wrong,


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 134 of
                                       309 01, 2023
                                      June                                      133

  ·1· ·because if you look at this we have paid you -- even

  ·2· ·without taking lead time penalty and -- lead time

  ·3· ·penalty and price increase into account, we have

  ·4· ·overpaid you by 256,344.13.· This is specific to what

  ·5· ·shipped one week, was paid next week.

  ·6· · · · · · ·And if you recollect, I told you that we were

  ·7· ·changing sheets everyone to two weeks.· Zero objection.

  ·8· ·Zero objection to this one that those invoices are

  ·9· ·paid.· The invoices on the -- so this one is --

  10· · · · Q· · What are you holding up?· What number?

  11· · · · A· · 121.· That is a different reconciliation.

  12· · · · Q· · So 121 is a different reconciliation than 120

  13· ·is what you are telling me?

  14· · · · A· · 121 is trying to show Douglas and Tracy that

  15· ·their statement that we are not following the agreement

  16· ·established in December of 2016 is incorrect vis-a-vis

  17· ·payments, because what was shipped one week was paid

  18· ·next week, and we were in an overpaid situation of

  19· ·256,344.13 without taking into account lead time

  20· ·penalty and price increase which would only increase

  21· ·that number.

  22· · · · Q· · So I guess my question was -- it initially

  23· ·started because you said in November it was intentional

  24· ·to leave off reference to Hong Kong, and then I am

  25· ·trying to understand why in July, if it was the intent


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 135 of
                                       309 01, 2023
                                      June                                      134

  ·1· ·to not mention Hong Kong in November, you included Hong

  ·2· ·Kong in these spreadsheets.· Regardless of what the

  ·3· ·area covers, why would you include Hong Kong in July

  ·4· ·but not in November?

  ·5· · · · A· · Because they had different objectives.· The

  ·6· ·objectives were separate.· Even after the November 1,

  ·7· ·2019, USA payment reconciliation, we also sent the Hong

  ·8· ·Kong payment reconciliation two, three months later.

  ·9· · · · Q· · After July?

  10· · · · A· · After 3120, after November 1.

  11· · · · · · ·MR. ROSENTHAL:· Do you mean Exhibit 120?

  12· · · · · · ·THE WITNESS:· Yes, Exhibit 120.· We sent the

  13· · · · Hong Kong reconciliation I would say in the

  14· · · · March-April time frame of 2020.· So why was I

  15· · · · sending it?· At the end of the day, they were

  16· · · · accusing a company under my management that we

  17· · · · were not paying or doing whatever they were

  18· · · · fabricating, and I was demonstrating that none of

  19· · · · my companies were doing what they were

  20· · · · fabricating -- what they were -- what they were

  21· · · · claiming that we were doing.

  22· ·BY MR. MAZZOLA:

  23· · · · Q· · Is it possible your company was maybe

  24· ·mistaken?· Maybe the bookkeeping was not good, not

  25· ·accurate; is that possible?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 136 of
                                       309 01, 2023
                                      June                                      135

  ·1· · · · A· · So let's go back to the July 29, Exhibit 121.

  ·2· ·After the July 29, 2019 e-mail was sent, Tracy sent

  ·3· ·feedback to the e-mail where she flagged discrepancies

  ·4· ·of $450,000 or something.· She agreed to everything

  ·5· ·besides a number of $450,000.· There is an internal

  ·6· ·e-mail between them where it breaks down about the

  ·7· ·disagreement with the $450,000.· So if it was a mistake

  ·8· ·by my team, as per Tracy they agreed to everything

  ·9· ·which we sent July 29 beside that 400 to $500,000

  10· ·quantum.

  11· · · · Q· · And are you assuming Tracy found every

  12· ·mistake?

  13· · · · A· · I gave that feedback for the July 2019.· When

  14· ·we sent the master agreement on November 1, 2019,

  15· ·master reconciliation, there were between five to ten

  16· ·e-mails which Ms. Chen sent us.· We went back and forth

  17· ·about there is a mistake here, correct this mistake and

  18· ·everything else.· And based upon the feedback which was

  19· ·provided to us, we corrected the November 1, 2019 --

  20· ·whatever feedback was given to us over five to ten

  21· ·e-mails.

  22· · · · · · ·And the numbers sort of remained in the same

  23· ·ballpark, maybe decreased or increased a little bit.            I

  24· ·would assume with such detailed feedback, if they had

  25· ·found any discrepancies, they would have flagged it


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 137 of
                                       309 01, 2023
                                      June                                      136

  ·1· ·beyond that -- beyond those five to ten e-mails.

  ·2· · · · · · ·And so that is why I believe that there may

  ·3· ·have been mistakes made by the team.· Those mistakes

  ·4· ·were flagged by them, and we corrected the mistakes and

  ·5· ·we gave -- after correcting the mistakes, we gave

  ·6· ·another version of the reconciliation in January of

  ·7· ·2020 which shows a similar or slightly higher number.

  ·8· · · · Q· · We won't have time to go into that right now.

  ·9· ·I do want to look at one more point.· I heard what you

  10· ·said, Rishi, but I want to look at the July

  11· ·reconciliation.· This is marked as 121.· If you go to

  12· ·the very next page there is some spreadsheets there.

  13· · · · A· · Yes.

  14· · · · Q· · You are combining in July of 2019 the USA

  15· ·operation and Hong Kong operation.

  16· · · · A· · I am not combining.· They are separate.

  17· · · · Q· · But you do see that?· You see it's on the

  18· ·same spreadsheet?

  19· · · · A· · In separate columns.

  20· · · · Q· · But it does have a third column that totals

  21· ·up, that combines it, right?

  22· · · · A· · That is right, because they are saying two

  23· ·companies under my control do not have -- are shorting

  24· ·them.

  25· · · · Q· · Are what?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 138 of
                                       309 01, 2023
                                      June                                      137

  ·1· · · · A· · Shorting them.· And I was trying to explain

  ·2· ·to them that -- yeah, I was trying to explain to them

  ·3· ·that we were doing nothing of that sort, and this is

  ·4· ·the only way I could do it to give a global picture to

  ·5· ·everything.

  ·6· · · · Q· · But both these companies are under your

  ·7· ·control.· I am not going to get into a debate with you

  ·8· ·over corporate structure.· You acknowledge they are

  ·9· ·under your control?

  10· · · · A· · Absolutely.· I haven't challenged that.

  11· · · · Q· · And there are some examples, this is being

  12· ·one, where you do combine on spreadsheets US operation

  13· ·and Hong Kong operation?

  14· · · · · · ·MR. ROSENTHAL:· Object to the form.

  15· · · · · · ·THE WITNESS:· We do combine with the purpose

  16· · · · of demonstrating what we needed to demonstrate.

  17· · · · We do not combine in any manner to try to show

  18· · · · they are one and the same organization.

  19· ·BY MR. MAZZOLA:

  20· · · · Q· · You said that, I didn't say that.· I am just

  21· ·asking if it's true that there are documents that

  22· ·reflect CTX Hong Kong and CTX USA that are the same

  23· ·document that has been provided to our clients.· That

  24· ·is all I am asking.

  25· · · · A· · Yes.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 139 of
                                       309 01, 2023
                                      June                                      138

  ·1· · · · Q· · And if you go through this a little bit

  ·2· ·more -- the pages aren't numbered, but you will see the

  ·3· ·invoice numbering convention and you will see HK next

  ·4· ·to it.· If I see that, that means it's a Hong Kong

  ·5· ·invoice, right?

  ·6· · · · A· · Yes.

  ·7· · · · Q· · And if I don't see a HK, it means it's a US

  ·8· ·invoice, right?

  ·9· · · · A· · Yes.

  10· · · · Q· · Did your mother ever meet with anyone at

  11· ·Benlida?

  12· · · · A· · I think my mother met Tracy when she went to

  13· ·India.

  14· · · · Q· · Did she ever meet Mr. Huang?

  15· · · · A· · She would have, but Mr. Huang never came to

  16· ·the office.

  17· · · · Q· · What does that mean?

  18· · · · A· · My mother came to the China once in a while,

  19· ·but Mr. Huang would say he was not working during that

  20· ·time.

  21· · · · Q· · Where did that come from?

  22· · · · A· · Because Mr. Huang said that in his

  23· ·deposition.

  24· · · · Q· · Oh, yesterday?

  25· · · · A· · Yesterday, yes.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 140 of
                                       309 01, 2023
                                      June                                      139

  ·1· · · · · · ·MR. MAZZOLA:· Let's do a break now.

  ·2· · · · · · ·(Thereupon, there is a short break.)

  ·3· ·BY MR. MAZZOLA:

  ·4· · · · Q· · All right, Rishi, you are still under oath.

  ·5· · · · A· · Yes.

  ·6· · · · Q· · I assume everyone followed the rules during

  ·7· ·the break?

  ·8· · · · A· · Yes.

  ·9· · · · Q· · Other than small talk; the proverbial how am

  10· ·I doing, the keep up the good work.· Other than that, I

  11· ·presume there is no other discussion about the case?

  12· · · · · · ·MR. ROSENTHAL:· You can't discuss what you

  13· · · · discussed with your lawyers, so I object.

  14· ·BY MR. MAZZOLA:

  15· · · · Q· · I would be disappointed if Stephen didn't

  16· ·give you the proverbial pat on the back, good job.

  17· · · · · · ·I want to go back to Exhibit 27, the Business

  18· ·Authorization.· I just want to clarify a point.· You

  19· ·may have already done it.

  20· · · · · · ·Insofar as purchase orders that would be

  21· ·applicable to this Exhibit 27, were those purchase

  22· ·orders, when they were issued to Benlida, did they have

  23· ·any designation on them, anything that would advise

  24· ·them, hey, the Business Authorization is applicable to

  25· ·this PO?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 141 of
                                       309 01, 2023
                                      June                                      140

  ·1· · · · · · ·MR. ROSENTHAL:· Objection, vague.

  ·2· · · · · · ·THE WITNESS:· I cannot recollect, but I don't

  ·3· · · · think so.· But there may have been instructions

  ·4· · · · that the boards have to go to a third-party

  ·5· · · · subcontractor controlled by us.

  ·6· ·BY MR. MAZZOLA:

  ·7· · · · Q· · But there is no reference to third-party

  ·8· ·subcontractors controlled by CTX on this document; is

  ·9· ·that correct?

  10· · · · A· · As I mentioned, that document only applies to

  11· ·purchase orders Circuitronix LLC -- Circuitronix Hong

  12· ·Kong is placing on behalf of Circuitronix LLC.· And the

  13· ·only purchase orders -- those are the only part

  14· ·numbers.

  15· · · · Q· · What I am trying to understand is when a

  16· ·purchase order is issued, does it say, hey, Tracy, hey,

  17· ·Roger, hey, Douglas, hey Benlida team, this purchase

  18· ·order is going to fall under the Business

  19· ·Authorization, Exhibit 27?

  20· · · · A· · I don't believe that it said that, but I

  21· ·cannot recollect.

  22· · · · Q· · Was there anything on the purchase order that

  23· ·would alert the folks at Benlida that, hey, this

  24· ·purchase order falls under the Business Authorization?

  25· · · · · · ·MR. ROSENTHAL:· Objection, asked and


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 142 of
                                       309 01, 2023
                                      June                                      141

  ·1· · · · answered.

  ·2· · · · · · ·THE WITNESS:· I cannot recollect.· I do not

  ·3· · · · know.

  ·4· ·BY MR. MAZZOLA:

  ·5· · · · Q· · Who is the person that works -- who is the

  ·6· ·CTX person that is embedded at Benlida?

  ·7· · · · A· · Was embedded.

  ·8· · · · Q· · Yes, was.

  ·9· · · · A· · I forgot the name of the lady.

  10· · · · Q· · And there is no one there now?

  11· · · · A· · I don't think so.

  12· · · · Q· · We were just talking at lunch -- which we are

  13· ·allowed to do -- and I did ask, and they said it was a

  14· ·lady and they don't remember the name.

  15· · · · A· · I do not -- Jade.

  16· · · · Q· · Jade?· Is she still there?

  17· · · · A· · No.· Jade Lee.

  18· · · · Q· · L-I?

  19· · · · A· · Jade.· The precious stone Jade.

  20· · · · Q· · L-E-E, L-I?

  21· · · · A· · L-I or L-E-E.· I have forgotten.

  22· · · · Q· · And CTX no longer has anyone at Benlida?

  23· · · · A· · We don't because there are hardly any

  24· ·transactions.· There are few transactions.

  25· · · · Q· · And when Jade was there, who was she


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 143 of
                                       309 01, 2023
                                      June                                      142

  ·1· ·reporting to?

  ·2· · · · A· · Honkit Cho.

  ·3· · · · Q· · Rishi, do you have a business card on you?

  ·4· · · · A· · No, I don't.

  ·5· · · · Q· · Does the CTX Hong Kong entity, does that --

  ·6· ·do they have a separate website?

  ·7· · · · A· · No, they do not.· I don't believe they have a

  ·8· ·website.

  ·9· · · · Q· · During the hearing before Judge Goodman in

  10· ·January, you testified under oath to the effect that

  11· ·your business is a 20 million -- 200 million dollar a

  12· ·year business.· Do you anything along those lines?

  13· · · · A· · I said that all the businesses which fall

  14· ·under my purview, including whatever -- Chrom, Sun

  15· ·Air -- everything is $20 million.

  16· · · · Q· · And these are all businesses you control?

  17· · · · A· · Yes.

  18· · · · Q· · Did there ever come a time -- scratch that.

  19· · · · · · ·When did you first learn that Benlida was

  20· ·attributing the payments that it received from you to

  21· ·its oldest invoices?

  22· · · · A· · I cannot recollect, but if I -- I know you

  23· ·have told me not to guess, and I have been told not to

  24· ·guess, but I believe it was with the lawsuit.

  25· · · · Q· · Rishi, can you pull up Exhibit 79 that was


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 144 of
                                       309 01, 2023
                                      June                                      143

  ·1· ·previously marked?

  ·2· · · · A· · Yes.

  ·3· · · · Q· · And if you look at that in conjunction with

  ·4· ·Exhibit 120 -- it looks like this.

  ·5· · · · A· · It's right below on this one.

  ·6· · · · Q· · Yes, I want to confirm to make sure it was

  ·7· ·the same thread.

  ·8· · · · · · ·So the first question, Rishi, are Exhibit 79

  ·9· ·and Exhibit 120 part of the same e-mail thread?

  10· · · · A· · Yes.

  11· · · · Q· · And Exhibit 79, although it's a later dated

  12· ·exhibit, later dated e-mail, it's coming from someone

  13· ·called accounting@benlida.com.· Do you know that to be

  14· ·Ms. Chen?

  15· · · · A· · Yes.

  16· · · · Q· · And it looks like she is writing to the whole

  17· ·group.

  18· · · · · · ·MR. ROSENTHAL:· What is your question?

  19· ·BY MR. MAZZOLA:

  20· · · · Q· · I guess is she?

  21· · · · A· · She is.

  22· · · · Q· · You are addressed on that; is that right?

  23· · · · A· · Yes.

  24· · · · Q· · And it looks like she is asking for

  25· ·additional information?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 145 of
                                       309 01, 2023
                                      June                                      144

  ·1· · · · A· · Yes.

  ·2· · · · Q· · Was that information provided?

  ·3· · · · A· · Yes.· By the way, by any chance do you know

  ·4· ·what this writing in Chinese is here?

  ·5· · · · Q· · What writing in Chinese?

  ·6· · · · A· · The first e-mail is to Tracy in

  ·7· ·accounting@benlida.

  ·8· · · · · · ·MR. ROSENTHAL:· I know the answer, but I am

  ·9· · · · not able to say unless Mr. Mazzola asks me to.

  10· · · · · · ·MS. GUAN:· This one?· Just that -- just those

  11· · · · four?· "Came from my Huawei cell phone."

  12· · · · · · ·MR. ROSENTHAL:· I asked him that, and I

  13· · · · thought it was interesting too.

  14· · · · · · ·MR. MAZZOLA:· Here is an exhibit I want to

  15· · · · mark as Exhibit 122.

  16· · · · · · ·(Thereupon, Deposition Exhibit No. 122

  17· · · · · · · is marked for identification.)

  18· ·BY MR. MAZZOLA:

  19· · · · Q· · So Exhibit 122 is an e-mail from Todor

  20· ·Chelibashki.

  21· · · · A· · Okay.

  22· · · · Q· · And it looks like it is a -- well, you tell

  23· ·me what this is.· There is an attachment to it as well.

  24· · · · A· · Payment details December 2, 2014, for

  25· ·September invoices.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 146 of
                                       309 01, 2023
                                      June                                      145

  ·1· · · · Q· · So I want to have you help me understand

  ·2· ·these payment details.· The payment detail is dated

  ·3· ·sometime in December, beginning of December --

  ·4· ·December 2 -- and it's attached to a December 4 e-mail.

  ·5· ·Do you see that?

  ·6· · · · A· · Because September invoices are due in

  ·7· ·December.

  ·8· · · · Q· · AMS 60?

  ·9· · · · A· · Yes.

  10· · · · Q· · So the invoice numbers or the bill numbers

  11· ·and the bill dates are all in September?

  12· · · · A· · Yes.

  13· · · · Q· · So the idea would be sometime within that

  14· ·60-day period after everything was paid, your team

  15· ·would send everything off to Benlida and say here is

  16· ·the payment?

  17· · · · A· · Yes.

  18· · · · Q· · Does Todor still work there?

  19· · · · A· · No.

  20· · · · Q· · Why was Sunny copied on this?· I thought

  21· ·Sunny was in India.

  22· · · · A· · Sunny is in -- Sunny in December 4, 2014, was

  23· ·in Hong Kong.

  24· · · · Q· · Why would he have been copied on this if

  25· ·there were no Hong Kong invoices being paid?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 147 of
                                       309 01, 2023
                                      June                                      146

  ·1· · · · A· · So in the beginning of 2013 I had decided

  ·2· ·that Sunny Kapoor would become the CEO of Circuitronix

  ·3· ·globally.

  ·4· · · · Q· · Globally?

  ·5· · · · A· · Yes.· And the agreement which we had was that

  ·6· ·he would have the co-CEO role for two years, under

  ·7· ·which I would mentor and train him.· And part of the

  ·8· ·agreement was those two years he was going to be

  ·9· ·spending in Hong Kong, and his employment was with

  10· ·Circuitronix Hong Kong at that time.· And so as a part

  11· ·of the co-CEO role, I was -- he was being copied on a

  12· ·lot of correspondence globally.

  13· · · · Q· · Sunny doesn't work for you anymore, does he?

  14· · · · A· · He does not.

  15· · · · Q· · There was a falling out between you two?

  16· · · · A· · Yes.

  17· · · · Q· · What happened?· Did he sue you or did you sue

  18· ·him?

  19· · · · A· · I think everybody sued each other.· I started

  20· ·a lawsuit with him -- he sued me, went into settlement

  21· ·agreement; I sued him, went into settlement agreement.

  22· · · · Q· · Was it resolved?

  23· · · · A· · Yes.

  24· · · · Q· · When is the last time you spoke to Sunny?

  25· · · · A· · I speak with him often.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 148 of
                                       309 01, 2023
                                      June                                      147

  ·1· · · · Q· · What kind of business is he in?

  ·2· · · · A· · Sunny runs EIEMS for me.

  ·3· · · · Q· · He works for you again?

  ·4· · · · A· · He is -- he -- so Sunny owns 14 percent of

  ·5· ·the EIEMS.

  ·6· · · · Q· · IEMS?

  ·7· · · · A· · EIEMS.

  ·8· · · · Q· · EMES?

  ·9· · · · · · ·MR. ROSENTHAL:· EIEMS.

  10· · · · · · ·MR. MAZZOLA:· EIEIO, okay.

  11· ·BY MR. MAZZOLA:

  12· · · · Q· · And that is the outfit that you purchased --

  13· · · · A· · My mom purchased 60 percent.

  14· · · · Q· · And he owns the other 40 percent?

  15· · · · A· · Yes.

  16· · · · Q· · And your mom paid $150,000 for that

  17· ·60 percent?

  18· · · · A· · I think she paid a little bit more.

  19· · · · Q· · What is that company worth now?

  20· · · · A· · Not too much.· It does $3 million in revenue.

  21· · · · · · ·(Thereupon, Deposition Exhibit No. 123

  22· · · · · · · is marked for identification.)

  23· ·BY MR. MAZZOLA:

  24· · · · Q· · This is an exhibit we marked as 123.· I guess

  25· ·this is along the lines of the last one, Rishi.· This


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 149 of
                                       309 01, 2023
                                      June                                      148

  ·1· ·is a Benlida payment detail.· Do you see that?

  ·2· · · · A· · Yes.

  ·3· · · · Q· · Again, it's produced by Todor, right?

  ·4· · · · A· · Yes.

  ·5· · · · Q· · It has a similar cast of characters copied in

  ·6· ·on it?

  ·7· · · · A· · Yes.

  ·8· · · · Q· · Now, we know at the time that Sunny was in

  ·9· ·Hong Kong, right?

  10· · · · A· · Yes.

  11· · · · Q· · Was he still in Hong Kong in 2015?

  12· · · · A· · This was 45 -- this was 45 days prior to both

  13· ·of us going our own ways.

  14· · · · Q· · Honkit Cho is copied on this?

  15· · · · A· · Yes.

  16· · · · Q· · But the invoices only relate to -- they are

  17· ·only CTX payments.· Do you see that on the next page?

  18· · · · A· · I do.

  19· · · · Q· · Why is Honkit Cho copied on it?

  20· · · · A· · If you look, I think what is happening is

  21· ·that if you -- as I mentioned to you, there was a group

  22· ·which we had come up with accounts payable, and that

  23· ·basically had all the people in the two teams.· So as a

  24· ·practice we would just -- this was just a group which

  25· ·was made, and people -- we were just responding back to


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 150 of
                                       309 01, 2023
                                      June                                      149

  ·1· ·all the e-mails.· All the e-mails we were being copied

  ·2· ·on.· And Honkit would do what was required for Hong

  ·3· ·Kong, and the US team would do what was required for

  ·4· ·US.

  ·5· · · · Q· · I guess my question is if a payment detailing

  ·6· ·bank slip is coming from Todor on a brand new e-mail

  ·7· ·out of the US --

  ·8· · · · A· · It was not brand new.· As you see, he replies

  ·9· ·back to all.

  10· · · · Q· · We are looking at 123.

  11· · · · · · ·MR. ROSENTHAL:· The bottom one?· Which one

  12· · · · are you talking about, Mr. Mazzola?

  13· · · · · · ·MR. MAZZOLA:· Exhibit 123.

  14· · · · · · ·MR. ROSENTHAL:· There is multiple e-mails

  15· · · · from Todor.· That is the confusion.

  16· ·BY MR. MAZZOLA:

  17· · · · Q· · Are you looking at 123 Rishi?

  18· · · · A· · Yes.

  19· · · · Q· · This looks like a new e-mail that Todor is

  20· ·starting.

  21· · · · · · ·MR. ROSENTHAL:· Objection, vague.

  22· · · · · · ·THE WITNESS:· There is three e-mails; one,

  23· · · · two, three.· Maybe the bottom part of this e-mail?

  24· · · · · · ·MR. MAZZOLA:· Hold on.· Stephen, your e-mail

  25· · · · that you are looking at --


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 151 of
                                       309 01, 2023
                                      June                                      150

  ·1· · · · · · ·MR. ROSENTHAL:· I will show you.

  ·2· · · · · · ·MR. MAZZOLA:· I got them all screwed up.           I

  ·3· · · · am sorry, Rishi.· Okay.· So this is -- I beg your

  ·4· · · · pardon.

  ·5· · · · · · ·MR. ROSENTHAL:· JC, can we take a minute?

  ·6· · · · · · ·MR. MAZZOLA:· You are going to have to take a

  ·7· · · · minute, because I screwed this all up.

  ·8· · · · · · ·(Thereupon, there is a short break.)

  ·9· ·BY MR. MAZZOLA:

  10· · · · Q· · So we are looking at 123, Rishi.· I beg your

  11· ·pardon.· I got them confused.

  12· · · · · · ·This is an e-mail thread that does, again,

  13· ·begin with Todor on January 29, 2015, and this is again

  14· ·another payment detail at the back.· It seems there are

  15· ·two payment details.· Do you see that?

  16· · · · A· · Yes, January and February.

  17· · · · Q· · And then there is two wires?

  18· · · · A· · Yes.

  19· · · · Q· · Actually one wire.· Again, this is coming out

  20· ·of the Citibank account, the New York account, right,

  21· ·because it ends -- the US account -- because it ends in

  22· ·2689; is that right?

  23· · · · A· · Yes.

  24· · · · · · ·MR. ROSENTHAL:· Sorry.· What ends in 2689?

  25· · · · · · ·MR. MAZZOLA:· The source account.· That is


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 152 of
                                       309 01, 2023
                                      June                                      151

  ·1· · · · the Citibank account.· We are on the last page.

  ·2· · · · · · ·MR. ROSENTHAL:· Are you looking -- JC, are

  ·3· · · · you looking at this page?

  ·4· · · · · · ·MR. MAZZOLA:· The completed wire detail.

  ·5· · · · · · ·MR. ROSENTHAL:· I don't see the number you

  ·6· · · · just said.

  ·7· · · · · · ·MR. MAZZOLA:· At the top, source account.

  ·8· · · · · · ·MR. ROSENTHAL:· 2689 you said?

  ·9· · · · · · ·MR. MAZZOLA:· It ends in --

  10· · · · · · ·MR. ROSENTHAL:· 2698?

  11· · · · · · ·THE WITNESS:· 2698, yes.

  12· ·BY MR. MAZZOLA:

  13· · · · Q· · The same line of questioning I was getting

  14· ·at; Honkit Cho was copied on this as well, and the

  15· ·question I had with respect to the other document was

  16· ·why is he being copied on something if all these were

  17· ·coming out of the US office?

  18· · · · A· · Well, it's the same.· Benlida was being --

  19· ·Benlida was sending the e-mail to everybody in the

  20· ·group and everybody was replying.

  21· · · · Q· · But if you look at the beginning of the

  22· ·thread, at the very bottom it starts with Todor and he

  23· ·is starting the thread.

  24· · · · A· · Sure.

  25· · · · Q· · This is not as if Benlida is adding everyone.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 153 of
                                       309 01, 2023
                                      June                                      152

  ·1· ·Do you see that?

  ·2· · · · A· · I do, but the protocol was already in place

  ·3· ·where everybody would copy everybody.

  ·4· · · · Q· · That was the protocol?

  ·5· · · · A· · That was the protocol, because the protocol

  ·6· ·started because we were missing invoices which Benlida

  ·7· ·was sending to the incorrect party responsible.

  ·8· · · · Q· · And the protocol is, according to you,

  ·9· ·something that was started by Benlida, right?

  10· · · · · · ·MR. ROSENTHAL:· Objection.

  11· · · · · · ·THE WITNESS:· The protocol of copying

  12· · · · everybody was -- the protocol to address whatever

  13· · · · issues, communication issues, Benlida was having

  14· · · · was started by us collectively.

  15· ·BY MR. MAZZOLA:

  16· · · · Q· · Us collectively?

  17· · · · A· · By Benlida and us.

  18· · · · Q· · So the idea was everyone would be included?

  19· · · · A· · And then the Hong Kong people would pick up

  20· ·their stuff.

  21· · · · · · ·(Thereupon, Deposition Exhibit No. 124

  22· · · · · · · is marked for identification.)

  23· ·BY MR. MAZZOLA:

  24· · · · Q· · I thought you had said earlier -- looking at

  25· ·Exhibit 124, but we can look at this one -- I thought


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 154 of
                                       309 01, 2023
                                      June                                      153

  ·1· ·you said earlier that the accounts payable e-mail

  ·2· ·address was the one that was created to address this.

  ·3· · · · A· · Yes, accounts payable has all the accounting

  ·4· ·clerks underneath either Honkit or -- so it was, but

  ·5· ·Honkit Was also in the e-mail -- in the e-mail

  ·6· ·distribution.

  ·7· · · · Q· · And you are in the distribution as well,

  ·8· ·right?

  ·9· · · · A· · I am in the distribution too.

  10· · · · Q· · So, again, this is another e-mail.· This is

  11· ·dated February 26, 2015.· It's Exhibit 124.· It's a

  12· ·payment detail and bank slip.· Do you see that?

  13· · · · A· · Yes.

  14· · · · Q· · It's an e-mail thread started by Todor,

  15· ·right?

  16· · · · A· · Yes.

  17· · · · Q· · Out of your office here in Florida.· And he

  18· ·did copy -- open copy the Hong Kong office by Honkit,

  19· ·right?

  20· · · · A· · Yes.

  21· · · · · · ·(Thereupon, Deposition Exhibit No. 125

  22· · · · · · · is marked for identification.)

  23· ·BY MR. MAZZOLA:

  24· · · · Q· · This is Exhibit 125.· It's an e-mail

  25· ·address -- it's an e-mail addressed to Tracy, it's


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 155 of
                                       309 01, 2023
                                      June                                      154

  ·1· ·started again by Todor, and it relates to ROK bank

  ·2· ·slips.· Do you see that?

  ·3· · · · A· · It relates to ROK payment details and ROK

  ·4· ·bank slips.· You guys didn't print the ROK payment

  ·5· ·details, just the bank slips.

  ·6· · · · Q· · It's a big document.· If we look at the -- I

  ·7· ·guess you have to look at it in native format.

  ·8· · · · A· · Sure.

  ·9· · · · Q· · But you would have gotten this e-mail, right?

  10· · · · A· · Absolutely.

  11· · · · Q· · And presumably you would have read it, right?

  12· · · · A· · I -- it means I cannot recollect, but I

  13· ·should have.

  14· · · · Q· · It looks like all the wire details, Rishi --

  15· ·not all of them -- but if you scan through the attached

  16· ·completed wire details, they are either set up or

  17· ·approved by you?

  18· · · · A· · They always have to be approved by me.

  19· · · · Q· · But some of them just say set up by Rishi.

  20· ·Let's look at the first one.

  21· · · · A· · Yes.

  22· · · · Q· · Does that mean you went onto the computer and

  23· ·went to the bank account and sent the wire?

  24· · · · A· · No, I think it was somebody set it up and I

  25· ·release it.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 156 of
                                       309 01, 2023
                                      June                                      155

  ·1· · · · Q· · There is an Exhibit 89, which is already

  ·2· ·before you.

  ·3· · · · A· · Yes.

  ·4· · · · Q· · This is a -- really a continuation of the

  ·5· ·e-mail thread that we introduced as Exhibit 120.

  ·6· · · · A· · Yes.· This is where both sides were

  ·7· ·correcting each other's records.

  ·8· · · · Q· · Is that because there were errors found in

  ·9· ·the records?

  10· · · · A· · Yes.· In some cases there were errors on our

  11· ·part, and in some cases there were errors on Benlida's

  12· ·part.· But there were four or five more e-mails in this

  13· ·chain, and then finally all errors were addressed.

  14· · · · Q· · It's believed all errors got addressed?

  15· · · · A· · Well, they flagged all errors and we

  16· ·addressed all the errors.

  17· · · · Q· · So all flagged errors were addressed?

  18· · · · A· · If that is the way you want to characterize

  19· ·it.

  20· · · · Q· · You are pretty confident in your team, right,

  21· ·the quality of the work they do?

  22· · · · A· · I am confident.

  23· · · · Q· · What did Ms. Chen mean at the top of this

  24· ·e-mail thread where she says, "These are payments in

  25· ·our system which are missing on your spreadsheet"?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 157 of
                                       309 01, 2023
                                      June                                      156

  ·1· · · · · · ·MR. ROSENTHAL:· Objection.

  ·2· · · · · · ·THE WITNESS:· There were payments which we

  ·3· · · · made --

  ·4· ·BY MR. MAZZOLA:

  ·5· · · · Q· · If you know what she means.

  ·6· · · · A· · There were payments which we made which were

  ·7· ·not showing as payments on our spreadsheet.

  ·8· · · · Q· · So she is letting you know, hey, guys, you

  ·9· ·made a payment, but you are not showing on the

  10· ·spreadsheet?

  11· · · · A· · But when she wrote that to us, then in a lot

  12· ·of cases we got back to them and showed them that they

  13· ·were on our spreadsheets.· And a couple of cases, yes,

  14· ·they were not on the spreadsheet.

  15· · · · Q· · How regular, if you recall, was the

  16· ·back-and-forth about discrepancies?

  17· · · · A· · So as we discussed, starting 2017 it started

  18· ·on a month-by-month basis.· Actually starting 2017 we

  19· ·started on a month-by-month basis, but we went back to

  20· ·2016 and 2015 and did it too.· So by the time 2019

  21· ·came, we had done all the way from 2015 to 2019.

  22· · · · Q· · But the back-and-forth regarding

  23· ·discrepancies started in 2017, because that is when you

  24· ·started doing the regular reconciliations?

  25· · · · A· · No.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 158 of
                                       309 01, 2023
                                      June                                      157

  ·1· · · · Q· · Why did it start in 2017?

  ·2· · · · A· · We just -- Benlida -- we decided that it's

  ·3· ·better to catch the problem right when it happens.· So

  ·4· ·rather than do it months and months after, just do it

  ·5· ·the next month.

  ·6· · · · Q· · So the intent of the parties back then was to

  ·7· ·try to catch these issues as soon as possible?

  ·8· · · · A· · Yes.

  ·9· · · · Q· · Are you confident that all the issues were

  10· ·caught?

  11· · · · A· · As confident as Benlida is, because we got

  12· ·confirmation from them that all the issues were caught.

  13· · · · Q· · There is another exhibit which I think is in

  14· ·front of you.· It's in the binder.· It's Exhibit 60.

  15· ·Do you see this e-mail dated January 2019?

  16· · · · A· · Yes.

  17· · · · Q· · And this is a meeting minute follow-up.           I

  18· ·presume you were on this telephone call?

  19· · · · A· · I have no reason to believe that I was not.

  20· ·I cannot recollect though.

  21· · · · Q· · Well, is it fair to say looking at the

  22· ·minutes that there is a -- some dispute as regarding

  23· ·the accuracy of the spreadsheet reconciliation that is

  24· ·in the first paragraph.

  25· · · · A· · I don't know which reconciliation it's in


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 159 of
                                       309 01, 2023
                                      June                                      158

  ·1· ·reference to.

  ·2· · · · Q· · But at a minimum someone is disagreeing with

  ·3· ·the accuracy of the reconciliation, right?

  ·4· · · · A· · Should be, but their was always

  ·5· ·back-and-forth rumor.· But, yes, should be.

  ·6· · · · Q· · You agree with that statement, right?

  ·7· · · · A· · I cannot agree with it with any sort of --

  ·8· ·without knowing which spreadsheet I will be talking

  ·9· ·about.

  10· · · · Q· · Is it fair to say in January of 2019 at a

  11· ·minimum, BLD is suggesting that accountants on both

  12· ·sides should set up a call conference to check on

  13· ·shipment records line-by-line?

  14· · · · · · ·MR. ROSENTHAL:· Paragraph 1 of the document?

  15· · · · · · ·MR. MAZZOLA:· Paragraph 1 of the meeting

  16· · · · minutes.

  17· · · · · · ·THE WITNESS:· So Benlida was making these

  18· · · · requests all the time, and I do not believe that

  19· · · · those requests were unreasonable requests between

  20· · · · two partners.· Even we do with customers and even

  21· · · · not customers.· But I don't know what

  22· · · · reconciliations.· The fact that somebody is asking

  23· · · · to do this is not out of the norm or is not --

  24· · · · yes.· But I do not know what this is about, but

  25· · · · yes, there is some sort of reconciliation which is


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 160 of
                                       309 01, 2023
                                      June                                      159

  ·1· · · · being requested.

  ·2· ·BY MR. MAZZOLA:

  ·3· · · · Q· · Do you see that a request for additional

  ·4· ·payment of $1 million was made?· It's at Paragraph 3.

  ·5· · · · A· · Yes, they are asking us to -- they were

  ·6· ·telling us to loan the money.

  ·7· · · · Q· · It doesn't say that.· It says payment.

  ·8· · · · A· · If you see additional e-mails in this time

  ·9· ·frame, you will see that they ask for -- this is the

  10· ·time frame in which they were talking about.· It

  11· ·started with 1 million, then it would go to 2 million,

  12· ·and there is a whole bunch of stuff going on.· And

  13· ·around this time frame is when they were also

  14· ·requesting for -- set up a loan agreement and

  15· ·everything else as in the past.

  16· · · · Q· · But it doesn't say that in this document?

  17· · · · A· · It doesn't say that in the document.

  18· · · · Q· · What was this that you promised to check your

  19· ·cash flow and tell them you could afford to pay in four

  20· ·days?

  21· · · · A· · We were paying ahead as seen in the payment

  22· ·details.· So we were -- this is where we sort of

  23· ·started putting our foot down and saying we cannot

  24· ·continue to -- the next two or three months we were

  25· ·supporting them and paying them more and more.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 161 of
                                       309 01, 2023
                                      June                                      160

  ·1· · · · Q· · Why would you promise to check the cash flow

  ·2· ·and then promise to pay to them?

  ·3· · · · A· · They needed help.· I was always helping them.

  ·4· · · · Q· · A million dollars is a lot of money, right?

  ·5· · · · A· · A million dollars is a lot of money.

  ·6· ·$12 million is more than $1 million.· They owe us

  ·7· ·$12 million.

  ·8· · · · Q· · They lost 12 million?

  ·9· · · · A· · They owe us 12 million.

  10· · · · Q· · You believe they owe you 12 million?· What --

  11· ·it looks like Tracy's chasing at the top of this e-mail

  12· ·thread, on the first page of it.· She says, "Hi Rishi.

  13· ·We are still waiting on the confirmation of 1 million

  14· ·US wired."

  15· · · · A· · Yes, because they were in a lot of financial

  16· ·trouble and they were in a lot of trouble with the tax

  17· ·authorities.· If you look at all the e-mails around

  18· ·this point in time, it seems as though the tax

  19· ·authorities were closing in on them, and this is where

  20· ·all their -- this is the time frame in which all the

  21· ·game plans and fabrications started.

  22· · · · Q· · Why would you be willing to pay her -- give

  23· ·her a million dollars in January of 2019?

  24· · · · A· · To -- to further our relationship.· In 2018

  25· ·we did 20 million, $25 million worth of business.· Both


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 162 of
                                       309 01, 2023
                                      June                                      161

  ·1· ·sides having a successful business relationship.· In

  ·2· ·this time frame also we were talking about merging the

  ·3· ·companies together.· So this is what you do for

  ·4· ·business -- this is what business partners do for each

  ·5· ·other.

  ·6· · · · Q· · In January 2019 -- well, they are asking for

  ·7· ·a million dollars, and it looks like you are

  ·8· ·considering it, right?

  ·9· · · · A· · I think I paid the million dollars.· I think

  10· ·I paid the million dollars then, and I think I paid

  11· ·another million dollars in March or April.

  12· · · · Q· · But you are describing them as being a bad

  13· ·company, a company who needs money, a company who needs

  14· ·to borrow money from you, they had tax problems.· Why

  15· ·are you giving them a million dollars, $2 million, over

  16· ·the course of four months?

  17· · · · A· · Respectfully, I have to say the only feedback

  18· ·I have to give you is that you do not desert your

  19· ·partners in time of need, and they were until that

  20· ·point in time a good partner.· They were helping us --

  21· ·if I called Douglas or Tracy, they would do whatever

  22· ·they could and they would try to help us.· We were

  23· ·trying to help them.· We were trying to get them out of

  24· ·the bind they were in.· They acknowledged in several

  25· ·e-mails that caused a big hole with the Tax Department.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 163 of
                                       309 01, 2023
                                      June                                      162

  ·1· ·So we were trying to help them out in whichever way we

  ·2· ·could.

  ·3· · · · Q· · So why did it end?

  ·4· · · · A· · They stopped accepting purchase orders from

  ·5· ·us.

  ·6· · · · Q· · When did they stop accepting purchase orders

  ·7· ·from you?

  ·8· · · · A· · Sorry.· They stopped accepting purchase

  ·9· ·orders without prepayment from us.

  10· · · · Q· · When did that happen?

  11· · · · A· · Sometime I think July or August -- August of

  12· ·2019.

  13· · · · Q· · Do you know why they did that?

  14· · · · A· · I think that they were trying to --

  15· · · · · · ·MR. ROSENTHAL:· Let the record reflect that

  16· · · · the witness's response got interrupted by the

  17· · · · screen going on.

  18· · · · · · ·THE WITNESS:· Sorry.· Repeat your question.

  19· · · · · · ·(The pending question is read

  20· · · · · · · back by the court reporter.)

  21· · · · · · ·THE WITNESS:· I believe that Mr. Huang wanted

  22· · · · to put our backs against the wall and try to

  23· · · · extract as much money as he could, which we did

  24· · · · not allow -- which we prevented -- which we did

  25· · · · not allow to happen.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 164 of
                                       309 01, 2023
                                      June                                      163

  ·1· ·BY MR. MAZZOLA:

  ·2· · · · Q· · Did you ever think that -- well, did you ever

  ·3· ·think that in your words Benlida needed the money --

  ·4· ·that Benlida needed the money because you guys weren't

  ·5· ·paying your bills?· Did you ever think that maybe the

  ·6· ·failure for you to pay bills created the problem?

  ·7· · · · A· · How does one do reconciliation, show them

  ·8· ·that we are not by this time -- this is August 2019.

  ·9· ·We had done that reconciliation, shown them that we

  10· ·were 250-some-thousand dollars ahead.· We had received

  11· ·acknowledgment from Tracy that she agreed with all our

  12· ·numbers, besides some $450,000 or whatever the case is.

  13· · · · · · ·So there was an acknowledgment from their

  14· ·side that we were not past due in any manner.· That was

  15· ·followed up with the November 2019 reconciliation --

  16· ·all these e-mails which we see with Ms. Chen -- that

  17· ·showed we were $7 million ahead.

  18· · · · Q· · But all this presumes that the

  19· ·reconciliations are accurate and the numbers are

  20· ·correct, right?

  21· · · · A· · So the way reconciliation is done is one

  22· ·party presents the numbers, the other party critiques

  23· ·it, the first party goes back and corrects or addresses

  24· ·the criticism, and then you have got your final

  25· ·numbers.· And that is the right process, and that is


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 165 of
                                       309 01, 2023
                                      June                                      164

  ·1· ·the process which was followed.· In January of 2020 it

  ·2· ·was established they owed us more than seven-plus

  ·3· ·million dollars, without taking lead time penalty and

  ·4· ·pricing increase into account.

  ·5· · · · Q· · In November?· In November?· You said November

  ·6· ·of 2019?

  ·7· · · · A· · In November we gave that data.· In

  ·8· ·November-December they gave us their feedback and

  ·9· ·criticisms.· We addressed that and gave them a final

  10· ·reconciliation in January of 2020 after we addressed

  11· ·all the feedback.

  12· · · · Q· · Let's look at the November 1.· That was

  13· ·Exhibit 120.· There were a number of attachments to it.

  14· · · · · · ·MR. MAZZOLA:· Stephen, what we will do is for

  15· · · · the attachments -- I assume you have all the

  16· · · · native documents as well -- we will just plop them

  17· · · · up on the screen.

  18· · · · · · ·MR. ROSENTHAL:· I guess you are not using the

  19· · · · Bates stamped ones.· It probably won't speed

  20· · · · things up in any way for us to try to pull them up

  21· · · · at the same time.· Jessica may have some of these,

  22· · · · like, certainly from this set of stuff.

  23· · · · · · ·MR. MAZZOLA:· She may.· Obviously she is your

  24· · · · Jessica, not ours.· Let's see how it goes.

  25· · · · · · ·MR. ROSENTHAL:· When you refer to a document,


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 166 of
                                       309 01, 2023
                                      June                                      165

  ·1· · · · describe it well enough so we will be able to

  ·2· · · · figure out --

  ·3· · · · · · ·MR. LERNER:· I will e-mail to you

  ·4· · · · simultaneously.

  ·5· · · · · · ·MR. ROSENTHAL:· If an e-mail has, like, three

  ·6· · · · or four attachments, if you can say the name of

  ·7· · · · the attachment.

  ·8· · · · · · ·MR. MAZZOLA:· Benlida Payment Details CTX-US

  ·9· · · · underscore -- we will do it that way.

  10· · · · · · ·THE WITNESS:· You do realize it is a big

  11· · · · spreadsheet.· It's got like 50 tabs.

  12· · · · · · ·MR. ROSENTHAL:· Just describe what you are

  13· · · · looking at.· We will make sure that the record is

  14· · · · clear.

  15· ·BY MR. MAZZOLA:

  16· · · · Q· · Let's look at this Exhibit 120.· This is

  17· ·the --

  18· · · · A· · Yes.

  19· · · · Q· · I think you were just referring to this,

  20· ·Rishi.· This is an e-mail from you dated November 1,

  21· ·2019, and you were referring to Benlida owing you

  22· ·$7.494 million, right?

  23· · · · A· · Which does not include lead time penalty,

  24· ·which would increase the numbers owed by even more.

  25· · · · Q· · Which you had said earlier you dropped out


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 167 of
                                       309 01, 2023
                                      June                                      166

  ·1· ·the lead time penalties?· You weren't including those,

  ·2· ·right?

  ·3· · · · A· · I did not say that.

  ·4· · · · Q· · I thought you did.

  ·5· · · · A· · I said I thought we would address the lead

  ·6· ·time penalties at the same time we addressed the price

  ·7· ·increase.· Remember, the lead time penalties from --

  ·8· ·the lead time penalties from December -- November of

  ·9· ·2017 until this point in time were not included.

  10· · · · Q· · From 2017 to now.· So that -- I beg your

  11· ·pardon -- that period of time there were no lead time

  12· ·penalties?

  13· · · · A· · There were.

  14· · · · Q· · You weren't including them?

  15· · · · A· · They were not included in these numbers.

  16· ·Details were sent to them.

  17· · · · Q· · So your point was that you were going to

  18· ·include these --

  19· · · · A· · In addition to this there would be lead time

  20· ·penalties.

  21· · · · Q· · This Exhibit 120, there is no reference to

  22· ·anything owed by CTX Hong Kong.· Why is that?

  23· · · · A· · Because this is Circuitronix US

  24· ·reconciliation.

  25· · · · Q· · There was another document that we introduced


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 168 of
                                       309 01, 2023
                                      June                                      167

  ·1· ·as Exhibit 121 --

  ·2· · · · A· · Yes.

  ·3· · · · Q· · -- and this is -- the subject line is Final

  ·4· ·Payment Reconciliation for CTX, Hong Kong, CTX USA, and

  ·5· ·ROK.· Do you see that subject line?

  ·6· · · · A· · I see the subject line.

  ·7· · · · Q· · This July document, it's from you as well.

  ·8· ·It's to the same group of people at Benlida.· This one

  ·9· ·includes what CTX Hong Kong owes Benlida.· Do you see

  10· ·that?

  11· · · · A· · As I told you, there are different

  12· ·reconciliations.· The July document is specific to all

  13· ·the payments made from December 1, 2016, until July 1,

  14· ·2019, because what Douglas and Tracy had told me is

  15· ·that we were not following the December 2014 -- 2016

  16· ·agreement, and I was trying to demonstrate to them that

  17· ·we were following it and we were 256,344.13.

  18· · · · Q· · That may be the case, but I am looking at

  19· ·this document in front of us, 121, and I am looking at

  20· ·the e-mail that you wrote that says, "Douglas --" here

  21· ·you are acknowledging that for Benlida, CTX Hong

  22· ·Kong -- that Benlida is owed $8.8 million.· Did you

  23· ·write that?

  24· · · · A· · I did.

  25· · · · Q· · My question is why would you produce the


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 169 of
                                       309 01, 2023
                                      June                                      168

  ·1· ·November reconciliation that you drop it off?

  ·2· · · · · · ·MR. ROSENTHAL:· Asked and answered.

  ·3· · · · · · ·THE WITNESS:· I can only give you the

  ·4· · · · information to the extent you will be willing to

  ·5· · · · understand what I am saying.

  ·6· · · · · · ·There are two separate goals with these

  ·7· · · · documents.· The first -- the July document has --

  ·8· · · · was addressing a concern which Douglas and Tracy

  ·9· · · · had, that when we started this December -- when we

  10· · · · came to this agreement in December of 2016, that

  11· · · · you guys would pay us next week for what we

  12· · · · shipped this week, they said that you guys are

  13· · · · breaching that December agreement, and I was

  14· · · · demonstrating to them no we were not.

  15· · · · · · ·So once I -- once I gave that to them,

  16· · · · then -- even prior to this we had given a

  17· · · · reconciliation like the one in November, we had

  18· · · · given one in March of 2019.· That also showed that

  19· · · · we were way ahead as far as payments were

  20· · · · concerned.· That is from 2015 to 2019.

  21· ·BY MR. MAZZOLA:

  22· · · · Q· · How about this then -- I appreciate your

  23· ·answers.· I appreciate your candor.· If you had

  24· ·included the Hong Kong numbers in this one, what would

  25· ·it have been?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 170 of
                                       309 01, 2023
                                      June                                      169

  ·1· · · · A· · I don't have the numbers in front of me, but

  ·2· ·we sent the Hong Kong numbers two to three months after

  ·3· ·this date.· We did send.· I don't have the numbers,

  ·4· ·because according to us this lawsuit is not about Hong

  ·5· ·Kong invoices.

  ·6· · · · Q· · Well, according to you it's not.

  ·7· · · · A· · As I said, I have to do -- I have to speak in

  ·8· ·accordance to what I believe, and those are my

  ·9· ·opinions.· And yes, I cannot speak for a third party.

  10· · · · Q· · Hong Kong is a third party now, right?

  11· · · · A· · No.· I cannot -- I cannot include Hong Kong

  12· ·because you believe Hong Kong should be included.· You

  13· ·are a third party.

  14· · · · Q· · It's is not my decision.

  15· · · · A· · Yes.

  16· · · · Q· · Perhaps you left Hong Kong numbers off 120,

  17· ·Exhibit 120, because if you had done that, it would

  18· ·have looked more favorable to Benlida?

  19· · · · A· · So perhaps if one understands that it's

  20· ·impossible to do two projects or three major projects

  21· ·at the same time.· So you complete one project and move

  22· ·to the next project.

  23· · · · · · ·Right after I sent the -- right -- emergently

  24· ·after I sent the earlier full reconciliation from 2015

  25· ·to 2019, Douglas asked me why -- Douglas and Tracy


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 171 of
                                       309 01, 2023
                                      June                                      170

  ·1· ·asked me to include Hong Kong, and we worked on it and

  ·2· ·we presented Hong Kong to them.· We presented Hong Kong

  ·3· ·to them.

  ·4· · · · Q· · You presented Hong Kong to Douglas and Tracy

  ·5· ·sometime after November 2019?

  ·6· · · · A· · No.

  ·7· · · · Q· · When did you present it to them?

  ·8· · · · A· · In March of 2019.

  ·9· · · · Q· · In March of 2019 you gave it to them?

  10· · · · A· · Yes.

  11· · · · Q· · You gave it to them before you gave them this

  12· ·one, 120?

  13· · · · A· · No.· In January of 2019 we presented US 2015

  14· ·to 2019, because that is the project which we had come

  15· ·up with together.· They asked for Hong Kong.· We gave

  16· ·them Hong Kong in March-April of 2019.

  17· · · · · · ·Then they came back, and since they realized

  18· ·that we were way ahead in our payments with whatever

  19· ·they asked for, then they started saying that when

  20· ·defaulted on what is shipped this week next week

  21· ·payment.· We gave them this July 2019 reconciliation.

  22· · · · · · ·Then they came back and said now we have to

  23· ·look between 2011 and 2015.· We objected and said that

  24· ·is not -- this is not something that was ever discussed

  25· ·between 2015 and now.· We worked on it and gave that to


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 172 of
                                       309 01, 2023
                                      June                                      171

  ·1· ·them.

  ·2· · · · Q· · This one over here, November 2019, this is

  ·3· ·the most up-to-date, most complete reconciliation?

  ·4· · · · · · ·MR. ROSENTHAL:· That is Exhibit 120?

  ·5· · · · · · ·THE WITNESS:· Yes, that is from 2019.· Up to

  ·6· · · · 2019.

  ·7· ·BY MR. MAZZOLA:

  ·8· · · · Q· · Up to 2019.· My question is why doesn't

  ·9· ·Exhibit 120 from November 1, 2019, include the Hong

  10· ·Kong numbers?

  11· · · · A· · The reason is because we never ever said we

  12· ·are going to go back from 2012 to 2015.· By this time

  13· ·we realized what they were doing.· We realized that

  14· ·they were just trying to find excuses.· They were

  15· ·asking for one thing, we were addressing the

  16· ·requirements, showing them we were in a no-pay

  17· ·situation.· We never agreed to go back to 2011, '12,

  18· ·'13, '14.· Never.· We did that -- we wrote that to

  19· ·them.· We never agreed to it, we were doing that as a

  20· ·favor, and that is what we did, and that is the final

  21· ·reconciliation.

  22· · · · Q· · That is where the favors ended?· You were not

  23· ·going to give them the Hong Kong numbers after

  24· ·November 2019, right?

  25· · · · A· · We gave them -- in April of 2019 we gave them


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 173 of
                                       309 01, 2023
                                      June                                      172

  ·1· ·the Hong Kong numbers.

  ·2· · · · Q· · But you were not going to give it to them

  ·3· ·after this one in November of 2019?

  ·4· · · · · · ·MR. ROSENTHAL:· Objection, asked and

  ·5· · · · answered.

  ·6· ·BY MR. MAZZOLA:

  ·7· · · · Q· · Is that correct?

  ·8· · · · A· · Because we realized at this point in time

  ·9· ·what they were doing.· They were just doing games.

  10· · · · Q· · Let's look at -- when you say they, who is

  11· ·they?· Name names.· Is it Tracy?

  12· · · · A· · So Tracy obviously just does what Mr. Huang

  13· ·was asking her to do, and Douglas was doing what

  14· ·Mr. Huang was asking him to do.· When I was in the room

  15· ·it was Ms. Chen, Mr. Huang, Tracy, Douglas and

  16· ·Ms. Liao.· I don't know how to pronounce the name.

  17· ·Tracy can help you.· The general manager, Mr. Liao.

  18· · · · · · ·MS. HUANG:· Liao?

  19· · · · · · ·THE WITNESS:· Mr. Liao.· Sorry.

  20· · · · · · ·MR. MAZZOLA:· Can you put this one up on the

  21· · · · screen?

  22· ·BY MR. MAZZOLA:

  23· · · · Q· · Rishi, we are going to try to put Exhibit 120

  24· ·up on the screen.

  25· · · · · · ·We are looking at Benlida Payment Details


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 174 of
                                       309 01, 2023
                                      June                                      173

  ·1· ·CTX-US_2012 to 2019.

  ·2· · · · · · ·MR. ROSENTHAL:· Attachment to Exhibit 120?

  ·3· · · · · · ·MR. MAZZOLA:· Yes, that is the attachment.

  ·4· · · · · · ·MR. ROSENTHAL:· The native format.

  ·5· ·BY MR. MAZZOLA:

  ·6· · · · Q· · You will see at the bottom there is a number

  ·7· ·of tabs.· What we are interested in is 2014.· That is

  ·8· ·the September tab.· Do you see that, Rishi?

  ·9· · · · A· · That is the -- yeah.· That is the

  10· ·September -- that is the September tab.

  11· · · · Q· · It's a payment detail?

  12· · · · A· · Sure, but what you have to understand is the

  13· ·September tab is different from what you are going to

  14· ·show me, because this September tab shows September

  15· ·payments being made in December.

  16· · · · Q· · I was going to go through that.· It's a

  17· ·September tab, payment detail dated December 2, 2014;

  18· ·is that right?

  19· · · · A· · Yes.

  20· · · · Q· · And off to the left you will see bill dates,

  21· ·and those are bill dates from earlier pursuant to the

  22· ·AMS 60, right?

  23· · · · A· · No, those are September bill dates.

  24· · · · Q· · That is right.

  25· · · · A· · So previously what you were seeing when we


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 175 of
                                       309 01, 2023
                                      June                                      174

  ·1· ·gave you a September payment detail, they were taking

  ·2· ·invoices from June.· They were taking invoices from

  ·3· ·June.

  ·4· · · · Q· · But in any event, this is a payment detail

  ·5· ·that reflects the payments that were made in September;

  ·6· ·is that correct?

  ·7· · · · A· · Yes.

  ·8· · · · Q· · And if you scroll down towards the bottom you

  ·9· ·will see those payments, right?

  10· · · · A· · Yes.

  11· · · · · · ·MR. ROSENTHAL:· Object to the form.

  12· ·BY MR. MAZZOLA:

  13· · · · Q· · Do you see those payments?

  14· · · · A· · I do.

  15· · · · · · ·MR. ROSENTHAL:· Clarifying question.· I don't

  16· · · · want to confuse this.· The top of this document

  17· · · · says December, okay.· The payments that you were

  18· · · · just talking about in your question are referring

  19· · · · to things that say November.· I want to be clear.

  20· · · · And the tab says September.· So there is a lot of

  21· · · · information we are looking at.

  22· · · · · · ·MR. MAZZOLA:· I peg your pardon.· It does say

  23· · · · that.

  24· ·BY MR. MAZZOLA:

  25· · · · Q· · At the bottom of this payment document you


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 176 of
                                       309 01, 2023
                                      June                                      175

  ·1· ·will see there are payments made.· Do you see the

  ·2· ·payments made?

  ·3· · · · A· · Yes.

  ·4· · · · Q· · Now, those payments were made in -- they are

  ·5· ·made in November and December.· Why are they made at

  ·6· ·that time?

  ·7· · · · A· · They are made in that time because September

  ·8· ·invoices are paid in December.

  ·9· · · · Q· · So those -- that reflects timely payment then

  10· ·in your mind?

  11· · · · A· · Yes.

  12· · · · Q· · There is two payments that I want to draw

  13· ·your attention to.· One is a payment made on

  14· ·December 9, 2014.· Do you see that?

  15· · · · A· · Yes.

  16· · · · Q· · And that is for $935,575.54?

  17· · · · A· · Yes.

  18· · · · Q· · And then there is another payment below that

  19· ·that was made on December 11, 2014, for $918,223.93.

  20· ·Do you see that?

  21· · · · A· · Yes.

  22· · · · Q· · And those are payments that would have been

  23· ·made back in 2014 according to your people's records,

  24· ·right?

  25· · · · A· · Yes.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 177 of
                                       309 01, 2023
                                      June                                      176

  ·1· · · · Q· · This spreadsheet was prepared by your people,

  ·2· ·right?

  ·3· · · · A· · Yes.

  ·4· · · · Q· · Now, let's look at the spreadsheet that is up

  ·5· ·there.· This is the payment details.· Do you see that?

  ·6· · · · A· · Yes.

  ·7· · · · Q· · It's payment detail December 2, and the first

  ·8· ·bill number is ends in 3001.· Do you see that?

  ·9· · · · A· · Yes.

  10· · · · Q· · If you scroll down to the bottom, the last

  11· ·debit memo ends in 0924.· Do you see that?

  12· · · · A· · Yes.

  13· · · · Q· · Now, I am just doing that to make sure we are

  14· ·looking at the same one.

  15· · · · · · ·If you draw your attention to an exhibit we

  16· ·marked earlier today as 122 -- do you see that?

  17· · · · · · ·MR. ROSENTHAL:· Let me pull it out.

  18· ·BY MR. MAZZOLA:

  19· · · · Q· · This is an e-mail from Todor.

  20· · · · A· · Yes.

  21· · · · Q· · It's dated December 4, 2014, right?

  22· · · · A· · Yes.

  23· · · · Q· · And so it could have been -- we are now

  24· ·looking in this document, 122, at the contemporaneous

  25· ·e-mail as was sent by Todor around about the time,


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 178 of
                                       309 01, 2023
                                      June                                      177

  ·1· ·right?

  ·2· · · · · · ·MR. ROSENTHAL:· Would you mind scrolling to

  ·3· · · · the top?

  ·4· · · · · · ·MR. MAZZOLA:· We will scroll to the top and

  ·5· · · · make sure we have the right thing.

  ·6· ·BY MR. MAZZOLA:

  ·7· · · · Q· · If you look, is it fair to say then that the

  ·8· ·payment detail that is attached to Todor's e-mail of

  ·9· ·December 4, 2014, is the same payment detail that is on

  10· ·the screen?· I tried to highlight the bill numbers.

  11· · · · A· · Again -- let me just answer this question.            I

  12· ·can't believe that you guys are -- after this document

  13· ·was sent, Ms. Chen gave us feedback.· She clearly

  14· ·flagged those two payments, errors associated with

  15· ·those two payments.

  16· · · · · · ·After they flagged the errors associated with

  17· ·the payment, payment details were revised.· A revised

  18· ·e-mail was given in January of 2019.· So it was

  19· ·corrected.

  20· · · · · · ·So, yes, there was an error there.· Ms. Chen

  21· ·flagged the errors, if you look at the feedback which

  22· ·is provided, the payment details were corrected, and a

  23· ·revised document was circulated.

  24· · · · Q· · That is fine.· I am not asking for -- I am

  25· ·trying to understand what happened.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 179 of
                                       309 01, 2023
                                      June                                      178

  ·1· · · · A· · I believe that you guys also should know what

  ·2· ·has happened, and it's not -- I have sat here for the

  ·3· ·last -- I have repeated at least on three or four

  ·4· ·occasions about the process which happened after we

  ·5· ·sent the November 1 e-mail.

  ·6· · · · Q· · Rishi, this is called discovery.· I am

  ·7· ·discovering.· So it's a journey we are going to take

  ·8· ·together, okay?

  ·9· · · · A· · Sure, sure.

  10· · · · Q· · So let's continue this journey.

  11· · · · · · ·I want to scroll back down on this.· There

  12· ·are payments of 935, 918, that you were telling -- your

  13· ·team was telling Benlida were made in December of 2014.

  14· ·That is what this document says, right?

  15· · · · A· · That is correct.

  16· · · · Q· · Todor's document, Exhibit 122, which is made

  17· ·contemporaneously --

  18· · · · A· · Not contemporaneously.

  19· · · · Q· · It was produced December 14?

  20· · · · A· · After the feedback given by Ms. Chen.

  21· · · · Q· · No, 122 is dated 2014?

  22· · · · A· · It's one month after 2014.

  23· · · · Q· · This document, 122, was created in 2014?

  24· · · · A· · Sure, sure, yes.

  25· · · · Q· · The document on the screen was created in


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 180 of
                                       309 01, 2023
                                      June                                      179

  ·1· ·2019?

  ·2· · · · A· · Sure.

  ·3· · · · Q· · In 2014, on this document that was created by

  ·4· ·Todor, there is no reference to those payments, the 918

  ·5· ·and the 935.· Do you see that?

  ·6· · · · A· · I do.

  ·7· · · · Q· · My question is what is the accurate document;

  ·8· ·is it the one that Todor created in 2014, or is it the

  ·9· ·one you created in 2019?

  10· · · · A· · There is another version of this document

  11· ·created after the feedback which we got from Ms. Chen,

  12· ·and there was a revised reconciliation sent between

  13· ·2012 and 2019 in January of 2020.

  14· · · · Q· · Another interesting thing about these

  15· ·documents together, in 2014 when Todor sent the payment

  16· ·detail and bank slips for the payments made in

  17· ·September, he says that the total at the bottom is

  18· ·actually a credit.· Do you see that?

  19· · · · A· · Credit of 5,821.

  20· · · · Q· · Not a big credit.· But then five years later,

  21· ·if we look at this screen here, it's no longer a

  22· ·credit, it's a debit.

  23· · · · A· · It's a credit too.

  24· · · · Q· · It's something you are saying Benlida owes

  25· ·you?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 181 of
                                       309 01, 2023
                                      June                                      180

  ·1· · · · A· · Yes.

  ·2· · · · Q· · How does that happen, that you go from you

  ·3· ·owing Benlida $5,000 in 2014, then you guys work up the

  ·4· ·numbers in November 2019, and now for this month

  ·5· ·Benlida owes you $1.1 million.· How does that happen?

  ·6· · · · A· · As I said, there was a mistake which was

  ·7· ·made.· Ms. Chen flagged the mistake and it was

  ·8· ·corrected.

  ·9· · · · Q· · Are there any other mistakes that may not

  10· ·have been flagged?

  11· · · · A· · Ms. Chen flagged the mistakes which she

  12· ·believed were the mistakes made, and we corrected the

  13· ·mistakes.

  14· · · · Q· · I don't mean to be difficult, but it looks to

  15· ·me like you are trying to get one over on Benlida,

  16· ·telling them that they you $1.1 million?

  17· · · · · · ·MR. ROSENTHAL:· Objection.

  18· · · · · · ·THE WITNESS:· So obviously you are entitled

  19· · · · to believe what you would like to believe, but we

  20· · · · have a revised -- we have a revised spreadsheet

  21· · · · reconciliation which clearly shows that this was

  22· · · · corrected.

  23· ·BY MR. MAZZOLA:

  24· · · · Q· · Were those payments of 935 and 918, were they

  25· ·ever made?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 182 of
                                       309 01, 2023
                                      June                                      181

  ·1· · · · A· · They were made, but they were made in

  ·2· ·different amounts.· If you look at Ms. Chen's e-mail,

  ·3· ·she shows what you call -- remember the e-mail where

  ·4· ·she said we missed payments?

  ·5· · · · · · ·You had this e-mail out here, this document

  ·6· ·No. 89.· Document No. 89 shows we missed $898,000 in

  ·7· ·payments.

  ·8· · · · Q· · Let's look at Exhibit 123 in the paper

  ·9· ·version.· These are, again, payment details.· Do you

  10· ·see that?

  11· · · · A· · Yes.

  12· · · · Q· · It's a payment detail from -- dated

  13· ·January 1, 2015, and another one dated February 1,

  14· ·2015.

  15· · · · A· · Yes.

  16· · · · Q· · And these reflect payments on bills from the

  17· ·end of September through the end of October on the

  18· ·first one, and then -- really the end of October it

  19· ·looks like -- with debit memos through December 31 on

  20· ·the second one.· Do you see that?

  21· · · · A· · Yes.

  22· · · · Q· · And I double checked these to see if the

  23· ·918,000 and the 935,000-dollar payments are there, and

  24· ·they are not there, are they?

  25· · · · A· · They are not.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 183 of
                                       309 01, 2023
                                      June                                      182

  ·1· · · · Q· · So they never happened?

  ·2· · · · A· · Yes, but if you look at Ms. Chen's e-mail

  ·3· ·from Exhibit 89, you will see what happened.

  ·4· · · · Q· · Not everything was -- let's look back to the

  ·5· ·spreadsheet, same one.· Let's look at April.

  ·6· · · · · · ·MR. ROSENTHAL:· You are going to the

  ·7· · · · April 2014 tab?

  ·8· · · · · · ·MR. MAZZOLA:· Nineteen.

  ·9· · · · · · ·MR. ROSENTHAL:· Can we take five?

  10· · · · · · ·(Thereupon, there is a short break.)

  11· ·BY MR. MAZZOLA:

  12· · · · Q· · We are looking at Exhibit 120, and we drilled

  13· ·down to Benlida payment details CTX US 2012 to 2019?

  14· · · · · · ·MR. ROSENTHAL:· He has 123 in front of him.

  15· · · · Are you going back to 120?

  16· · · · · · ·MR. MAZZOLA:· Yes, back to 120.

  17· · · · · · ·MR. ROSENTHAL:· Okay, we are with you.

  18· · · · · · ·MR. MAZZOLA:· We are going to drill down to

  19· · · · April 2019.

  20· · · · · · ·MR. ROSENTHAL:· We are on the Excel

  21· · · · spreadsheet that is the Benlida Payment Details

  22· · · · CTX US 2012 to 2019, the Excel spreadsheet

  23· · · · attached to Exhibit 120.

  24· ·BY MR. MAZZOLA:

  25· · · · Q· · And, Rishi, do you see this is a payment


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 184 of
                                       309 01, 2023
                                      June                                      183

  ·1· ·detail from July 1, 2019?

  ·2· · · · A· · I do.

  ·3· · · · Q· · And it's relating to the payment of bills in

  ·4· ·April of 2019.· If you can scroll down all the way to

  ·5· ·the bottom.

  ·6· · · · · · ·MR. ROSENTHAL:· Can you go up a little bit?

  ·7· · · · Thank you.

  ·8· · · · · · ·MR. LERNER:· Do you need to see more of it?

  ·9· · · · · · ·MR. MAZZOLA:· I want to see the bottom of it.

  10· · · · · · ·THE WITNESS:· I am good.

  11· ·BY MR. MAZZOLA:

  12· · · · Q· · This payment detail -- this payment detail at

  13· ·the bottom has a credit?

  14· · · · A· · Yes.

  15· · · · Q· · This is -- it says July 1, 2019, CTX US

  16· ·credit balance, 4.823 million?

  17· · · · A· · Yes.

  18· · · · Q· · So what you are saying there is that on

  19· ·July 1, 2019, as of this spreadsheet which is from

  20· ·November 1, the master one from November 1, 2019,

  21· ·Benlida owes -- I guess you are saying they owe CTX US

  22· ·$4.8 million.· Is that what you are saying?

  23· · · · A· · I am.

  24· · · · Q· · Now, we went back and we looked -- I don't

  25· ·know if you can split screen --


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 185 of
                                       309 01, 2023
                                      June                                      184

  ·1· · · · · · ·MR. ROSENTHAL:· You can minimize.

  ·2· · · · · · ·MR. MAZZOLA:· Leave it up.

  ·3· ·BY MR. MAZZOLA:

  ·4· · · · Q· · If we look at Exhibit 121 -- do you have it

  ·5· ·in front of you?

  ·6· · · · A· · I do.

  ·7· · · · Q· · Again, this is an e-mail from you to Douglas,

  ·8· ·and presumably the information that you wrote in the

  ·9· ·e-mail you got from a reliable source at CTX?

  10· · · · A· · Yes, I did.

  11· · · · Q· · And you say, "As per our conversation, please

  12· ·find attached payment details for July 1, 2009 (sic),

  13· ·for the April invoices."· What you are looking at is

  14· ·the payment details for July 1, 2019, for the April

  15· ·invoices that were sent in November 2019, right?

  16· · · · · · ·MR. ROSENTHAL:· Are you gesturing to the

  17· · · · computer screen?

  18· · · · · · ·MR. MAZZOLA:· Yes.

  19· · · · · · ·THE WITNESS:· But seriously, please.· I told

  20· · · · you -- this is my fifth time I am telling this to

  21· · · · you.· I will explain it again.· This sheet is not

  22· · · · a master reconciliation.· This sheet is --

  23· · · · · · ·MR. ROSENTHAL:· You are saying this sheet --

  24· · · · · · ·THE WITNESS:· Exhibit 121 is for shipments

  25· · · · made on -- starting December 1 to what was paid


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 186 of
                                       309 01, 2023
                                      June                                      185

  ·1· · · · next week.· This is just that.· This is a subset

  ·2· · · · of 12 months in 2017, 12 months in 2018 -- 24

  ·3· · · · months -- six months in 2019, and one month in

  ·4· · · · 2016.· That is the subset.

  ·5· ·BY MR. MAZZOLA:

  ·6· · · · Q· · That is fine.· I am just asking you to look

  ·7· ·at some numbers with me.· That is all.

  ·8· · · · A· · Sure.

  ·9· · · · Q· · You will get your chance to explain.· I just

  10· ·want to look at some numbers with you.

  11· · · · A· · Sure.

  12· · · · Q· · I am just inquiring why when this spreadsheet

  13· ·was provided, the reconciliation -- I am pointing up at

  14· ·the screen -- Exhibit 120 and at the screen -- was

  15· ·provided to Benlida, you showed that on the April

  16· ·invoices with the July 1, 2019 payment details, Benlida

  17· ·owed you guys $4.8 million.· Then back in July,

  18· ·earlier -- sometimes it's in your favor -- you have

  19· ·$5.7 million is owed.

  20· · · · · · ·Why the discrepancy?· It's in my client's

  21· ·favor, I admit that, but why the discrepancy?

  22· · · · A· · It's not in your client's favor.· Firstly,

  23· ·you come back to Exhibit 120 -- sorry, you are still on

  24· ·121.

  25· · · · · · ·So firstly, the issue is that this is a --


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 187 of
                                       309 01, 2023
                                      June                                      186

  ·1· ·you are comparing apples to oranges, okay.· What this

  ·2· ·is, as I told you, in 2016 we were told starting

  ·3· ·December 1 what ships one week we will pay next week.

  ·4· ·So this was a reconciliation.

  ·5· · · · · · ·So Douglas came and Tracy came to me and

  ·6· ·said, Rishi, what you told us in December 2016 that you

  ·7· ·are going to pay one week, pay this week for what

  ·8· ·shipped last week, you are not keeping up with it.· And

  ·9· ·I said no, no, let me show you I am keeping up with it.

  10· · · · · · ·So I created -- if -- if you look at the

  11· ·first entry on the spreadsheet, it starts on 12/1/2016,

  12· ·okay.· So it starts on 12/1/2016.· If you look at the

  13· ·last entry on that sheet, it ends on 7/20/2019.· Not

  14· ·the payments.

  15· · · · Q· · I believe you.· Okay.

  16· · · · A· · Okay.· So this is just a subset.· So it's an

  17· ·apples-to-oranges comparison.· You want to do

  18· ·orange-to-orange, apple-to-apple comparison.· I will

  19· ·help you.

  20· · · · · · ·Go to Exhibit 120.· Now, look at the number

  21· ·which says 5.314 million down there.

  22· · · · Q· · I see that, yes.

  23· · · · A· · Obviously it's cut off, but --

  24· · · · Q· · Close enough.

  25· · · · A· · It says invoices through the month of July.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 188 of
                                       309 01, 2023
                                      June                                      187

  ·1· ·So go to your right, May --

  ·2· · · · Q· · We will do this with you.

  ·3· · · · · · ·MR. ROSENTHAL:· You are now talking about the

  ·4· · · · Excel spreadsheet on the screen which is an

  ·5· · · · attachment to Exhibit 120.· July 20, '19 tab on

  ·6· · · · the bottom.

  ·7· · · · · · ·THE WITNESS:· You see that number, five three

  ·8· · · · one four --

  ·9· ·BY MR. MAZZOLA:

  10· · · · Q· · I see that.· It matches the front page of the

  11· ·same exhibit.

  12· · · · A· · But what I am here to tell you, there is a

  13· ·slight error in that number.· The error was that there

  14· ·were payments where you saw in the September -- in the

  15· ·September 2014 -- those two big payments of 935,000 and

  16· ·918,000.

  17· · · · · · ·So Ms. Chen provided us with a list of

  18· ·payments on our spreadsheet which were not received.

  19· ·The total of those statements was close to

  20· ·$2.5 million.· And then on the same spreadsheet, she

  21· ·provided us payments which she had received, which were

  22· ·not on our spreadsheet, which were not on this sheet,

  23· ·and those payments totaled $2.47 million.

  24· · · · · · ·So there was a 33,000-dollar benefit once we

  25· ·took out the payments which Ms. Chen said you have not


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 189 of
                                       309 01, 2023
                                      June                                      188

  ·1· ·received and we agreed with her, and we put in the

  ·2· ·payments which we had sent.

  ·3· · · · Q· · So Ms. Chen said you missed 2.5 million in

  ·4· ·payments?

  ·5· · · · A· · She said that you put 2.5 million in which we

  ·6· ·did not get, which Benlida did not get.· And she said

  ·7· ·you made 2.47 million in payments which Benlida got but

  ·8· ·you did not include in your sheet.

  ·9· · · · Q· · So in your records you made reference to

  10· ·2.5 million in payments that you never made to Benlida,

  11· ·right?· That is the first one, right?

  12· · · · A· · Yes.

  13· · · · Q· · And your records also reflected or failed to

  14· ·reflect $2.4 million that you paid to Benlida?

  15· · · · A· · 2.47, yes.

  16· · · · Q· · Those are your records, Rishi.· I don't know

  17· ·how that is good.

  18· · · · · · ·MR. ROSENTHAL:· Is there a question?

  19· · · · Objection.· Don't answer until there is a

  20· · · · question.

  21· ·BY MR. MAZZOLA:

  22· · · · Q· · Do you think that is good, Rishi?

  23· · · · A· · The issue is if you -- the fact that the

  24· ·numbers are so close, yes, we should -- what somebody

  25· ·in our company did was they took three payments in the


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 190 of
                                       309 01, 2023
                                      June                                      189

  ·1· ·$2.47 million and clumped them together into 900-some

  ·2· ·thousand.· There was payments from 2014.· They should

  ·3· ·have been more accurate in terms of putting it in the

  ·4· ·right place.· Acknowledge.· But net, it did not have an

  ·5· ·impact on the numbers.· It had an impact on the numbers

  ·6· ·by $30,000 or something of that sort.· And the e-mail

  ·7· ·from Ms. Chen on 11/22 has a spreadsheet which shows

  ·8· ·the information I just told you about.

  ·9· · · · Q· · Okay, let's look at another example.

  10· · · · · · ·Todor didn't get fired?

  11· · · · A· · He did not.· He did the right thing.· Why

  12· ·would Todor get involved?

  13· · · · Q· · I don't know.· I thought he was messing up

  14· ·numbers.· Did he mess up numbers?

  15· · · · A· · No.

  16· · · · Q· · But mistakes were made with the numbers,

  17· ·right?

  18· · · · A· · Mistakes were made on both side, yes.· There

  19· ·were mistakes made, and when reconciled and everything

  20· ·was fixed.

  21· · · · Q· · Now that we are talking about mistakes --

  22· · · · · · ·MR. ROSENTHAL:· Are we done with these

  23· · · · documents?

  24· · · · · · ·MR. MAZZOLA:· No, we are just bouncing.

  25


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 191 of
                                       309 01, 2023
                                      June                                      190

  ·1· · · · · · ·(Thereupon, Deposition Exhibit No. 126

  ·2· · · · · · · is marked for identification.)

  ·3· ·BY MR. MAZZOLA:

  ·4· · · · Q· · Rishi, I am going to put 126 in front of you.

  ·5· ·This is a long-ish e-mail thread, but if you look at it

  ·6· ·you can probably see what I am getting at.· This is an

  ·7· ·e-mail from August 31, 2016.· Do you see that Rishi?

  ·8· · · · A· · Yes.

  ·9· · · · Q· · And there is a longer thread to it, but what

  10· ·I am interested really in is the top of it.

  11· · · · · · ·You advise him that you wired $450,000 to

  12· ·Benlida.· Do you see that, Rishi, at the top of the

  13· ·e-mail thread?

  14· · · · A· · I do.

  15· · · · Q· · And it turns out you made a mistake and only

  16· ·wired 400?

  17· · · · A· · Yes.

  18· · · · Q· · Did that happen a lot?

  19· · · · A· · I don't think so, but whenever it happened it

  20· ·was corrected through the reconciliation process.

  21· · · · Q· · But mistakes were happening, right?

  22· · · · A· · Mistakes were happening on both sides.· This

  23· ·may look like big mistakes, but these are not big

  24· ·mistakes.· There were so many times there were

  25· ·shipments which were made by Benlida where she said she


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 192 of
                                       309 01, 2023
                                      June                                      191

  ·1· ·shipped a part number, and the part number didn't show

  ·2· ·up at the warehouse.· And you went back to them and

  ·3· ·they said, oh, yeah, we found it lying on the dock.

  ·4· ·The person forgot.

  ·5· · · · · · ·So mistakes like these, you can make a

  ·6· ·mountain out of a molehill, but it's not, like, they

  ·7· ·are caught -- like on August 31, 2016, 10:53 a.m. I

  ·8· ·said I wired 450K, and right after that I wired 400K.

  ·9· ·It's the same day.· It's not like --

  10· · · · Q· · But it happens, right?· Mistakes would

  11· ·happen?

  12· · · · A· · Mistakes happen.· Mistakes happen, yes.

  13· · · · Q· · Let's look at a couple more things on this.

  14· ·I know I am bouncing around.

  15· · · · · · ·If you look at the bottom of this thread on

  16· ·the first page, bottom of the page, you see how -- you

  17· ·say I sent 400K from USA to ROK and 130,000 from HKG to

  18· ·Benlida.· That was you making that payment from the

  19· ·Hong Kong operation?

  20· · · · · · ·MR. ROSENTHAL:· Object to form.

  21· · · · · · ·THE WITNESS:· So the wires are set up by the

  22· · · · accountant, and I release it.

  23· ·BY MR. MAZZOLA:

  24· · · · Q· · Were you responsible for releasing wires from

  25· ·the Hong Kong operation?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 193 of
                                       309 01, 2023
                                      June                                      192

  ·1· · · · A· · Sometimes I was.

  ·2· · · · Q· · Why -- let's look at Exhibit 121.

  ·3· · · · A· · Sure.

  ·4· · · · Q· · How is it that -- regardless of, you know,

  ·5· ·this was the you shipped this week you get paid next

  ·6· ·week, apples-to-oranges -- regardless if this is an

  ·7· ·apple or orange or banana -- I don't really care -- but

  ·8· ·how is it that by July of 2019 according to your own

  ·9· ·records -- your own records -- you guys owed Benlida

  10· ·$8.8 million for Circuitronix Hong Kong POs?

  11· · · · · · ·MR. ROSENTHAL:· Object to form.· Foundation.

  12· · · · · · ·THE WITNESS:· How did it happen?

  13· ·BY MR. MAZZOLA:

  14· · · · Q· · Yes.

  15· · · · A· · They were -- they wanted -- they wanted money

  16· ·from the US.· We were paying from the US.· And they

  17· ·wanted a loan from the US, so we would give them loan

  18· ·from the US.· We wanted to give them loans from the US

  19· ·so we can enforce the laws, which we did not believe

  20· ·that we could do it in Hong Kong.

  21· · · · Q· · We talked about loans before.· There is no

  22· ·loan documents, right?· Is that correct?· You know what

  23· ·a loan document looks like, right?

  24· · · · A· · I do.

  25· · · · Q· · There were no loan documents per se, right?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 194 of
                                       309 01, 2023
                                      June                                      193

  ·1· · · · A· · There were no loan documents, but there were

  ·2· ·several exchanges -- there were several exchanges where

  ·3· ·they were saying that these payments should be treated

  ·4· ·as a loan.

  ·5· · · · Q· · Putting that aside, what I want to

  ·6· ·understand -- that explains the negative numbers on

  ·7· ·this e-mail at Exhibit 121.· What I want to understand

  ·8· ·is the 8.8 million that you write -- it's your e-mail,

  ·9· ·right?· You see that?

  10· · · · A· · Absolutely.

  11· · · · Q· · Where it says we owe 8.8 million?

  12· · · · A· · Yes.

  13· · · · Q· · What was that for?

  14· · · · A· · Circuitronix Hong Kong owed 8.8 million.

  15· · · · Q· · And you write we.· Why do you write we?

  16· · · · A· · Circuitronix Hong Kong.

  17· · · · Q· · But why do you write we?

  18· · · · A· · As I said, Circuitronix Hong Kong is under my

  19· ·control.

  20· · · · Q· · You wouldn't have written we owe 8.8 million

  21· ·to Benlida if Benlida did not deliver product worth

  22· ·$8.8 million; is that correct?

  23· · · · A· · I am not challenging that we owed Benlida

  24· ·$8.8 million minus lead time penalty, minus what was

  25· ·owed for the lead time people, and what was owed for


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 195 of
                                       309 01, 2023
                                      June                                      194

  ·1· ·the lead time penalty was close to $6.5 million.

  ·2· · · · Q· · For the Hong Kong items?

  ·3· · · · A· · For -- I don't have the exact split, the

  ·4· ·exact break in my mind, but yes.

  ·5· · · · Q· · So when you said less the 6.5 million in lead

  ·6· ·time penalty, you are referring to Hong Kong purchase

  ·7· ·orders, right?

  ·8· · · · A· · No, 6.5 was between Hong Kong and the US.

  ·9· · · · Q· · So why are you -- why are you mixing it all

  10· ·up?· I thought they were separate?

  11· · · · A· · They are all separate.

  12· · · · Q· · But if they are all separate, why are you

  13· ·mixing it all up then?

  14· · · · A· · So at the end of the day you are questioning

  15· ·me about Hong Kong invoices, and I do not believe that

  16· ·this lawsuit is about Hong Kong invoices.· I do not

  17· ·have exact numbers for Hong Kong with myself.

  18· · · · Q· · But your lawyers would have asked you -- did

  19· ·your lawyers ask you to provide discovery?

  20· · · · · · ·MR. ROSENTHAL:· I am going to instruct you

  21· · · · not to answer the question.· You are asking what

  22· · · · his lawyers told him.· That is not appropriate.

  23· ·BY MR. MAZZOLA:

  24· · · · Q· · You read the Complaint, right?

  25· · · · A· · I read the Complaint.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 196 of
                                       309 01, 2023
                                      June                                      195

  ·1· · · · Q· · It's Exhibit 62.· Let's look at it.· Let's go

  ·2· ·to Page 37.

  ·3· · · · A· · I have gone through it.

  ·4· · · · Q· · It's long, but let's go to Page 37.

  ·5· · · · A· · Yes.

  ·6· · · · Q· · There are invoice numbers referenced there,

  ·7· ·right?

  ·8· · · · A· · Yes.

  ·9· · · · Q· · They say HK on them, right?

  10· · · · A· · Yes.

  11· · · · Q· · That means these are invoices from purchase

  12· ·orders out of the Hong Kong office, right?

  13· · · · A· · Yes.

  14· · · · Q· · So why do you say you don't know anything

  15· ·about a claim for Hong Kong unpaid invoices?

  16· · · · · · ·MR. ROSENTHAL:· Objection.· Misstates

  17· · · · testimony.

  18· · · · · · ·THE WITNESS:· So as I said, following this --

  19· · · · following this Complaint we filed a motion to

  20· · · · dismiss -- we filed our response, and in our

  21· · · · response we basically objected to this being the

  22· · · · proper venue for any claims against Hong Kong

  23· · · · invoices.

  24· · · · · · ·And we in our response to your -- in your

  25· · · · request we did advise that we would provide all


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 197 of
                                       309 01, 2023
                                      June                                      196

  ·1· · · · information related to Circuitronix US

  ·2· · · · transactions.· So we did communicate what we

  ·3· · · · believed our position generally is.

  ·4· ·BY MR. MAZZOLA:

  ·5· · · · Q· · But you do know based upon this document that

  ·6· ·Benlida is suing you here in the US --

  ·7· · · · A· · Yes.

  ·8· · · · Q· · -- CTX LLC for payment of these Hong Kong

  ·9· ·invoices?· You know that, right?

  10· · · · · · ·MR. ROSENTHAL:· Objection to suing you.

  11· · · · · · ·MR. MAZZOLA:· CTX.

  12· · · · · · ·THE WITNESS:· I do.

  13· ·BY MR. MAZZOLA:

  14· · · · Q· · I want to go back to Exhibit 121.          I

  15· ·understand what you are saying.· I am trying to

  16· ·understand in July of 2019 what's this $8.8 million

  17· ·that you say we owe Benlida for.

  18· · · · A· · So as I said, the lead time penalties had not

  19· ·been -- we have not debited Benlida for the lead time

  20· ·penalty.

  21· · · · Q· · You had not yet debited for the lead time

  22· ·penalties as of July 29 --

  23· · · · A· · Between November 2017 and -- November 2017

  24· ·and July 2019.

  25· · · · Q· · Okay.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 198 of
                                       309 01, 2023
                                      June                                      197

  ·1· · · · A· · And at the end of the day, we believed that

  ·2· ·we -- we believed that any moneys owed to Circuitronix

  ·3· ·Hong Kong would have been offset with those lead time

  ·4· ·penalties.

  ·5· · · · Q· · But you don't write that here?

  ·6· · · · A· · "All in all Benlida owes us 256,334.14.· This

  ·7· ·does not take lead time penalty and price increase into

  ·8· ·account, which only increase the amount of money owed

  ·9· ·to Circuitronix."

  10· · · · Q· · And you are saying the lead time penalty

  11· ·would have been $6 million?

  12· · · · · · ·MR. ROSENTHAL:· Objection.

  13· · · · · · ·THE WITNESS:· Around this time it should have

  14· · · · been around $6.5 million, yes.

  15· ·BY MR. MAZZOLA:

  16· · · · Q· · Let me ask you about the lead time penalties

  17· ·again.· They are in the contract, the Manufacturing

  18· ·Agreement, right?

  19· · · · A· · The methodology is not in the Manufacturing

  20· ·Agreement.

  21· · · · Q· · But there is reference to it, right?

  22· · · · A· · Yes.

  23· · · · Q· · So no one is saying lead time penalty is

  24· ·something you made up.· I guess what I would like to

  25· ·understand though is how do you quantify the damages to


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 199 of
                                       309 01, 2023
                                      June                                      198

  ·1· ·your company for lead time penalty?

  ·2· · · · A· · Benlida delays in making shipments to us made

  ·3· ·us lose very significant customers and revenue.

  ·4· · · · Q· · Can you give me an example of a customer you

  ·5· ·lost because of a late shipment?

  ·6· · · · A· · Sure.· We lost Novita Technologies.· We were

  ·7· ·doing close to three to three and a half million

  ·8· ·dollars with them.· We lost EVW.· We were doing two and

  ·9· ·a half to three million dollars with them per year.

  10· ·These are per year numbers.· We lost JCI as a customer.

  11· ·We were doing between eight to ten million dollars

  12· ·worth of business with them.· We lost our business

  13· ·with -- Kimball Electronics got impacted.· We were

  14· ·doing close to 10 to 14 million dollars --

  15· · · · Q· · These sound like $40 million already?

  16· · · · A· · That is right, because it caused us a lot of

  17· ·harm.· They absolutely did.· And the lead time

  18· ·penalties actually do not account for majority of those

  19· ·losses, because those were multi-year customers.· They

  20· ·caused us tremendous amount of -- they caused

  21· ·tremendous amount of damage to the company.

  22· · · · Q· · So you are saying lead time penalties are not

  23· ·even sufficient to compensate you for the loss?

  24· · · · A· · No, they are not.

  25· · · · Q· · There did come a time when you were trying to


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 200 of
                                       309 01, 2023
                                      June                                      199

  ·1· ·renegotiate a second Manufacturing Agreement; is that

  ·2· ·right?

  ·3· · · · A· · I think there was a draft given by Tracy.            I

  ·4· ·cannot -- I am not able to recollect how far it went,

  ·5· ·because Mr. Huang took a very destructive approach to

  ·6· ·the relationship.

  ·7· · · · Q· · Mr. Huang took a destructive approach?

  ·8· · · · A· · Took a destructive approach.· So we got to

  ·9· ·know very early on that Mr. Huang had reached out to

  10· ·companies such as Kingshine and Shenzhen Kinwong.· And

  11· ·Mr. Huang was not honest during his testimony.· I have

  12· ·got it in writing from the -- from at least a couple of

  13· ·these manufacturers that the discussion was him

  14· ·discouraging them to do business with us.· So once

  15· ·you --

  16· · · · Q· · Do you have e-mails to that effect?

  17· · · · A· · I have got backup e-mails, yes.· And if by

  18· ·chance --

  19· · · · Q· · If I asked you to provide us with copies of

  20· ·those e-mails, would you be able to do that?

  21· · · · A· · I will be able to do whatever my --

  22· · · · · · ·MR. ROSENTHAL:· He will do what his attorneys

  23· · · · advise him to do.· We will consider that in due

  24· · · · course.· We will check and see if it's requested.

  25· · · · · · ·MR. MAZZOLA:· It's requested now.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 201 of
                                       309 01, 2023
                                      June                                      200

  ·1· · · · · · ·MR. ROSENTHAL:· Well, right now it's not

  ·2· · · · requested within the discovery period, because you

  ·3· · · · would be asking us to produce it in nine days.· So

  ·4· · · · let us check.· He is not going to go looking for

  ·5· · · · it now in the middle of the deposition.

  ·6· · · · · · ·MR. MAZZOLA:· Are you saying if he can't find

  ·7· · · · it by the 8th you are not going to give it to us?

  ·8· · · · · · ·MR. ROSENTHAL:· I am not telling you anything

  ·9· · · · right now.· I telling you we have to at least go

  10· · · · back to look to see whether or not it was

  11· · · · something responsive to what you requested that

  12· · · · would be due within the discovery period.

  13· · · · · · ·MR. MAZZOLA:· I think it's discoverable.

  14· · · · · · ·MR. ROSENTHAL:· I am not contesting that.

  15· · · · · · ·MR. MAZZOLA:· I think it probably falls under

  16· · · · the basis of a 26 disclosure.· It's all

  17· · · · discoverable.

  18· · · · · · ·MR. ROSENTHAL:· I disagree with you about 26,

  19· · · · but we can agree to discussion it.· But this is

  20· · · · your depo time so --

  21· ·BY MR. MAZZOLA:

  22· · · · Q· · Did you communicate with Benlida the extent

  23· ·of the lead time losses to you or losses as a result of

  24· ·the lead time?

  25· · · · A· · We did give our calculations to Tracy.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 202 of
                                       309 01, 2023
                                      June                                      201

  ·1· · · · Q· · Of the 40 million number, or something along

  ·2· ·those lines, or was it the lead time calculations per

  ·3· ·the agreement and the methodology?

  ·4· · · · A· · Lead time calculations.

  ·5· · · · Q· · During the course of this litigation there

  ·6· ·was some negotiation about a new Manufacturing

  ·7· ·Agreement.

  ·8· · · · A· · Yes.

  ·9· · · · Q· · Are you aware of that?

  10· · · · A· · Yes.

  11· · · · Q· · And that new Manufacturing Agreement, you

  12· ·were willing to have some sort of similar lead time

  13· ·language in that; is that correct?

  14· · · · A· · I cannot recollect exactly, but that sounds

  15· ·correct.

  16· · · · Q· · Why would you do this to yourself twice?· Why

  17· ·would you agree to a lead time language that ended up

  18· ·costing you many millions more than the penalty itself?

  19· ·Why would you agree to that twice?· Why would you be

  20· ·willing to agree to it twice?

  21· · · · A· · So at the end of the day, let's assume that

  22· ·we were able to get the pricing which we accepted -- of

  23· ·which we had requested for, and let us assume that that

  24· ·combined with the lead time penalty, that combined with

  25· ·the price increase methodology -- because we would have


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 203 of
                                       309 01, 2023
                                      June                                      202

  ·1· ·gotten a further 10 percent discount because of the

  ·2· ·price increase methodology, laminate prices were

  ·3· ·falling at that time -- we believed that we would have

  ·4· ·been able to adequately cover -- adequately -- at the

  ·5· ·end of the day nobody makes -- everybody loses when any

  ·6· ·sort of penalty is invoked.· So the entire objective is

  ·7· ·to communicate how serious the matter is and for -- and

  ·8· ·for the other side to take it very seriously so that we

  ·9· ·don't -- because it hurts them too.

  10· · · · Q· · So what I was asking you earlier about

  11· ·e-mails, I think that related to comments that you

  12· ·allege Mr. Huang had made to other businesses in China.

  13· ·You said you had e-mails to that effect, and me and

  14· ·Stephen had a discussion.· Do you remember that?

  15· · · · A· · I do.

  16· · · · Q· · Just a few moments ago.

  17· · · · A· · I do.

  18· · · · Q· · I want to ask you a question about the lead

  19· ·time penalties, because I want to make sure my record

  20· ·is clear and I understand this.

  21· · · · · · ·You said earlier that you lost customers and

  22· ·business because of late deliveries by Benlida; is that

  23· ·correct?

  24· · · · A· · That is correct.

  25· · · · Q· · You then ran off a number of customers names;


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 204 of
                                       309 01, 2023
                                      June                                      203

  ·1· ·is that correct?

  ·2· · · · A· · That is correct.

  ·3· · · · Q· · You then also talked about dollar amounts,

  ·4· ·and I threw the number 40 million out there, and you

  ·5· ·said that might be correct; is that right?

  ·6· · · · A· · $40 million per year.

  ·7· · · · Q· · Per year, okay.· Do you have any e-mails from

  ·8· ·these customers saying, hey, Rishi --

  ·9· · · · A· · Absolutely.

  10· · · · Q· · -- it happened again.· Benlida is late.· We

  11· ·are pulling the plug on you?

  12· · · · A· · Rishi, Circuitronix is late.· We are pulling

  13· ·the plug on you.· Absolutely.

  14· · · · Q· · Would there ever be an occasion where a late

  15· ·delivery could be Circuitronix's fault?

  16· · · · A· · Not really.

  17· · · · Q· · When a purchase order is made to Benlida, do

  18· ·you disclose to Benlida what kind of time constraints

  19· ·you are on with your upstream customers?

  20· · · · A· · Yes, we do.

  21· · · · Q· · And is that in the purchase order, or is it

  22· ·via memos or other communication?

  23· · · · A· · It's on the purchase order as well as when we

  24· ·send them the e-mail we go back and say X number -- X

  25· ·quantity required by such date, Y quantity required by


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 205 of
                                       309 01, 2023
                                      June                                      204

  ·1· ·such date.

  ·2· · · · Q· · Do you ever tell your customers, hey, this is

  ·3· ·going to be difficult for us to meet?

  ·4· · · · A· · When Benlida was doing what they were

  ·5· ·supposed to do, they would -- we would not be late

  ·6· ·because we would plan properly.

  ·7· · · · Q· · You would plan properly?

  ·8· · · · A· · We would plan properly.

  ·9· · · · Q· · And you have e-mails from customers saying,

  10· ·hey, Circuitronix you are late.· We are pulling the

  11· ·business?

  12· · · · A· · Absolutely.

  13· · · · Q· · Would you share those with me?

  14· · · · · · ·MR. ROSENTHAL:· Objection.· Again, we have

  15· · · · discussed this.

  16· · · · · · ·MR. MAZZOLA:· Well, I am asking -- making a

  17· · · · request for them.

  18· · · · · · ·MR. ROSENTHAL:· We will consider it after the

  19· · · · deposition.

  20· · · · · · ·JC, incidentally, if you'd point out to us

  21· · · · that there is a request that you served some time

  22· · · · ago that we should have produced such e-mails in

  23· · · · response to by now, then we will start running

  24· · · · around and getting them now, but I don't believe

  25· · · · that is the case.· I believe this is the first


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 206 of
                                       309 01, 2023
                                      June                                      205

  ·1· · · · time they were requested.

  ·2· · · · · · ·MR. MAZZOLA:· I am sure we made a request for

  ·3· · · · details and documents in support of the

  ·4· · · · counterclaim.

  ·5· · · · · · ·MR. ROSENTHAL:· I don't believe this is part

  ·6· · · · of the counterclaim.· You now have exactly what

  ·7· · · · the calculation damage is in the counterclaim.

  ·8· · · · · · ·MR. MAZZOLA:· I don't know what was

  ·9· · · · requested.

  10· · · · · · ·MR. ROSENTHAL:· This is not part of it.· That

  11· · · · is what I am saying.· That is why I can't --

  12· · · · · · ·MR. MAZZOLA:· I don't know.

  13· · · · · · ·MR. ROSENTHAL:· -- do it in general.

  14· ·BY MR. MAZZOLA:

  15· · · · Q· · Let's look at -- back up on the board.

  16· · · · · · ·MR. ROSENTHAL:· What is on the wall is

  17· · · · Exhibit 120, Benlida Payment Details CTX US

  18· · · · 2012-2019 attachment in native form.

  19· ·BY MR. MAZZOLA:

  20· · · · Q· · What I want to look at -- maybe I will make

  21· ·it easier for everyone.· I want to look at the ROK

  22· ·payment details.

  23· · · · · · ·MR. ROSENTHAL:· That is the other attachment.

  24· · · · · · ·MR. MAZZOLA:· That is the other attachment.

  25


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 207 of
                                       309 01, 2023
                                      June                                      206

  ·1· ·BY MR. MAZZOLA:

  ·2· · · · Q· · I put up before you, Rishi, the payment

  ·3· ·details for ROK --

  ·4· · · · · · ·MR. ROSENTHAL:· May 2018 tab.

  ·5· ·BY MR. MAZZOLA:

  ·6· · · · Q· · -- May 2018 tab at the bottom.· The May 2018

  ·7· ·tab at the bottom, the payment detail for August 1,

  ·8· ·2018, for May payments.

  ·9· · · · · · ·MR. ROSENTHAL:· Did you say May payments?

  10· · · · · · ·MR. MAZZOLA:· I beg your pardon.· It starts

  11· · · · in May.· It's the May tab.· The payments start --

  12· ·BY MR. MAZZOLA:

  13· · · · Q· · Do you see that?

  14· · · · A· · There is only one payment, only one invoice.

  15· · · · Q· · That is right.· There is only one invoice.

  16· ·So it's the May one, May 23.· And here you have an

  17· ·August 1, 2018 credit balance of 2.179 million?

  18· · · · A· · Yes.

  19· · · · Q· · So what you are saying here when you sent

  20· ·this to everyone in November of 2019 is as of that

  21· ·day -- or as of this payment, August 1, 2018 -- Benlida

  22· ·owed you guys 2.179 million?· Or ROK did.

  23· · · · A· · Yes.

  24· · · · Q· · Now, if we compare that to --

  25· · · · · · ·MR. ROSENTHAL:· Can you scroll to the top so


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 208 of
                                       309 01, 2023
                                      June                                      207

  ·1· · · · I can see the title of that?· Thanks.

  ·2· ·BY MR. MAZZOLA:

  ·3· · · · Q· · Again putting aside apples-to-apples,

  ·4· ·oranges-to-oranges, if we look at Exhibit 121, in the

  ·5· ·middle of your e-mail you talk about for ROK CTX the

  ·6· ·number is 3.375 million that you say they owe you.

  ·7· · · · A· · Yes.

  ·8· · · · Q· · So that was a mistake arguably that was

  ·9· ·discovered in benefit for Benlida at ROK?

  10· · · · A· · I don't understand what you are saying.

  11· · · · Q· · The number went down.

  12· · · · A· · The number didn't go down.· They asked us to

  13· ·make more payments after that date.

  14· · · · Q· · Well, as of that date --

  15· · · · A· · They asked us to divert more payments from

  16· ·one company to ROK, because ROK was facing very serious

  17· ·problems with the tax bureau.· They asked us to make

  18· ·more payments which brought the number up higher.

  19· · · · Q· · Here you are showing --

  20· · · · A· · Three-point --

  21· · · · Q· · -- 3.3 million in July?

  22· · · · A· · Yes.

  23· · · · Q· · And then this spreadsheet is attached to the

  24· ·November reconciliation and it's a smaller number.· How

  25· ·do you explain the difference?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 209 of
                                       309 01, 2023
                                      June                                      208

  ·1· · · · A· · This is the -- again, this spreadsheet is

  ·2· ·specific to what was -- what happened in terms of

  ·3· ·payments between December 1, 2016, and July 1, 2019.

  ·4· · · · · · ·MR. ROSENTHAL:· For the record, the witness

  ·5· · · · is talking about Exhibit 121 when he said this

  ·6· · · · spreadsheet.

  ·7· ·BY MR. MAZZOLA:

  ·8· · · · Q· · Where is this --

  ·9· · · · A· · 120 is a complete reconciliation.· But

  10· ·similar to what happened with Circuitronix US, there is

  11· ·some feedback which Ms. Chen gave to the ROK part of it

  12· ·also which impacted this number, but very slightly.

  13· ·Means -- it was a very slight impact.

  14· · · · Q· · Why, looking at 121, if you see above for

  15· ·Benlida you have CTX Hong Kong separated out and you

  16· ·have CTX USA.· Do you see that on 121?

  17· · · · A· · Yes.

  18· · · · Q· · When you get to ROK, why do you sort of

  19· ·combine the two; CTX US and CTX Hong Kong?

  20· · · · A· · So specific to ROK was -- Benlida was asking

  21· ·us -- there is a very clear acknowledgment from

  22· ·Benlida's side where no moneys were owed to ROK, but

  23· ·they were requesting us again and again to send money

  24· ·to ROK.

  25· · · · · · ·So at the end of the day we believed -- and


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 210 of
                                       309 01, 2023
                                      June                                      209

  ·1· ·we sent the money from the US.· So we believed that

  ·2· ·that money -- whatever money has been sent to ROK after

  ·3· ·a certain point in time -- which is to the tune of

  ·4· ·around two-point-some million dollars -- all that money

  ·5· ·is owed to Circuitronix USA, because we did not want to

  ·6· ·send the money there, but Benlida begged us to send the

  ·7· ·money there and they needed us to send the money there.

  ·8· · · · Q· · And you sent it from the USA branch office?

  ·9· · · · · · ·MR. ROSENTHAL:· Objection to the form.

  10· · · · · · ·THE WITNESS:· Yes.

  11· ·BY MR. MAZZOLA:

  12· · · · Q· · Did you understand my question?· You sent it

  13· ·from US office, not the Hong Kong office?

  14· · · · A· · We sent it from Circuitronix LLC, not

  15· ·Circuitronix Hong Kong.

  16· · · · · · ·MR. MAZZOLA:· I have a few more things on

  17· · · · this line.· Can I take a break?

  18· · · · · · ·MR. ROSENTHAL:· Sure.

  19· · · · · · ·(Thereupon, there is a short break.)

  20· ·BY MR. MAZZOLA:

  21· · · · Q· · Let's look at -- let's look at -- Rishi,

  22· ·there is an exhibit there that we marked as 123.· This

  23· ·is an e-mail from Todor dated February 2.

  24· · · · A· · Yes.

  25· · · · Q· · The subject is Benlida Payment Detail and


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 211 of
                                       309 01, 2023
                                      June                                      210

  ·1· ·Bank Slip as Proof of Payment ROK Bank Slip, and there

  ·2· ·is some attachments.

  ·3· · · · · · ·We are going to look at -- we are going to

  ·4· ·pull it up on the screen -- the Benlida Payment Details

  ·5· ·February 1, 2015.· And that would of course be for the

  ·6· ·November invoices; is that right?

  ·7· · · · A· · Correct.

  ·8· · · · Q· · In fact it may be attached.

  ·9· · · · A· · It's attached.

  10· · · · · · ·MR. ROSENTHAL:· It's attached to the paper

  11· · · · you say?

  12· ·BY MR. MAZZOLA:

  13· · · · Q· · I beg your pardon.· I want to look at the

  14· ·January ones.

  15· · · · · · ·Okay.· So in the January one there is a

  16· ·reference to a 500,000-dollar payment, and that payment

  17· ·was made on December 18, 2014.· Do you see that?

  18· · · · A· · Yes.

  19· · · · Q· · Why does that payment appear there?· Is that

  20· ·because it was made at the end of the prior year?

  21· · · · A· · Why did that payment appear there?

  22· · · · Q· · Yes.· Because it was made in the prior year,

  23· ·right?

  24· · · · A· · It was last payment which was made prior to

  25· ·this payment detail.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 212 of
                                       309 01, 2023
                                      June                                      211

  ·1· · · · Q· · Then if we look at the next page, this is the

  ·2· ·payment detail for February 1, 2015, right?

  ·3· · · · A· · Yes.

  ·4· · · · Q· · You see less a payment made on January 21,

  ·5· ·2015, for $500,000.· Do you see that?

  ·6· · · · A· · Yes.

  ·7· · · · Q· · And of course that appears on the February

  ·8· ·payment detail, because that payment would have been

  ·9· ·made sometime January, at the end of January, right?

  10· · · · A· · Yes.

  11· · · · Q· · If you look at -- you can leave 123 in front

  12· ·of you.· We will reference that again.

  13· · · · · · ·If you look at Exhibit 121, there is a number

  14· ·of attachments to that exhibit.· This is the one from

  15· ·July 29, 2019.

  16· · · · A· · Yes.

  17· · · · Q· · There is a number of attachments to this one.

  18· ·What I want to look at is I want to look at the Benlida

  19· ·Payment Details CTX US 2015 to 2019.

  20· · · · · · ·MR. ROSENTHAL:· The second attachment?

  21· · · · · · ·MR. MAZZOLA:· Yes, put that up on the screen.

  22· ·BY MR. MAZZOLA:

  23· · · · Q· · We made this a little I think more

  24· ·straightforward now.· What I put up on the screen is

  25· ·the payment detail.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 213 of
                                       309 01, 2023
                                      June                                      212

  ·1· · · · · · ·MR. ROSENTHAL:· You are referring to the

  ·2· · · · January 2015 tab?

  ·3· · · · · · ·MR. MAZZOLA:· Under the January 2015 tab,

  ·4· · · · that is right.

  ·5· · · · · · ·THE WITNESS:· January 2015 tab.· We are

  ·6· · · · looking at January 2015 tab, okay.

  ·7· ·BY MR. MAZZOLA:

  ·8· · · · Q· · And it's the payment details from April 1,

  ·9· ·2015.· Do you see that?

  10· · · · A· · Yes.

  11· · · · Q· · So it might have been a little slow, right?

  12· ·April -- January to April?

  13· · · · A· · No.

  14· · · · Q· · That's right.· That is on the AMS 60?

  15· · · · A· · Yes.

  16· · · · Q· · If you look at this, you will see a payment

  17· ·of $500,000.· Do you see that?

  18· · · · A· · Yes.

  19· · · · Q· · And that was made on January 21, 2015?

  20· · · · A· · Yes.

  21· · · · Q· · And that payment is being applied to these

  22· ·January 2015 invoices; do you see that?· Is that

  23· ·correct?

  24· · · · A· · January 2015 invoices.· That is correct.

  25· · · · Q· · But if you look back at Exhibit 123 --


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 214 of
                                       309 01, 2023
                                      June                                      213

  ·1· · · · A· · Yes.

  ·2· · · · Q· · -- and if you look at the payment detail for

  ·3· ·February 1, 2015, you see what appears to be the same

  ·4· ·500,000-dollar payment on January 21, 2015, being made

  ·5· ·towards the invoices from November and December of

  ·6· ·2014.

  ·7· · · · · · ·MR. ROSENTHAL:· Objection.· Assumes facts.

  ·8· ·BY MR. MAZZOLA:

  ·9· · · · Q· · Why is that?

  10· · · · A· · So as I said, in November of 2019 we did a

  11· ·complete reconciliation, and once we did a complete

  12· ·reconciliation we provided this information to Benlida,

  13· ·Benlida provided us with feedback with a few errors, we

  14· ·adjusted the errors, and then we came up with the final

  15· ·agreement of how the payments applied.

  16· · · · Q· · So this is just another error then?

  17· · · · A· · It's not an error.· This is not an error.

  18· ·This could be an error.

  19· · · · Q· · Something is an error.· There is a $500,000

  20· ·being applied twice.

  21· · · · · · ·MR. ROSENTHAL:· Can I just say when the

  22· · · · witness was pointing to this, I think he was

  23· · · · pointing to 123.· Just to be clear, because the

  24· · · · record will be unclear.

  25· · · · · · ·THE WITNESS:· I think that what -- this is


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 215 of
                                       309 01, 2023
                                      June                                      214

  ·1· · · · 2014 here.· So in this case we did not go -- we

  ·2· · · · had not gone 2014 before and before.· So this was

  ·3· · · · an incomplete statement.· This was not the

  ·4· · · · November 2019 -- when was this -- this was -- this

  ·5· · · · sheet was created in --

  ·6· ·BY MR. MAZZOLA:

  ·7· · · · Q· · In July of 2019?

  ·8· · · · A· · No, it was not.

  ·9· · · · · · ·MR. ROSENTHAL:· We are talking about the

  10· · · · screen in front of us, which is the Excel

  11· · · · spreadsheet attached to Exhibit 121, just so

  12· · · · everyone is clear when we are reading this.

  13· ·BY MR. MAZZOLA:

  14· · · · Q· · This says Payment Detail April 1, 2015.· As

  15· ·Stephen pointed out it's attached to Exhibit 121.

  16· · · · A· · Yes.

  17· · · · Q· · So my question to you was it seems that this

  18· ·500,000-dollar payment made on January 21, 2015,

  19· ·appears in two separate payment details for two

  20· ·different time periods; is that correct?

  21· · · · A· · In two different time periods where the

  22· ·reconciliation was not finalized.· When the final

  23· ·reconciliation was done, it was applied to the right

  24· ·place.

  25· · · · Q· · So there was a mistake somewhere, either the


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 216 of
                                       309 01, 2023
                                      June                                      215

  ·1· ·reconciliation or back on -- in 123, Exhibit 123; is

  ·2· ·that right?

  ·3· · · · A· · Or there is -- you would have to look at the

  ·4· ·final reconciliation, which is attached to 120.

  ·5· · · · Q· · Let me ask you this question.· You are saying

  ·6· ·if we looked at the final reconciliation, 120, we might

  ·7· ·find it had been corrected there?

  ·8· · · · A· · So this was the starting point of the final

  ·9· ·reconciliation.· After Ms. Chen provided feedback,

  10· ·there was another version of that provided.· But a good

  11· ·starting point would be to start with what is attached

  12· ·to 120, and then the best would be to go to the final

  13· ·one which was provided after the feedback which was

  14· ·provided by Ms. Chen.

  15· · · · Q· · That would have been provided sometime in

  16· ·early 2020 is what you are saying?

  17· · · · A· · Yes, yes.

  18· · · · Q· · So let me ask you this question.· Is it fair

  19· ·then to say just on these two documents in front of

  20· ·you, the exhibit up on the screen, which is the

  21· ·attachment to 123 --

  22· · · · · · ·MR. ROSENTHAL:· 121.

  23· ·BY MR. MAZZOLA:

  24· · · · Q· · -- 121, and the payment details from 123, is

  25· ·it fair to say that at some point -- or at this point


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 217 of
                                       309 01, 2023
                                      June                                      216

  ·1· ·at least, this point in time, the $500,000 was applied

  ·2· ·twice?

  ·3· · · · · · ·MR. ROSENTHAL:· Object to the form.

  ·4· · · · · · ·THE WITNESS:· Not necessarily, because the --

  ·5· · · · what was attached to January of 2015 -- to

  ·6· · · · Exhibit 121, that was not created in July of 2019.

  ·7· · · · That was created -- that was given to -- that was

  ·8· · · · provided to Douglas and Tracy sometime in April --

  ·9· · · · March-April.

  10· ·BY MR. MAZZOLA:

  11· · · · Q· · Of 2015?

  12· · · · A· · Of 2019.· Of 2019.

  13· · · · Q· · So you don't agree then that it appears that

  14· ·this payment of $500,000 was applied twice?

  15· · · · A· · No, because that is not the final

  16· ·reconciliation.

  17· · · · Q· · But we are just looking at what is in front

  18· ·of us.· Between these two documents, 123 -- Exhibit 123

  19· ·and Exhibit 121 and the attachment that is on the

  20· ·screen -- I am just asking you just looking at those

  21· ·two documents, do you agree that $500,000 has been paid

  22· ·twice?

  23· · · · · · ·MR. ROSENTHAL:· Object to form.

  24· ·BY MR. MAZZOLA:

  25· · · · Q· · It may have been fixed later on, but on those


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 218 of
                                       309 01, 2023
                                      June                                      217

  ·1· ·two documents was it applied twice?

  ·2· · · · · · ·MR. ROSENTHAL:· Objection to form.

  ·3· · · · · · ·THE WITNESS:· I don't know what was going on,

  ·4· · · · because I got involved -- I started paying

  ·5· · · · attention during -- if you look at the November --

  ·6· · · · when we gave the earlier reconciliation, we did

  ·7· · · · not get feedback from Benlida; and then once we

  ·8· · · · gave the 2012 to 2015, we got the feedback from

  ·9· · · · Benlida.· Once we got the feedback from Benlida,

  10· · · · then we updated it and I micromanaged that

  11· · · · process.· So I don't know what this actually -- I

  12· · · · am not able to comment on it.

  13· ·BY MR. MAZZOLA:

  14· · · · Q· · Could it have been something Todor messed up?

  15· · · · A· · It could have been something which Todor

  16· ·messed up, or could have also been some incorrect

  17· ·information which Benlida gave us.· I am not sure about

  18· ·it.

  19· · · · Q· · I don't like to beat on Todor, but he doesn't

  20· ·work there any more.· Was he fired?

  21· · · · · · ·MR. ROSENTHAL:· Asked and answered.

  22· · · · · · ·THE WITNESS:· No.

  23· · · · · · ·(Thereupon, Deposition Exhibit No. 127

  24· · · · · · · is marked for identification.)

  25


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 219 of
                                       309 01, 2023
                                      June                                      218

  ·1· ·BY MR. MAZZOLA:

  ·2· · · · Q· · We were talking about Todor, and I guess I

  ·3· ·was asking whether or not -- what I wanted to ask is

  ·4· ·did you find that Todor's work was good, lacking?· Did

  ·5· ·you find he was making a lot of mistakes?

  ·6· · · · A· · I cannot -- I believe Todor was a competent

  ·7· ·employee.

  ·8· · · · Q· · So this is an e-mail -- looking at 127, it's

  ·9· ·an e-mail thread, and it starts with Tracy writing on

  10· ·March 27, 2017.· She is referring to an invoice

  11· ·discrepancy analysis update.

  12· · · · · · ·"As per last talking, if CTX accounting

  13· ·already finished the analysis of 2016 discrepancy,

  14· ·please forward to us immediately.· If not, please give

  15· ·us a timeline of finishing the work."

  16· · · · · · ·I guess you are saying you found an error in

  17· ·the analysis?

  18· · · · A· · Yes.

  19· · · · Q· · What was the error?· Do you remember?

  20· · · · A· · I cannot remember.

  21· · · · Q· · I guess you asked Todor to fix it?

  22· · · · A· · Yes.

  23· · · · Q· · It seems like you guys had been -- both

  24· ·Benlida and CTX had been investing a lot of time and

  25· ·energy in trying to find out these discrepancies; is


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 220 of
                                       309 01, 2023
                                      June                                      219

  ·1· ·that fair to say?

  ·2· · · · A· · So this entire problem was created by

  ·3· ·Benlida, and I am going to explain what I mean by that.

  ·4· ·We had this working contract in place --

  ·5· · · · Q· · Everything was created by Benlida?

  ·6· · · · A· · If you give me --

  ·7· · · · Q· · You sound like my ex-wife.· Everything was

  ·8· ·caused by me.

  ·9· · · · A· · I actually have started believing your

  10· ·ex-wife too.· That is the other thing.· But let me --

  11· ·actually Tracy may be able to agree with what I am

  12· ·saying.

  13· · · · · · ·So what happened was that we had our

  14· ·original -- our original agreement had something which

  15· ·was called a price discount, and what the price

  16· ·discount was doing was that based upon these invoicing

  17· ·of business per month we were given an additional

  18· ·discount, and it carried all the way to February of

  19· ·2015.

  20· · · · · · ·Then Benlida came and told us they would like

  21· ·to change that.· Rather than give us -- calculate the

  22· ·price discount based upon the business or the shipments

  23· ·in a month, they would just like to give us -- I cannot

  24· ·remember the number -- 7 percent or 6 percent discount

  25· ·on the existing price.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 221 of
                                       309 01, 2023
                                      June                                      220

  ·1· · · · · · ·So what we did was we accepted, and what we

  ·2· ·did was that -- let's assume something was $1.· The

  ·3· ·next bill we gave starting March was 94 cents.

  ·4· · · · · · ·Some point in time shortly after that,

  ·5· ·Benlida came back and said no, no, it's not on the

  ·6· ·total price, it's only on something which is called the

  ·7· ·base price.

  ·8· · · · · · ·So that is where the pricing discrepancy

  ·9· ·started.

  10· · · · Q· · So you are saying the -- when did this start?

  11· · · · A· · In the March 2015 time frame when Benlida

  12· ·made a request for a change in the way we were dealing

  13· ·with the -- the volume rebate.· Volume rebate.· And

  14· ·then --

  15· · · · Q· · Can you walk me through that again?· You

  16· ·would issue a PO for a dollar?

  17· · · · A· · First let me tell you what was happening in

  18· ·2013 and 2014 until January and February 2015.· So

  19· ·let's assume Benlida shipped $1 million to us in

  20· ·January of 2015.· Then for all the purchase orders we

  21· ·released in January 2015 -- what they shipped in 2015

  22· ·were for purchase orders prior to --

  23· · · · Q· · Sure.

  24· · · · A· · So all the purchase orders we released in

  25· ·January 2015, there would be a volume discount based


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 222 of
                                       309 01, 2023
                                      June                                      221

  ·1· ·upon the million dollars.· It's in the -- it's in the

  ·2· ·Manufacturing Agreement.

  ·3· · · · · · ·So at some point they came back and told us

  ·4· ·it's creating problems with China Customs for them

  ·5· ·again.· So rather than doing it that way, they would

  ·6· ·just, like, scrap the volume rebate and they will give

  ·7· ·us a rebate just built into the part number.

  ·8· · · · · · ·So I cannot recollect what the discount was;

  ·9· ·6 percent, 7 percent.· Let's say for this discussion

  10· ·it's 6 percent.· So if there was a part number which

  11· ·was a dollar, starting March 1 we would -- we started

  12· ·releasing the bill 94 cents.· They came back and said

  13· ·no, it cannot be 94 cents.· It has to be released --

  14· ·the 6 percent discount is only on the base price, not

  15· ·on finishing and everything else.· All the adders, what

  16· ·they call the adders.· So the 94 cents -- could have

  17· ·been 95 cents or 96 cents -- so that created a pricing

  18· ·discrepancy.

  19· · · · Q· · How did that create a pricing discrepancy?

  20· · · · A· · Because according to us, it should have

  21· ·been --

  22· · · · Q· · Should have been 94 cents?

  23· · · · A· · And according to them it should be 95, 96

  24· ·cents.· But in retrospect, if I would have to go back

  25· ·and do it again, I would not have accepted to change


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 223 of
                                       309 01, 2023
                                      June                                      222

  ·1· ·the Manufacturing Agreement.· I would have just kept it

  ·2· ·at the volume as per the -- the volume rebate.

  ·3· · · · Q· · Did they not tell you how they understood the

  ·4· ·rebate -- the discount to work?

  ·5· · · · A· · So subsequently they did, but we did not

  ·6· ·agree with that.

  ·7· · · · Q· · So you kept issuing invoices for the 94 cents

  ·8· ·and -- kept issuing POs at 94 and they kept issuing

  ·9· ·invoices at 96?

  10· · · · A· · But the last binding contract between the two

  11· ·parties was our purchase order.· We gave them the

  12· ·purchase order 94 cents, they built the parts at 94

  13· ·cents, they did not -- you cannot unilaterally issue an

  14· ·invoice which does not correspond to the purchase order

  15· ·which you have in hand, and that is what they started

  16· ·doing.

  17· · · · Q· · It sounds like they told you, hey, Rishi, you

  18· ·are issuing a PO at 94 cents, but we are going to be

  19· ·invoicing you at 96 cents?

  20· · · · A· · They didn't.

  21· · · · Q· · You figured it out at some point?

  22· · · · A· · We figured out at some point, but we did not

  23· ·change our purchase order.· We gave our -- next PO we

  24· ·gave at 94 cents.

  25· · · · Q· · It took six years to figure it out?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 224 of
                                       309 01, 2023
                                      June                                      223

  ·1· · · · A· · No, by 2016 we came to an agreement regarding

  ·2· ·the price discrepancy and the price discrepancy issue.

  ·3· ·But, again, the point that I am making is the trigger

  ·4· ·point of the problem was Benlida wanting to change the

  ·5· ·contractual term.

  ·6· · · · Q· · But you agreed to that?

  ·7· · · · A· · It's not about agreement.· We always try

  ·8· ·to -- they were always trying to help us, we were

  ·9· ·always trying to understand what they needed and we

  10· ·were trying to help them.· We were partners.· It was

  11· ·not -- like, there is no reason for us to come back and

  12· ·say no, this is --

  13· · · · Q· · You are the one that is casting aspersions

  14· ·now.· There is no --

  15· · · · A· · I am not casting --

  16· · · · · · ·MR. ROSENTHAL:· Wait.· Sorry.· Objection.

  17· · · · · · ·THE WITNESS:· I am saying, that the way this

  18· · · · whole thing started was in that manner.· Good,

  19· · · · bad, ugly; I am not saying anything else.· I am

  20· · · · trying to explain to you why things got difficult

  21· · · · for our accounting.

  22· · · · · · ·It got difficult for accounting, because

  23· · · · according to basic accounting principles, if they

  24· · · · get an invoice for 96 cents and I issue purchase

  25· · · · order at 94 cents, they can only accept the


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 225 of
                                       309 01, 2023
                                      June                                      224

  ·1· · · · invoice at 94 cents.· Accounting is not allowed --

  ·2· · · · accounts payable is not allowed to accept an

  ·3· · · · invoice at a price different than what is in the

  ·4· · · · purchase order.· So that is where the problem

  ·5· · · · started.

  ·6· · · · · · ·But then that led to the payment discrepancy,

  ·7· · · · the price increase discrepancy, which is

  ·8· · · · documented -- the quantum of which is documented

  ·9· · · · in the July 2016 e-mail -- meeting -- July 2016

  10· · · · minutes of meeting, and in December we change the

  11· · · · payment terms.

  12· ·BY MR. MAZZOLA:

  13· · · · Q· · December what year?

  14· · · · A· · Same year, 2016.

  15· · · · Q· · 2016.

  16· · · · A· · So once again, that was a curve ball that was

  17· ·thrown at our accounting.

  18· · · · Q· · But you agreed?

  19· · · · A· · But you are not understanding.· We agreed to

  20· ·help them out, but they -- that is what created all

  21· ·this confusion.

  22· · · · Q· · Rishi, you wouldn't have agreed to it if it

  23· ·wasn't good for your business.· You are not running a

  24· ·clarity here.· You agreed to these things, right?· Did

  25· ·you agree?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 226 of
                                       309 01, 2023
                                      June                                      225

  ·1· · · · A· · It was not good for our business.· It was so

  ·2· ·that we could keep continuing doing business.· It

  ·3· ·was -- in some cases -- status quo would have been the

  ·4· ·best for us, but at the end of the day we are trying to

  ·5· ·help them out, they are trying to help us out in other

  ·6· ·areas.· I am trying to explain to you why things became

  ·7· ·complicated.

  ·8· · · · · · ·But irrespective whether they were

  ·9· ·complicated or not complicated, finally after going

  10· ·back and forth, back and forth, back and forth, there

  11· ·was no disagreement between the parties in January of

  12· ·2020.· Zero difference.· Because in November we gave

  13· ·our sheets, they observed certain differences, said

  14· ·this is missing, that is missing, this is missing, we

  15· ·provided them with the missing information, they

  16· ·provided us with missing information, we updated the

  17· ·sheet, and we closed it out.

  18· · · · · · ·So, yes, there was confusion.· There was --

  19· ·it led to month-to-month reconciliation in 2017, 2018,

  20· ·2019.· In 2017 we went back to 2016, 2015.· But by the

  21· ·time 2019 November-December came, everything was sorted

  22· ·out.· There is no confusion on their side, no confusion

  23· ·on our side.· And that is what the evidence shows.

  24· · · · Q· · In January of 2020?

  25· · · · A· · In January of 2020.· And it took a couple of


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 227 of
                                       309 01, 2023
                                      June                                      226

  ·1· ·iterations to get to that point and --

  ·2· · · · Q· · And did you send -- did you send a

  ·3· ·January 2020 reconciliation?

  ·4· · · · A· · I do believe I did.

  ·5· · · · · · ·MR. MAZZOLA:· I assume we have it, Stephen,

  ·6· · · · but if we don't have it -- I assume we have it,

  ·7· · · · but if we don't, I would like to see it.

  ·8· · · · · · ·MR. ROSENTHAL:· I think we marked it.· Let me

  ·9· · · · tell you.

  10· · · · · · ·MR. MAZZOLA:· Is it 77?

  11· · · · · · ·MR. ROSENTHAL:· No, that is 2019.· Look at

  12· · · · 91.· I don't know if that is it.· That is from you

  13· · · · guys to us.· That is in January 2020.· I don't

  14· · · · think that is what you are referring to.· Maybe it

  15· · · · is.

  16· · · · · · ·THE WITNESS:· So the January 2020 -- at this

  17· · · · point in time --

  18· · · · · · ·MR. MAZZOLA:· I may have it on my list of

  19· · · · things to get to.

  20· · · · · · ·MR. ROSENTHAL:· Wait for his question,

  21· · · · because we will get you confused.

  22· ·BY MR. MAZZOLA:

  23· · · · Q· · What you are saying, Rishi, is that you

  24· ·provided that to everyone; is that what you are saying?

  25· · · · A· · Yes, we provided to them.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 228 of
                                       309 01, 2023
                                      June                                      227

  ·1· · · · Q· · So were you saying, then, that it should be

  ·2· ·no surprise to me that if -- as we continue to look

  ·3· ·through these reconciliations prior to January 2020 --

  ·4· ·that we finder errors; is that correct?

  ·5· · · · A· · So we provide Benlida with the reconciliation

  ·6· ·from 2012 to 2015 -- 2019.· In November of 2019 they

  ·7· ·take the effort to flag errors over four or five

  ·8· ·e-mails with spreadsheets, missing debits notes,

  ·9· ·missing information.· We provided all that information

  10· ·to them; missing invoice, missing this, missing that.

  11· ·We provide all that to them.· We update our sheet.· We

  12· ·provide that to them.

  13· · · · · · ·And then we do not -- at that point in time

  14· ·we believe that both parties have finally seen

  15· ·eye-to-eye, because they give us all the feedback, we

  16· ·addressed all the feedback and corrected everything

  17· ·which they observed, and everybody was on the same

  18· ·page.

  19· · · · Q· · And then what happened?

  20· · · · A· · And then what happened was --

  21· · · · Q· · The lawyers got involved?

  22· · · · A· · Sort of at that point in time I guess they

  23· ·believed that -- we had successfully demonstrated that

  24· ·we didn't owe the money.· At that point in time things

  25· ·got a little -- yeah, things started going downhill


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 229 of
                                       309 01, 2023
                                      June                                      228

  ·1· ·pretty fast.

  ·2· · · · Q· · There was a time when you were trying to

  ·3· ·negotiate an arbitration agreement; do you remember

  ·4· ·that?

  ·5· · · · A· · I do.

  ·6· · · · Q· · When did you guys start to try to negotiate

  ·7· ·the arbitration agreement?

  ·8· · · · A· · After our meeting in August 2019.

  ·9· · · · Q· · And that went on for what, a year or so?

  10· · · · A· · Yes.

  11· · · · Q· · Why could you never come do an understanding

  12· ·on that?

  13· · · · A· · Because we could not agree to -- we wanted

  14· ·the numbers to be broken -- they wanted the numbers to

  15· ·be combined, and we wanted Circuitronix -- we wanted

  16· ·numbers to be for Benlida Circuitronix USA, Benlida

  17· ·Circuitronix Hong Kong.· We wanted all the companies to

  18· ·be broken up, and they wanted combined numbers.

  19· · · · Q· · Let's look at -- let's look at what we

  20· ·previously marked as Exhibit 124.· 124 is a hard copy.

  21· ·You should have it in front of you.

  22· · · · · · ·So this is an e-mail from Todor.· It's again

  23· ·a payment detail and a bank slip and proof of payment.

  24· ·Do you see that?

  25· · · · A· · Yes, I do.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 230 of
                                       309 01, 2023
                                      June                                      229

  ·1· · · · Q· · There is a payment detail from March 1, 2015

  ·2· ·that is attached to it?

  ·3· · · · A· · Yes.

  ·4· · · · Q· · If you look at that payment detail, although

  ·5· ·it's for March 1, 2015, it's actually for invoices that

  ·6· ·were sent to you in December of 2014.· Do you see that?

  ·7· · · · A· · Yes.

  ·8· · · · Q· · And there the total owed is 649, and you are

  ·9· ·taking a 20,000-dollar payment made on January 26 --

  10· · · · A· · $200,000.

  11· · · · Q· · Beg pardon.· $200,000 on January 29, 2015.

  12· ·Do you see that?

  13· · · · A· · Yes.

  14· · · · Q· · Now, if you look -- if you keep that in front

  15· ·of you and you look up to -- this is on Exhibit 121,

  16· ·it's up on the screen, and we are looking at Benlida

  17· ·Payment Details CTX US 2015 to 2019, and we are looking

  18· ·at the April payment detail.· Do you see that?

  19· · · · A· · Yes.

  20· · · · Q· · Now, of course it's a different payment

  21· ·detail than what you have on Exhibit 124, but if you

  22· ·scroll down -- and we will do that for you -- you will

  23· ·see there is a 200,000-dollar payment made on

  24· ·January 29, 2015, that is being applied to these

  25· ·invoices from January 2015.· Do you see that?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 231 of
                                       309 01, 2023
                                      June                                      230

  ·1· · · · A· · I do.

  ·2· · · · Q· · I guess my question is why when Todor

  ·3· ·produced the payment detail in February of 2015 does he

  ·4· ·apply what seems to be, again, the same 200,000-dollar

  ·5· ·payment?

  ·6· · · · A· · I guess my question to you is that why are

  ·7· ·you not looking at the latest reconciliation?

  ·8· · · · Q· · But I am asking questions.· That is the great

  ·9· ·thing about depositions, I get to ask and you get to

  10· ·answer.

  11· · · · · · ·MR. ROSENTHAL:· The question is why did Todor

  12· · · · put the 200,000 --

  13· ·BY MR. MAZZOLA:

  14· · · · Q· · Why am I seeing the same 200,000-dollar

  15· ·payment?

  16· · · · A· · Because you are not looking at the latest

  17· ·reconciliation.

  18· · · · Q· · So is it fair to say a mistake was made

  19· ·somewhere before the latest reconciliation?· It may

  20· ·have been fixed, but based upon this document are we

  21· ·seeing a mistake, error in bookkeeping?

  22· · · · A· · It's not an error, it's an intermediate

  23· ·reconciliation and leads to final reconciliation.· The

  24· ·final reconciliation is what needs to be considered.

  25· ·You should not be looking at intermediate


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 232 of
                                       309 01, 2023
                                      June                                      231

  ·1· ·reconciliation.

  ·2· · · · Q· · That is your answer?· You are not

  ·3· ·acknowledging what we are looking at over here is a

  ·4· ·bookkeeping error?

  ·5· · · · A· · You are looking at an intermediate

  ·6· ·reconciliation which was going back and forth between

  ·7· ·the companies.· You are not looking at the final

  ·8· ·reconciliation.

  ·9· · · · Q· · And the final reconciliation is the one from

  10· ·January 2020?

  11· · · · A· · So the final reconciliation is -- the final

  12· ·reconciliation is the one from April of 2022, because

  13· ·there was some slight changes which were also being

  14· ·made between January and -- January of 2020 and April

  15· ·of 2022.

  16· · · · Q· · There was one done in April 2022?

  17· · · · A· · So -- yes.· It means yes, it was fine tuned

  18· ·in April 2022.· That is correct.

  19· · · · Q· · You were still fine tuning the

  20· ·reconciliations in April 2022?

  21· · · · A· · In preparation for trial.

  22· · · · Q· · Did you share those with Benlida?

  23· · · · A· · I shared those with my lawyers and I shared

  24· ·those with our expert.

  25· · · · · · ·MR. ROSENTHAL:· He is referring to work


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 233 of
                                       309 01, 2023
                                      June                                      232

  ·1· · · · product.

  ·2· ·BY MR. MAZZOLA:

  ·3· · · · Q· · So you did some work product, and you shared

  ·4· ·it with your lawyers.· So that isn't the final

  ·5· ·reconciliation, that is your work product.· That is

  ·6· ·okay.· You can do that.

  ·7· · · · A· · Yeah, that is work product, but also final

  ·8· ·reconciliation.

  ·9· · · · Q· · I want to get back to my question.· And maybe

  10· ·you have already answered it, but I will try again.

  11· · · · · · ·My question was this $200,000 that seems to

  12· ·be applied twice, in your mind -- in your mind -- is

  13· ·not a bookkeeping error; is that what you are saying?

  14· · · · A· · That is right.· It's an intermediate

  15· ·reconciliation.

  16· · · · Q· · Intermediate reconciliation.· Is that like my

  17· ·kid getting a C on the midterm and then getting an A on

  18· ·the final?

  19· · · · A· · It means -- I do not know about what your kid

  20· ·is up to unfortunately, but if he is doing stuff like

  21· ·that he better teach my kid too.

  22· · · · · · ·I really -- like, there is this constant back

  23· ·and forth between the companies, how the calculation is

  24· ·done here, calculation done there.· So there is no --

  25· · · · Q· · Let's look at -- back at -- again we are


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 234 of
                                       309 01, 2023
                                      June                                      233

  ·1· ·going to look at again 121.

  ·2· · · · · · ·MR. ROSENTHAL:· Which one is 121?

  ·3· · · · · · ·MR. MAZZOLA:· July.

  ·4· · · · · · ·THE WITNESS:· The other thing which should be

  ·5· · · · noted is that 121 has several spreadsheets

  ·6· · · · attached to it.

  ·7· ·BY MR. MAZZOLA:

  ·8· · · · Q· · It does, yes.

  ·9· · · · A· · I think you should specify which spreadsheet

  10· ·you are talking to, because the spreadsheet which

  11· ·outlines these numbers in the body of the e-mail is not

  12· ·what this spreadsheet is.

  13· · · · · · ·MR. ROSENTHAL:· When you say this, gesturing

  14· · · · to the screen.

  15· ·BY MR. MAZZOLA:

  16· · · · Q· · What screen are you looking at right now?

  17· · · · A· · In 121 there is a body of an e-mail and it

  18· ·gives certain numbers.· Those numbers have got nothing

  19· ·to do with -- those numbers have nothing to do with

  20· ·this --

  21· · · · Q· · I appreciate that.· That is why we are

  22· ·looking at the spreadsheets that are identified as

  23· ·attachments.· That is what I am saying.

  24· · · · A· · Yes.

  25· · · · · · ·MR. ROSENTHAL:· Just proceed with your


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 235 of
                                       309 01, 2023
                                      June                                      234

  ·1· · · · question.

  ·2· ·BY MR. MAZZOLA:

  ·3· · · · Q· · Looking at this again, I want to look at the

  ·4· ·ROK payment details.

  ·5· · · · · · ·MR. ROSENTHAL:· These are the attachments to

  ·6· · · · Exhibit 121?

  ·7· · · · · · ·MR. MAZZOLA:· Yes.· It's the January --

  ·8· ·BY MR. MAZZOLA:

  ·9· · · · Q· · So we are looking at the screen, ROK, these

  10· ·are payment details for April 1, 2015.· Do you see

  11· ·that, Rishi?

  12· · · · A· · I do.

  13· · · · Q· · And this is a payment detail that is attached

  14· ·to Exhibit 121.· And what you will see is you will see

  15· ·that there is a payment of $250,000 being made on

  16· ·January 30, 2015, is applied.· Do you see that?

  17· · · · A· · 250K -- this is for January -- yeah.· Yes,

  18· ·1/30.

  19· · · · Q· · I am also going to draw your attention to

  20· ·what we have previously marked as Exhibit 125.· It's a

  21· ·hard copy e-mail.· Do you see that document in front of

  22· ·you, Rishi?

  23· · · · A· · I do.

  24· · · · Q· · As you see, there are two attachments.· There

  25· ·is two attachments referenced on the e-mail; an ROK


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 236 of
                                       309 01, 2023
                                      June                                      235

  ·1· ·payment detail and ROK bank slips.

  ·2· · · · A· · Yes.

  ·3· · · · Q· · Now we are going to look at -- in addition to

  ·4· ·the ROK bank slips, there is another document called

  ·5· ·ROK payment detail.· We will put it up on the screen.

  ·6· · · · · · ·MR. MAZZOLA:· Maybe I can get at it another

  ·7· · · · way.

  ·8· · · · · · ·MR. ROSENTHAL:· Can we go off the record?

  ·9· · · · · · ·MR. MAZZOLA:· Yeah.

  10· · · · · · ·(Discussion off the record.)

  11· · · · · · ·MR. MAZZOLA:· We will table that and keep

  12· · · · moving along.

  13· ·BY MR. MAZZOLA:

  14· · · · Q· · You were talking about Mr. Huang earlier.

  15· ·And that I think you were suggesting that Mr. Huang had

  16· ·been badmouthing CTX to its other CTX customers in

  17· ·China.

  18· · · · A· · Suppliers.

  19· · · · Q· · Suppliers.· Did you view that to be a breach

  20· ·of any of the contractual relationships between CTX and

  21· ·Benlida?

  22· · · · A· · The fiduciary duty clause.

  23· · · · Q· · Did you raise a counterclaim to that effect?

  24· · · · A· · I think we did.

  25· · · · Q· · Did you confront Mr. Huang when you first


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 237 of
                                       309 01, 2023
                                      June                                      236

  ·1· ·learned of that?

  ·2· · · · A· · Akshay spoke to Tracy, and Tracy said that --

  ·3· ·after we heard about it, Akshay spoke with Tracy, and

  ·4· ·Tracy said she was not aware of it.

  ·5· · · · Q· · I think you had said earlier some other

  ·6· ·testimony that you had the utmost respect for

  ·7· ·Mr. Huang?

  ·8· · · · A· · I absolutely do.· Actually I still have

  ·9· ·utmost respect for him.· I didn't expect him to be -- I

  10· ·was a little surprised with his testimony yesterday.

  11· · · · Q· · Why?

  12· · · · A· · Because he was not honest.· That is neither

  13· ·here nor neither there.

  14· · · · Q· · Why did you think he was not honest?

  15· · · · A· · Mr. Huang, once he came back after his health

  16· ·problem from -- back to Benlida, he was at the factory

  17· ·each and every single day.· And Mr. Huang has an office

  18· ·in Benlida, not the conference room.· He shares an

  19· ·office with his son.· It's a room double the size of

  20· ·this room, and father has a desk -- and you've seen

  21· ·those Chinese dividers like with the -- and the son has

  22· ·a desk on the other side, and then there is a

  23· ·conference table.· Father and son have a desk, each

  24· ·have a desk.· So sometimes when you are called to the

  25· ·room to meet with Douglas -- actually not even a


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 238 of
                                       309 01, 2023
                                      June                                      237

  ·1· ·conference.· There is a conference table and then a tea

  ·2· ·table where they sit down and you can have tea.· Like

  ·3· ·if I am talking to Douglas, I can see through the

  ·4· ·divider, and Mr. Huang was on his -- on his --

  ·5· · · · Q· · So what are you saying was dishonest?

  ·6· · · · A· · Mr. Huang said he did not come to the office

  ·7· ·often.· He was not running the show, Douglas was

  ·8· ·running the show.· Mr. Huang was running the show.

  ·9· ·Mr. Huang has management meeting every morning, every

  10· ·evening.· Mr. Huang -- just on and on.

  11· · · · Q· · How many times have you been in Benlida's

  12· ·office in the last year?

  13· · · · A· · Not last year.· He said from 2012.· I was

  14· ·there every couple months from 2012 to 2019.· And

  15· ·Akshay --

  16· · · · Q· · You weren't there every day?

  17· · · · A· · I was not there every day, but we have got 20

  18· ·employees who sit in Benlida.

  19· · · · Q· · I thought you had one?

  20· · · · A· · One accounting employee.

  21· · · · Q· · Do you still have employees at Benlida?

  22· · · · A· · Not that many.· We have five, six, seven.            A

  23· ·smaller number.

  24· · · · Q· · And those are quality control people?

  25· · · · A· · Yes, and engineering.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 239 of
                                       309 01, 2023
                                      June                                      238

  ·1· · · · Q· · Who pays them?

  ·2· · · · A· · We pay them.

  ·3· · · · Q· · Who is we?

  ·4· · · · A· · Circuitronix China.

  ·5· · · · Q· · Shenzhen China?

  ·6· · · · A· · Actually half the salary Circuitronix Hong

  ·7· ·Kong and half the salary Circuitronix Shenzhen.

  ·8· · · · Q· · Do you still have respect for Mr. Huang?

  ·9· · · · A· · I do.· I guess he is trying to get out of the

  10· ·hole they dug for themselves.

  11· · · · Q· · Excuse me?

  12· · · · A· · I said I guess they are trying to get out of

  13· ·the hole they dug for themselves.· So they are taking

  14· ·the --

  15· · · · Q· · Maybe it's the hole you created for them?

  16· · · · A· · We will see.· I think trial is set for

  17· ·August.

  18· · · · Q· · October.

  19· · · · A· · We will see who created a hole for whom.

  20· · · · · · ·MR. ROSENTHAL:· I suspect our IT folks left

  21· · · · for the day by now.· Do you want me to check?           I

  22· · · · mean, he told me in passing there were some things

  23· · · · sometimes with an interface with a particular

  24· · · · operating system, but you have a Dell.· So I don't

  25· · · · know that you have anything funky on there.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 240 of
                                       309 01, 2023
                                      June                                      239

  ·1· · · · · · ·MR. MAZZOLA:· Let's just move on.· Forget it.

  ·2· · · · · · ·MR. ROSENTHAL:· Do you want to look over his

  ·3· · · · shoulder?

  ·4· · · · · · ·MR. LERNER:· No, it's an unable zip file.

  ·5· · · · Maybe it could be unzipped by somebody else, but

  ·6· · · · not me.

  ·7· · · · · · ·MR. ROSENTHAL:· I don't know why the screens

  ·8· · · · are not showing --

  ·9· · · · · · ·MR. MAZZOLA:· You don't have it up anymore.

  10· · · · It's gone.

  11· · · · · · ·MR. LERNER:· Well, I have no access to it.

  12· · · · · · ·MR. ROSENTHAL:· This would be about the time

  13· · · · of the day -- you missed the pleasant experience

  14· · · · of being -- when I was questioning your clients --

  15· · · · where Rich and others would groan and --

  16· · · · · · ·MR. LERNER:· No, that happened at 7:00.

  17· · · · · · ·MR. ROSENTHAL:· They would say when are you

  18· · · · going to finish, and I would say I don't know.

  19· · · · · · ·Let me step out for a second.

  20· · · · · · ·(Thereupon, there is a short break.)

  21· ·BY MR. MAZZOLA:

  22· · · · Q· · Rishi, I just handed you a payment detail.

  23· · · · · · ·MR. ROSENTHAL:· What number now?

  24· · · · · · ·MR. MAZZOLA:· 130.

  25


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 241 of
                                       309 01, 2023
                                      June                                      240

  ·1· ·BY MR. MAZZOLA:

  ·2· · · · Q· · I don't have the attached e-mail to it, but

  ·3· ·it's a payment detail for September 1, 2016, for

  ·4· ·invoices --

  ·5· · · · · · ·MR. ROSENTHAL:· Sorry to interrupt.· Did you

  ·6· · · · skip 128 and 129?

  ·7· · · · · · ·MR. MAZZOLA:· I did.· I totally did.

  ·8· · · · · · ·(Thereupon, Deposition Exhibit No. 128

  ·9· · · · · · · is marked for identification.)

  10· · · · · · ·MR. ROSENTHAL:· This is now Exhibit 128.

  11· · · · Okay.

  12· ·BY MR. MAZZOLA:

  13· · · · Q· · It's a payment detail.· Do you see that,

  14· ·Rishi, the document we are looking at?

  15· · · · A· · Yes.

  16· · · · Q· · It's a payment detail for September 1, 2016,

  17· ·for Benlida?

  18· · · · A· · Yes.

  19· · · · Q· · You will see on the paper document in front

  20· ·of you that it has a balance due of $117,943.19.· Do

  21· ·you see that?

  22· · · · A· · Yes.

  23· · · · Q· · In front of you on the screen is a payment

  24· ·detail for the same period and covering the same

  25· ·invoice dates that was attached to Exhibit 120 and


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 242 of
                                       309 01, 2023
                                      June                                      241

  ·1· ·found under the attachment Benlida Payment Detail CTX

  ·2· ·US 2012 to 2019.· Do you see that?

  ·3· · · · A· · Yes.

  ·4· · · · Q· · I guess my question for you, Rishi, is why

  ·5· ·does the document on the screen, which comes off --

  ·6· ·which is attached to that Exhibit 120, have a balance

  ·7· ·due of I think it's $498,103?

  ·8· · · · A· · Again, as I said, what is up on the screen is

  ·9· ·intermediate reconciliation.

  10· · · · Q· · You don't acknowledge there was a mistake in

  11· ·bookkeeping at some point?

  12· · · · A· · No.

  13· · · · · · ·MR. ROSENTHAL:· Can I indicate what that

  14· · · · document says for the record as well, which month

  15· · · · payment?· It's September 1, 2016.

  16· · · · · · ·MR. MAZZOLA:· Let's take a break.

  17· · · · · · ·(Thereupon, there is a short break.)

  18· ·BY MR. MAZZOLA:

  19· · · · Q· · There is an e-mail -- I beg your pardon.

  20· ·Yes, it's an e-mail, Exhibit 53.

  21· · · · A· · I think we should not consider this e-mail,

  22· ·because Mr. Huang doesn't believe a meeting took place.

  23· ·That is what Mr. Huang said yesterday, the meeting

  24· ·didn't take place.

  25· · · · Q· · Were you at the meeting?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 243 of
                                       309 01, 2023
                                      June                                      242

  ·1· · · · A· · I was not.

  ·2· · · · Q· · Were these minutes forwarded to you?

  ·3· · · · A· · They were.

  ·4· · · · Q· · And they are sent to you by Tracy, right?

  ·5· · · · A· · Yes.

  ·6· · · · Q· · I assume Akshay was authorized to attend this

  ·7· ·meeting; is that correct?

  ·8· · · · A· · So Mr. Huang used to call for meetings all

  ·9· ·the time, sometimes ask request for conference calls

  10· ·and sometimes request as to show up in person, and

  11· ·whenever I could not be there I would send Akshay.· He

  12· ·was -- as I stated before, he was very involved with

  13· ·the business.

  14· · · · Q· · Akshay?

  15· · · · A· · Mr. Huang.

  16· · · · Q· · Mr. Huang?

  17· · · · A· · And Akshay too.· Akshay was very involved

  18· ·with the business on behalf of Circuitronix.

  19· · · · Q· · And Akshay, when you say he was very much

  20· ·involved in the business on behalf of Circuitronix, are

  21· ·you referring to Circuitronix LLC, Circuitronix Hong

  22· ·Kong?· What are you referring to?

  23· · · · A· · Circuitronix Hong Kong.

  24· · · · Q· · The business that was discussed at this

  25· ·meeting, you -- you read this memo at some point,


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 244 of
                                       309 01, 2023
                                      June                                      243

  ·1· ·right?

  ·2· · · · A· · Pardon me?

  ·3· · · · Q· · You read this memo at some point?

  ·4· · · · A· · I read this memo as soon as the meeting took

  ·5· ·place and I received it.

  ·6· · · · Q· · So you have some familiarity about it, right?

  ·7· · · · A· · I don't have some, I have all familiarity

  ·8· ·with it.

  ·9· · · · Q· · My question relates to Akshay -- Akshay --

  10· ·Akshay's ability to represent CTX LLC and CTX Hong

  11· ·Kong; is that correct?

  12· · · · A· · Akshay has continuously mentioned that he is

  13· ·only the messenger.· "I have fully understand the worry

  14· ·from Benlida.· Will pass all the information to Rishi."

  15· · · · Q· · He was the messenger?

  16· · · · A· · He was the messenger.· Mr. Huang was -- for

  17· ·lack of a better term -- expected us to show up when he

  18· ·requested for the meeting, and we always tried to give

  19· ·him that respect.· If he asked for it, we said yeah,

  20· ·let's go ahead and have the meeting.· And most of the

  21· ·time it could have been accommodated by phone calls,

  22· ·which we did, or a lot of times actually I flew to

  23· ·China to meet up with them.· Sometimes when I could

  24· ·not, then I requested Akshay to represent me.

  25· · · · Q· · If you go to the second page, it looks like


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 245 of
                                       309 01, 2023
                                      June                                      244

  ·1· ·there is some comments attributable to Akshay.· Do you

  ·2· ·see that?

  ·3· · · · A· · Yes.

  ·4· · · · Q· · Towards the bottom?

  ·5· · · · A· · Yes.

  ·6· · · · Q· · It says, "Akshay:· You are worrying that the

  ·7· ·risk of insufficient funds in CTX doesn't exist.· If

  ·8· ·BLD requires CTX provide financial certification which

  ·9· ·is issued by a bank, CTX will provide it immediately."

  10· · · · · · ·What was the genesis of that?

  11· · · · A· · I guess the genesis was what Mr. Huang had

  12· ·said in the text on top Benlida and ROK have -- like

  13· ·all the stuff on the top.· So he was just reacting to

  14· ·what was told to him.

  15· · · · Q· · But he is advising that if Benlida was

  16· ·concerned about the financial well-being of CTX, CTX

  17· ·can provide financial certification issued by a bank.

  18· ·Why would he have said that?

  19· · · · A· · Because I told him he can say that, he can

  20· ·represent that.

  21· · · · Q· · You told him that if they had concerns about

  22· ·your financial well-being, you would provide financial

  23· ·records or financial audited reports or what?

  24· · · · A· · To show that we had cash balances.· On

  25· ·several occasions Akshay was at an in-person meeting


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 246 of
                                       309 01, 2023
                                      June                                      245

  ·1· ·where I met with Mr. Huang, Tracy, Douglas, Ms. Chen,

  ·2· ·Mr. Liao and everybody sitting right next to me, and I

  ·3· ·said the same thing.· So I think he just parroted what

  ·4· ·he heard me tell them.· On some occasions I would log

  ·5· ·onto my laptop and show Tracy the balances in our

  ·6· ·account.

  ·7· · · · Q· · What account?

  ·8· · · · A· · Circuitronix LLC.

  ·9· · · · Q· · What about Circuitronix Hong Kong?

  10· · · · A· · I cannot recollect whether I showed that to

  11· ·them.· I am not able to recollect.

  12· · · · Q· · Why would you show Tracy your balances from

  13· ·CTX LLC?

  14· · · · A· · So that she could communicate to Mr. Huang

  15· ·that -- she could communicate to Mr. Huang that our

  16· ·financial stability should not be -- our financial

  17· ·strength should not be challenged.

  18· · · · Q· · If you are going to show her the one from CTX

  19· ·LLC, why not the one from CTX Hong Kong?

  20· · · · A· · Why not I show her my personal bank account

  21· ·too?· That was sufficient to get the job done to get

  22· ·the comfort.

  23· · · · Q· · Just to show that CTX LLC, that was

  24· ·sufficient?

  25· · · · A· · It was just a way of saying that we had the


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 247 of
                                       309 01, 2023
                                      June                                      246

  ·1· ·resources, don't worry, we can address any

  ·2· ·requirements.

  ·3· · · · Q· · Does the we have the resources means if CTX

  ·4· ·Hong Kong couldn't pay it, CTX LLC would pay it?

  ·5· · · · A· · Absolutely not.

  ·6· · · · Q· · What good does showing her CTX LLC's bank

  ·7· ·account?· What does that show?

  ·8· · · · · · ·MR. ROSENTHAL:· Objection.

  ·9· ·BY MR. MAZZOLA:

  10· · · · Q· · Insofar as CTX Hong Kong's obligations are.

  11· · · · A· · It was just a general -- it was a very

  12· ·general way of saying don't get nervous, what you

  13· ·call -- Circuitronix LLC is financially strong company.

  14· · · · Q· · Would that be, like, showing your personal

  15· ·finances?· You are not going to pay the bills for your

  16· ·businesses, are you?

  17· · · · · · ·MR. ROSENTHAL:· Objection.· Assumes facts.

  18· · · · · · ·THE WITNESS:· It asked for a $1.5 million

  19· · · · prepayment from Circuitronix LLC.· So we were

  20· · · · trying to -- and previously, as you see, they have

  21· · · · asked for $1 million, $1 million -- on several

  22· · · · occasions they asked for different sums --

  23· · · · $3 million.· The requests were all over the place.

  24· · · · So we would show them that we have the capability

  25· · · · of making that payment should we decide to make


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 248 of
                                       309 01, 2023
                                      June                                      247

  ·1· · · · that payment.

  ·2· ·BY MR. MAZZOLA:

  ·3· · · · Q· · So we would show them that we have the

  ·4· ·ability to make that payment?

  ·5· · · · A· · The loans would always come from Circuitronix

  ·6· ·LLC.· It was always known to them it did not come from

  ·7· ·Circuitronix Hong Kong, because these were loans --

  ·8· · · · Q· · Now you are talking about loans.· Let's slow

  ·9· ·it down.· How often would you show Tracy the LLC's bank

  10· ·accounts?

  11· · · · A· · I showed it to her maybe once or twice.

  12· · · · Q· · And when you would show her the LLC's bank

  13· ·accounts, it was to assuage her concerns that Benlida's

  14· ·bills would get paid; is that correct?

  15· · · · A· · That is not correct.

  16· · · · Q· · What was it to do then?

  17· · · · A· · They were asking for money from us, loans

  18· ·from us; are you able to give us -- front us some

  19· ·money?

  20· · · · Q· · Front us money for what?

  21· · · · A· · A loan, a banking loans.

  22· · · · Q· · So now it's loans?

  23· · · · · · ·MR. ROSENTHAL:· Object to the form.

  24· · · · · · ·THE WITNESS:· A banking loan.

  25


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 249 of
                                       309 01, 2023
                                      June                                      248

  ·1· ·BY MR. MAZZOLA:

  ·2· · · · Q· · It had nothing to do with the unpaid

  ·3· ·obligations she was claiming they were owed?

  ·4· · · · A· · No.

  ·5· · · · Q· · It was always about a loan?

  ·6· · · · A· · You have seen the e-mails.

  ·7· · · · Q· · So someone was asking to borrow money, and to

  ·8· ·make them feel better you showed them your bank

  ·9· ·account?

  10· · · · A· · Tracy and I had a close relationship.· Tracy

  11· ·would ask me and I would help her out, and if I asked

  12· ·her for stuff she helped me out.

  13· · · · · · ·At one point in time Douglas she and me were

  14· ·scared of Mr. Huang.· We were collectively trying to

  15· ·calm Mr. Huang down.· So it was a normal -- it was a

  16· ·nice way of working together.· She would ask for help,

  17· ·I would give them whatever help I could.· They would

  18· ·ask for help, vice versa.

  19· · · · Q· · So giving them help would include showing

  20· ·them the LLC's bank accounts?

  21· · · · A· · So it would -- she would come to us or we

  22· ·would be sitting in a meeting and Mr. Huang would be

  23· ·going nuts in Chinese banging the table with his hands

  24· ·and stuff like that, and then Mr. Huang would leave the

  25· ·conference room, Douglas sitting out there, and Tracy


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 250 of
                                       309 01, 2023
                                      June                                      249

  ·1· ·would come sit next to me, what do we do, what do we

  ·2· ·do.· I would say let's think about it.· We don't need

  ·3· ·to worry.· There is money out there if I have to loan

  ·4· ·money if push comes to shove.

  ·5· · · · · · ·Sometimes the conversation was we don't have

  ·6· ·the money to pay the raw materials suppliers.· We can't

  ·7· ·make payroll next weekend.· And I would say no need to

  ·8· ·worry.· I can loan money to you guys, look.· Show them

  ·9· ·the bank account.

  10· · · · Q· · Do you think your representations that the

  11· ·LLC was so flush with cash that it could loan the money

  12· ·assuaged their concerns about the large receivable they

  13· ·had with CTX Hong Kong?

  14· · · · A· · So at the end of the day there were two

  15· ·things.· They knew that they didn't have a large

  16· ·receivable Circuitronix Hong Kong.· It would have been

  17· ·eaten into by the lead time penalty.· That is number

  18· ·one.

  19· · · · · · ·Number two, if that was the case, if I wanted

  20· ·Circuitronix LLC to guarantee Circuitronix Hong Kong

  21· ·payment, I would have signed the authorization of the

  22· ·business, which I refused to sign.

  23· · · · Q· · You did sign this one, Exhibit 27?

  24· · · · A· · For a different purpose as you see.

  25· · · · Q· · Well, as you say.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 251 of
                                       309 01, 2023
                                      June                                      250

  ·1· · · · A· · Yeah, and as the words read.

  ·2· · · · Q· · It's okay.· I don't decide these things.

  ·3· · · · A· · Yeah.

  ·4· · · · · · ·MR. ROSENTHAL:· Then don't ask him about it.

  ·5· · · · · · ·MR. MAZZOLA:· But it's important for me to

  ·6· · · · understand what he thinks it says.· It's not for

  ·7· · · · me to decide.

  ·8· · · · · · ·MR. ROSENTHAL:· Asked and answered.

  ·9· ·BY MR. MAZZOLA:

  10· · · · Q· · Did CTX ever order at any time more than

  11· ·agreed upon capacity?

  12· · · · · · ·MR. ROSENTHAL:· Can you repeat -- did what?

  13· ·BY MR. MAZZOLA:

  14· · · · Q· · Did CTX order at any time more than the

  15· ·agreed upon capacity?

  16· · · · A· · At the end of the day Benlida was -- to begin

  17· ·with, Benlida did not expect to have the problems which

  18· ·we ran into ROK.· So they were banking on that

  19· ·capacity.

  20· · · · · · ·The reason why they have given you as to why

  21· ·they shut down ROK is not truthful.· They ran into a

  22· ·lawsuit with the landlord of the building in ROK, and

  23· ·it's a public record that they have a lawsuit out

  24· ·there -- had a lawsuit.· I don't know how it settled.

  25· ·So they lost that capacity.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 252 of
                                       309 01, 2023
                                      June                                      251

  ·1· · · · · · ·Losing that capacity, they were not able to

  ·2· ·keep up with their commitment to us and their other

  ·3· ·customers and backlog kept accumulating and

  ·4· ·accumulating and it created a big mess.· But at the end

  ·5· ·of the day, they were completely aware of all the

  ·6· ·projects which were being brought to them.· They were

  ·7· ·extremely happy to receive the projects.· Obviously you

  ·8· ·have seen the minutes of the meeting where they have

  ·9· ·expressed happiness and the growth in business.· So --

  10· ·you cannot have your cake and eat it too.· Is that the

  11· ·saying?

  12· · · · Q· · That is the saying.· The question was at any

  13· ·time did CTX ever order more than the agreed upon

  14· ·capacity?· You explained why there might have been

  15· ·capacity problems, but the question is did you ever

  16· ·order more than the agreed to capacity?

  17· · · · A· · No.· If Benlida shipped the parts to us -- if

  18· ·Benlida accepted the orders and put the orders into

  19· ·production on a first in, first out basis, we would not

  20· ·have any problems.

  21· · · · · · ·Benlida was accepting -- taking orders,

  22· ·putting whatever they felt like into production, and

  23· ·orders which were released today were getting produced

  24· ·before orders which were released a month ago, creating

  25· ·a problem on the orders released a month ago.


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 253 of
                                       309 01, 2023
                                      June                                      252

  ·1· · · · · · ·So they were doing all sorts of things

  ·2· ·because of their limitations on procuring a certain

  ·3· ·sort of laminate or their limitation in terms of

  ·4· ·bottleneck in the process, the pressing process.

  ·5· · · · · · ·So as for that concern, they created this

  ·6· ·entire mess.· Which, once again, you are not there to

  ·7· ·decide.· It will be decided in October.

  ·8· · · · Q· · I want to get back on this CTX Hong Kong.

  ·9· ·Your position at CTX Hong Kong is what, general

  10· ·manager?

  11· · · · A· · Director.

  12· · · · Q· · Is there anyone higher than you at CTX Hong

  13· ·Kong?

  14· · · · A· · The director is -- the director is -- I want

  15· ·to say ceremonial role, but it's more of a strategic

  16· ·role rather than a tactical role.· Between 2012 and

  17· ·March of 2015 complete tactical execution at

  18· ·Circuitronix Hong Kong was being done by Sunny Kapoor.

  19· ·Between April of 2015 until today the complete tactical

  20· ·day-to-day operations is run by Akshay Koul.· If they

  21· ·run into any sort of issues, they come to me for sure,

  22· ·but they are running the day-to-day of that operation.

  23· · · · Q· · But ultimately they all report to you?

  24· · · · A· · So Akshay has dotted line reporting.· For the

  25· ·fulfillment of orders, they report to me; on financial


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 254 of
                                       309 01, 2023
                                      June                                      253

  ·1· ·issues, they report to my mom -- he reports to my mom.

  ·2· · · · Q· · On financial issues?

  ·3· · · · A· · Yes.

  ·4· · · · Q· · Who -- at CTX LLC here in the US, what is

  ·5· ·your position here?

  ·6· · · · A· · I am the CEO.

  ·7· · · · Q· · What is CTX LLC's ownership position of CTX

  ·8· ·Hong Kong?· Do they own the whole thing?

  ·9· · · · A· · Zero percent.· We are completely independent

  10· ·companies.

  11· · · · Q· · Why do you refer to it then as one of your

  12· ·companies then?

  13· · · · A· · I say that it's a company under my control.

  14· · · · Q· · So it does not sit under the CTX LLC

  15· ·umbrella?

  16· · · · A· · It does not.

  17· · · · Q· · In terms of reporting, does it report up to

  18· ·you?

  19· · · · A· · I explained the reporting structure.

  20· · · · Q· · It reports to you --

  21· · · · A· · And my mom.

  22· · · · Q· · -- and your mother.· Are you able to access

  23· ·the bank accounts for CTX Hong Kong?

  24· · · · A· · I am able to access the bank accounts, but

  25· ·for all transactions I need authorization from my


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 255 of
                                       309 01, 2023
                                      June                                      254

  ·1· ·mother.

  ·2· · · · Q· · Is there a particular reason why -- I guess

  ·3· ·the question is, you know, we are still -- our client

  ·4· ·is looking at a large receivable owed by CTX Hong Kong.

  ·5· ·Is there a reason that that hasn't been paid?· Perhaps

  ·6· ·your mother doesn't want to pay it?

  ·7· · · · A· · Because we do not believe it's a receivable.

  ·8· ·That receivable is fully negated by other -- by the

  ·9· ·lead time penalty.

  10· · · · Q· · Has CTX ever made -- CTX LLC out of here in

  11· ·the United States -- have they ever paid any debts or

  12· ·obligations of CTX Hong Kong?

  13· · · · A· · Has Circuitronix --

  14· · · · Q· · -- LLC paid any debts or obligations of CTX

  15· ·Hong Kong?

  16· · · · · · ·MR. ROSENTHAL:· Asked and answered.

  17· · · · · · ·THE WITNESS:· To the extent what I told you.

  18· · · · If there were investment projects where --

  19· · · · actually that was the reverse.· You are asking

  20· · · · Circuitronix -- I do not think so.

  21· · · · · · ·MR. ROSENTHAL:· I have a question.· Was the

  22· · · · question did US pay for Hong Kong or vice versa?

  23· · · · · · ·MR. MAZZOLA:· US pay for Hong Kong.

  24· ·BY MR. MAZZOLA:

  25· · · · Q· · Did you understand it that way, Rishi?


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 256 of
                                       309 01, 2023
                                      June                                      255

  ·1· · · · A· · I understood it that way.· But, again, I am

  ·2· ·going to just explain the -- I am going to explain it

  ·3· ·to you.· The nonproduct investment expenses --

  ·4· ·nonproduct expenses is immersion tin line -- it's

  ·5· ·300,000 US dollars.· That immersion tin line is going

  ·6· ·to be used on both Circuitronix Hong Kong product and

  ·7· ·Circuitronix US product.· The 300,000 goes from

  ·8· ·Circuitronix USA.· There is $150,000 which Circuitronix

  ·9· ·Hong Kong owes us, Circuitronix LLC.· Rather than

  10· ·sending the money back, they may pay certain invoices

  11· ·for us that $150,000.· But that is far and few.

  12· · · · Q· · So Hong Kong would pay invoices for the LLC

  13· ·to pay it back the debt that is owed?

  14· · · · A· · But as I said, if I have to count the number

  15· ·of transactions, it would be less than five.· Maybe

  16· ·less than three.

  17· · · · · · ·MR. MAZZOLA:· Okay.· Give us five minutes and

  18· · · · we will wrap up, because we are really out of

  19· · · · time, but we need to reserve some time ironically.

  20· · · · · · ·(Thereupon, there is a short break.)

  21· · · · · · ·MR. MAZZOLA:· We are going to wrap up for the

  22· · · · night.

  23· · · · · · ·Rich is telling me that he sent an e-mail to

  24· · · · Steve, Christina, and Chauncey that we are going

  25· · · · to hold open the deposition pending receipt of the


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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 257 of
                                       309 01, 2023
                                      June                                      256

  ·1· · · · documents.

  ·2· · · · · · ·MR. ROSENTHAL:· We just received the e-mail,

  ·3· · · · and we will review it and we will get back to you

  ·4· · · · on our position, but we haven't had a chance to

  ·5· · · · fully determine what we have to do with it.

  ·6· · · · · · ·MR. LERNER:· Okay.

  ·7· · · · · · ·MR. ROSENTHAL:· We will read.

  ·8· · · · · · ·(Thereupon, at 7:03 p.m. the deposition

  ·9· · · · · · · adjourned sine die.)

  10· · · · · · · · · · · · · *· *        *

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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 258 of
                                       309 01, 2023
                                      June                                      257

  ·1· · · · · · · · · · ·CERTIFICATE OF OATH

  ·2

  ·3· ·State of Florida· ·)

  ·4· ·County of Dade· · ·)

  ·5

  ·6

  ·7· · · · · · ·I the undersigned authority, certify that the

  ·8· ·witness, RISHI KUKREJA, personally appeared before me

  ·9· ·and was duly sworn.

  10

  11· · · · · · ·Witness my hand and official seal this

  12· ·15th day of June, 2023.

  13

  14
  · · · · · · · · · · · · _________________________________
  15· · · · · · · · · · · Laurel A. Mazur
  · · · · · · · · · · · · Notary Public, State of Florida
  16· · · · · · · · · · · Commission No. GG 352516
  · · · · · · · · · · · · Expires:· 7/28/23
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Case 0:21-cv-60125-RNS Document 203-3 Rishi
                                       EnteredKukreja
                                               on FLSD Docket 08/22/2023 Page 259 of
                                       309 01, 2023
                                      June                                      258

  ·1· · · · · · · · · ·REPORTER'S CERTIFICATE

  ·2· ·State of Florida· · )
  · · ·County of Dade· · · )
  ·3

  ·4· · · · · · I, Laurel A. Mazur, Court Reporter and Notary
  · · ·Public, State of Florida, do hereby certify that I was
  ·5· ·authorized to and did stenographically report the
  · · ·foregoing deposition in stenotype, that the foregoing
  ·6· ·pages, numbered from 1 to 256, inclusive, are a true
  · · ·and correct transcription of my shorthand notes of said
  ·7· ·deposition, and that the witness did request review of
  · · ·the transcript.
  ·8
  · · · · · · · I further certify that I am not a relative,
  ·9· ·employee, attorney, or counsel of any of the parties,
  · · ·nor am I a relative or employee of any of the parties'
  10· ·attorneys or counsels connected with the action, nor am
  · · ·I financially interested in the action.
  11
  · · · · · · · The foregoing certification of this transcript
  12· ·does not apply to any reproduction of the same by any
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  14· · · · · · Dated this 15th day of June, 2023.

  15

  16· · · · · · · · · _________________________________
  · · · · · · · · · · Laurel A. Mazur
  17· · · · · · · · · Notary Public, State of Florida
  · · · · · · · · · · Commission No. GG 352516
  18· · · · · · · · · Expires:· 7/28/23

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Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 260 of
                                       309
                                      Rishi Kukreja
                                      July 18, 2023

                           UNITED STATES DISTRI CT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 21-60125-CIV-SCOLA/GOODMAN




          J I ANGMEN BENLIDA PRINTED
          CIRCUIT CO. , LTD. ,

                        Plaintif f,

                vs .

          CIRCUITRONIX, LLC,

                       Defendant.
          ________________ !




                             TRANSCRIPT OF PROCEEDINGS
                       CONTINUED DEPOSITION OF RISHI KUKREJA




                              Tuesday, July 18, 2023
                              Remote Videoconference
                               2:12 p.m . - 3:20 p. m.




                           Stenographically Reported By:
                                   LAUREL A . MAZUR
                           Florid a Professional Reporter




                       U.S. Legal Support   I www.uslegalsupport.com
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 261 of
                                      309
                                      Rish i Kukr eja
                                      Jul y 18, 2023

    1    APPEARANCES:

     2
               On behalf of the Plaint if f :
     3
                     MAZZOLA LINDSTROM, LLP
     4               1350 Avenue of t he Americas, 2nd Floor
                     New York, New York 10019
     5               BY: RICHARD LERNER, ESQ .
                     richard@mazzolalindstrom.com
     6               BY: JEAN - CLAUDE MAZZOLA, ESQ.
                     jeanclaude@mazzolalindstrom.com
     7

     8
               On behalf of the Defendant:
     9
                     PODHURST ORSECK, P.A .
   10                SunTr ust International Center
                     One Southeast Third Aven u e , Suit e 2300
   11                Miami, Flori da 33131
                     BY: STEPHEN F. ROSENTHAL, ESQ.
    12               srosenthal@podhurst . com
                     BY: CHRISTINA H. MARTINEZ
    13               cmartinez@podhurst.com

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                      U. S . Legal Supp ort   I www. usle gal s upport . com   26 3
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 262 of
                                      309
                                                  Rishi Kukreja
                                                  July 18, 2023

     1                                           I N D E X

     2                                          DIRECT        CROSS       REDIRECT         RECROSS
     3    By Mr. Mazzola                          265

     4

     5                                  DEPOSITION EXHIBITS

     6    NUMBER          DESCRIPTION                                                           PAGE
     7    No . 137        E-mail 4/30/18                                                          268
                          Attachment: Air Freight Debit Memos
     8
          No . 138         Benlida Proforma Cost Inventory                                        280
     9
          No. 139         ROK Payment Detail                                                      295
    10
          No. 140         ROKUS/HK Payments                                                       297
    11

    12                          EXHIBITS RETAINED ALL COUNSEL

    13

    14    Certificate of Oath ......... . . . . . . . . . . . . . . . . . . . . . . . . 310

    15    Reporter ' s Certificate . ... . ... . . . . . . . . . . . . . . . . . . . . . . 311

    16    Certificate and Jurat . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 312

    17    Errata Sheet . . . . . . . . . . . . . . . . . ... . . . . . . . . . . . . . . . . . . .. 313

    18    Witness Notification Letter . . ...... . . . .. . .... . ...... 314

    19

    20

    21

    22

    23

    24

    25


                          U.S. Legal Support             I www.uslegalsupport.com                         264
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 263 of
                                      309
                                      Rishi Kukreja
                                      July 18, 2023

     1                        P R O C E E D I N G S
     2                    (The witness is duly sworn.)

     3   Thereupon,

     4                             RISH! KUKREJA,

     5   being by the undersigned notary public first duly

     6   sworn, was examined and testified as follows:

     7                         DIRECT EXAMINATION

     8   BY MR. MAZZOLA:

     9           Q    Good afternoon, Mr. Kukreja.        We are here in

   10    a deposition -- for your deposition in connection with

   11    this lawsuit between Benlida and CTX.           Do you

   12    understand that to be the case?

   13            A    Yes, I do.

   14            Q    And from time to time I am going to refer

   15    to -- you know, I will re fer to the entities as

   16    Benlida, and I will refer to you folks as CTX .           Is that

   17    okay?

   18            A    When you say you folks, yes, Circuitronix

    19   LLC.

    20           Q    Yes.   From time to time I may differentiate

    21    between CTX US and CTX Hong Kong.          If I do that, will

    22   you understand what I mean?

    23           A    Yes, I would.

    24           Q    I am also going to use, Rishi, first names,

    25    because I think we have been doing that throughout the


                      U .S . Legal Support   I www.uslegalsupport.com         265
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 264 of
                                      309
                                       Rishi Kukreja
                                       July 18, 2023

     1   various depositions here and I think everyone knows

     2    everyone by their first names.

     3         A     Yes, sure.

     4         Q     And where inappropriate, if I am referring to

     5    one of your Chinese clients or customers, I will use

     6    their English name or name I expect you to know them

     7    by; is that okay?

     8         A      That is correct.

     9          Q     For example, Tracy will be Tracy and Roger

    10    will be Roger.

    11          A     Understood.

    12          Q     You are here for this further additional

    13    deposition.    Let me ask you a question.         Did you have

    14    of an opportunity to review your deposition transcript

    15    that you a l ready provided in this case?

    16          A     No, I did not.

    17          Q     Did they provide it to you for reading?

    18          A     Yes.

    19          Q     Do you plan to read them?

    20          A     Yes.

    21          Q     As you sit here today and you recollect that

    22    other deposition that you gave, do you remain

    23    comfortable with all the answers you gave in it?

    24          A     Yes.

    25          Q     So there was no situation where you went home


                      U.S. Legal Su ppo r t   I www.uslegalsupport.com         266
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 265 of
                                      309
                                       Rishi Kukreja
                                       July 18, 2023

     1    and thought to yourself, oh, gosh, I should have
     2    answered something differently?
     3                MR. ROSENTHAL:       Hold on.    Sorry.   I am not
     4          taking lead in this depo, but JC, you are going
     5          beyond the scope we have agreed.           This is about
     6          new documents produced since the last deposition.
     7                MR. MAZZOLA:     Okay.    Can he answer that
     8          question?

     9                MR. ROSENTHAL:       He shouldn't.     It's beyond
    10          the scope of what we have agreed.
    11                MR. MAZZOLA:     Okay.
    12    BY MR . MAZZOLA:

    13          Q     Rishi, let's get started on this then.
    14                Let's start off with this document.           This is
    15    a document that was produced by your lawyer.
    16         A      Yes.
    17          Q     We put a document in front of you.           Do you
    18    see this to document, Rishi?
    19         A     Yes .

    20         Q     That is an e-mail that is written by a person
    21   named Alfredo.      Did you see that?

    22         A     Yes.

   23          Q     Is Alfredo an employee of Circuitronix?
   24          A     Was.

   25          Q     Was.    I assume that Alfredo          just


                     U .S. Legal Support    I www.uslega lsupport . com       267
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 266 of
                                       309
                                      Rishi Kukreja
                                     July 18, 2023

     1    guessing -- does he work at Circuitronix in the United
     2    States; is that correct?       Yes or no?

     3          A     I am trying to recollect, because I do not --
     4    I am not      yes, I believe that is correct .
     5          Q     So he would have been a Circuitronix US or

     6    Circuitronix LLC person?

     7          A     He would be a Circuitronix LLC employee.

     8          Q     You sent this to Tracy at Benlida, right?

     9          A     He sent it.

    10          Q     He did.   That is right, he sent it.         It was

    11    copied to you and it was copied to Lina as well, right?

    12          A     That is right.

    13          Q     Lina is a Circuitronix US person; is that
    14    correct?

    15          A     That is right.

    16          Q     And so is Howard, right?

    17          A     That is right.

    18          Q     Does Howard still work for the company?

    19          A     He does not.

    20                MR. MAZZOLA :    And Richard just handed me a

    21          number, Exhibit 137.      We are going to designate

    22          this, Stephen, as Exhibit          I beg pardon,

    23          Christina -- as 137.

    24                (Thereupon, Deposition Exhibit No . 137

    25                 is marked for identification.)


                     U.S. Legal Support    I www.uslegalsu pport.com          268
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 267 of
                                      309
                                      Rishi Kukreja
                                      July 18, 2023

     1    BY MR. MAZZOLA:

     2          Q     This is a -- the subject line relates to DHL

     3    invoices; do you see that?

     4          A     Yes.

     5          Q     And it attached a copy -- it says copy of air

     6    freight debit memos?

     7          A     Yes.

     8          Q     Did CTX US ever claim a lead time penalty or

     9    air freight charge for any product that was ordered by

    10    CTX HK?

    11          A     Did CTX US claim for CTX Hong Kong?

    12          Q     Yes.

    13          A     I cannot recollect, but         yeah, I am unable

    14    to recollect whether specifically we claimed for any

    15    freight -- any -- whether we claimed for any air

    16    freight cost which was incurred by CTX Hong Kong.

    17          Q     So your answer is you do not recollection if

    18    CTX US ever charged for an air freight charge that was

    19    incurred by CTX Hong Kong; is that your answer?

    20          A     That is correct.

    21          Q     What about any lead time penalty?         Same

    22    question; do you have any recollection if CTX US ever

    23    applied a lead time pena l ty to Benlida for a lead time

    24    penalty that was incurred by CTX HK?

    25          A     So we did not give a lead time penalty debit


                      U.S. Legal Support   I www.uslegalsupport.com           269
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 268 of
                                      309
                                        Rishi Kukreja
                                        July 18, 2023

     1   note to Benlida from November of 2016 onward.             There

     2   were spreadsheets which were created, but the agreement

     3   was - - Benlida requested us not to actually issue the

     4   debit note to them since the financials were already

     5    since the numbers were already -- they were not

     6   matching with the China Customs books .           And so the

     7   general agreement was that the lead time penalty would

     8    be offset by any pri ce increase -- any price increase

     9    penalty which we would give them -- no, which they

    10    would give us.

    11           Q    So the question is do you have -- do you

    12    know       or did CTX US ever apply lead time penalty to

    13    Benlida for a pur chase -- for a purchase order that was

    14    issued by CTX Hong Kong; yes or no?

    15           A     I cannot recollect.

    16           Q     If you go to the next page of this

    17    Exhibit 137, do you see that in the left-hand column?

    18                 MS. MARTINEZ :    Which column are you referri ng

    19           to, JC?   A?

    20                 MR . MAZZOLA:    Yes.

    21    BY MR. MAZZOLA:

    22           Q     If you scroll down to --

    23                 MR. MAZZOLA:      Christina, do you have this in

    24           front of you, this document?

    25                 MS. MARTINEZ :     Yes, I do .


                       U.S. Legal Support      I www.uslegalsupport.com        270
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 269 of
                                       309
                                     Rishi Kukreja
                                     J uly 18, 2023

     1                 MR . MAZZOLA:    I don't want you to be flying
     2          blindly.

     3                 MS. MARTINEZ :   It's a share screen, but
     4          sometimes it ' s a little small.      I just wanted to

     5          make sure where I was looking.

     6    BY MR . MAZZOLA :

     7          Q      It's Line 31.    Do you see that?

     8          A      Yes.

     9          Q      Do you see Line 31 says BEN.       That refers to

    10    Benlida, right?

    11          A      Yes.

    12          Q      And the DM next to HK refers to debit memo.

    13    Do you see that?

    14          A      That is right.

    15          Q      Is that a debit memo issued to Benlida in

    16    connection with a purchase order issued by Circuitronix

    17    Hong Kong?

    18          A      So the debit memo was the -- the debit memo

    19    was issued by Circuitronix Hong Kong, and the debit

    20    memo was subtracted from moneys owed by Circuitronix

    21    Hong Kong to Benlida.

    22                 At some point in time Benlida asked for - -

    23    reasked, because a lot of this information had been

    24    given to them in the past also           they reasked for

    25    information pertaining to all the debit notes.           And


                       U.S. Legal Support   I www.uslegalsupport.com          271
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 270 of
                                      309
                                     Rishi Kukreja
                                     July 18, 2023

     1   Howard worked with his counterpart in Hong Kong, who

     2   provided the information from Hong Kong, Alfredo

     3    collected the information for the US, and they were all

     4    consolidated and into one spreadsheet which was created

     5    into a PDF document and sent over to Benlida.

     6                But that actually debit note was not

     7    applied - - that debit note I do not believe was taken

     8    from -- deducted from moneys owed by Circuitronix LLC

     9    to Benlida, it was deducted from moneys owed by

    10    Circuitronix Hong Kong to Benlida.

    11          Q     So let me clarify then.       L ine 31 reflects a

    12    debit note that is issued in connection with a Hong

    13    Kong purchase order; yes or no?

    14          A     That is correct.

    15          Q     Line 33 represents a debit memo that was

    16    issued in connection with a purchase order issued by

    17    CTK -- I beg your pardon -- Circuitronix US; is that

    18    correct?

    19          A     That is correct.

    20          Q     They are both in Hong Kong dollars.         Why

    21    would that be?

    22          A     Because that is freight cost .

    23          Q     Okay.   That was freight cost in Hong Kong

    24    dollars, right?

    25          A     Yes .


                      U.S. Legal Support   I www.uslegalsupport.com            272
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 271 of
                                      309
                                      Rishi Kukreja
                                      July 18, 2023

     1          Q     On what basis does CTX Hong Kong -- on what

     2    basis would CTX Hong Kong be entitled to an offset for

     3    air freight?

     4          A     If Benlida did not meet their committed l ead

     5    time on a part number, it could result in a - - if

     6    additional air freight be incurred by us to fulfill the

     7    customer 1 s requirements.     And in those cases, they were

     8    either responsible for the air freight or the actual

     9    purchase order which shipped by air or another purchase

    10    order, the same part number, which subsequently shipped

    11    by air because of the problem -- because             because it

    12    sort of has a doubling effect.         So there is a

    13    possibility that we shipped --

    14                Okay, let me try to explain this to you.           So

    15    let's assume that there is a part number which the

    16    customer has paid to ship by ocean, and every month the

    17    customer requires a hundred pieces Jan 1, Feb 1,

    18    March 1, so on and so forth.        So the March 1 parts

    19    should ship by ocean let's assume by Jan 15.

    20                Now, if Benlida is late on the Jan 15th --

    21    does not meet the Jan 15th date, we will not be able to

    22    get those parts to the customer by March 1 by ocean.

    23    So we would need to make an air freight             we would

     24   need to ship those parts by air.

     25                But sometimes what was done was that if we


                      U.S. Legal Support    I www.uslegalsupport.com           273
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 272 of
                                      309
                                        Rishi Kukreja
                                        July 18, 2023

      1    saw that the parts which were required for April 1 were
      2   going to get ready by Feb 24 or Feb 23, we would ship
      3   the March         the parts which are required by March, we
      4   would put it on the ocean for the April 1 requirement.

      5           Q      So I think I understand, Rishi.      I think you
      6   are saying if goods were received late by Benlida, they
      7   couldn't get delivered on time by ship and were put on

      8   an airplane; is that correct?

      9           A      That is one part of it, but not the entire
    10    part of it.

    11            Q      Okay.   And then the air freight charges were
    12    debited back to Benlida?

    13            A      That is correct.
    14            Q      Okay,_ let me ask you a quick question over
    15    here.       This relates to the master agreement, the
    16    contract.       You are familiar with that, right?

    17            A     Yes.

    18            Q     And the master agreement contained an

    19    exclusive customer list in it; is that correct?

    20            A     Yes.

    21            Q     And that was an exclusive customer list that

    22    was something that was negotiated between you and

    23    Benlida; is that correct?

    24                  MS. MARTINEZ:    JC, again, these questions are

    25            questions that could have already been asked in


                        U.S. Legal Support [ www.uslegalsupport.com            274
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 273 of
                                       309
                                      Rishi Kukreja
                                      July 18, 2023

      1           the first depo.        So unless there is a connection
      2           to this with one of the new documents
      3                  MR . MAZZOLA:    Let me get the connection .
      4                  MS . MARTINEZ:    Okay, just making sure.           So
      5           far there has been some intermediary questions
      6           that are not relating to new documents.
      7   BY MR. MAZZOLA:

      8           Q      I was asking about the exclusive customer
     9    list.       That was the list negotiated between you and
    10    Benlida, right?

    11            A     Between Circuitronix LLC, Circuitronix Hong
    12    Kong, and Benlida.        That is right .
    13            Q     Between Ci rcuitronix LLC US, Circuitronix
    14    Hong Kong - - is that correct?

    15            A     Yes .

    16            Q     And Benl ida?

    17            A     Yes.
    18            Q     Was there a cont ract between Circuitronix

    19    Hong Kong and Benlida that listed the exclusive

    20    customer lis t ?

    21            A     No, we had --

    22                  MS. MARTINEZ :     Objection.    Again, this is
    23            going outside the scope of this document and the

    24            new documents that we produced on June 8.
    25                  MR. MAZZOLA:      Okay, I am going to move


                        U.S. Legal Suppor t   I www.uslega l support . com        275
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 274 of
                                       309
                                      Rishi Kukreja
                                      July 18, 2023

     1          quickly through this, okay?

     2                  MS. MARTINEZ:     Okay .

     3    BY MR. MAZZOLA:

     4          Q       What were you going to say, Rishi?
     5          A       So we maintained a common exclusive list.

     6          Q       And that was a common exclusive list between
     7    CTX US, per the contract , and Benlida; is that correct?

     8          A       That is correct.

     9          Q       You also mentioned that CTX Hong Kong was

    10    involved in that list as well .          Can you explain that?

    11                  MS. MARTINEZ :    JC, I am really sorry.     You

    12          said you were going to move quickly through this.

    13          I understood you meant you were going to move back
    14          to questions related to this document and not to

    15          questions --

    16                  MR. MAZZOLA :    Well, I am done with this

    17          document.

    18                  MS . MARTINEZ:    Okay.

    19                  MR. MAZZOLA :    I will put the next document up

    20          tnen.

    21                  Madam court reporter, will you read back the

    22          last question please.

    23                  (The pending question is read

    24                   back by the court reporter.)

    25


                        U.S. Legal Support   I www.uslegalsupport.com         276
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 275 of
                                      309
                                       Rishi Kukreja
                                       July 18, 2023

      1   BY MR. MAZZOLA:
      2         Q     Can you explain that, Rishi?        What did you
      3   mean by that?

      4               MS. MARTINEZ:     JC, the fact that you pull up
      5         a different document and ask the same question
      6         that is outside of the scope of the deposition
     7          doesn't make the quest i on okay.       It's still
     8          outside the scope of the deposition.
     9                THE WITNESS:     I am going to get to these
    10          exclusive customer items right now.
    11                MS. MARTINEZ:     Okay.
    12    BY MR. MAZZOLA:

    13          Q     So you can answer the question, Rishi, unless
    14    your lawyer is instructing you not to.
    15                MS. MARTINEZ :    You can answer, Rishi.
    16                MR. ROSENTHAL:     He is on mute.      I don't know
    17          if he realizes.
    18                THE WITNESS:     Could you repeat the question
    19          please?

    20                (The pending question is read
    21                 back by the court reporter.)
    22                THE WITNESS:     So CTX, most of the customers
    23          who were on that list, we -- we wrote something to
    24          the extent of Customer A, all global locations and
    25          subcontractors.


                     U.S. Legal Su pport   I www. u slegal support.com        277
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 276 of
                                      309
                                     Rishi Kukreja
                                     July 18, 2023

     1                So if Customer A had -- Customer A, let's

     2          assume it was Lear, and Lear was a Circuitronix

     3          Lear Mex ico -- let ' s assume Customer A was Lear

     4          Mexico.    So Lear Mexico was a Circuitronix LLC

     5          customer, and through the verbiage of "and all

     6          global locations", Lear is Sabu or Lear

     7          Phil ippines or Lear Germany, which was a

     8          Circuitronix Hong Kong customer, it got captured

     9          in the exclusive customer list.

    10    BY MR. MAZZOLA:

    11          Q     So the exclusive customer list was a list

    12    that was an addendum to the contract between CTX LLC

    13    and Benlida; is that correct?

    14                MS. MARTINEZ:     Objection.

    15                THE WITNESS :    It began that way , but at some

    16          point in time Circuitronix Hong Kong was a part of

    17          that - - became a part of that agreement.

    18    BY MR. MAZZOLA:

    19          Q     Part of what agreement?

    20          A     Of the original manufacturer's agreement.

    21          Q     When did Circuitronix Hong Kong become part

    22    of the original manufacturer's agreement?

    23          A     Through the secondary - -

    24                MS. MARTINEZ:     Objection.     Please do make the

    25          connection to the document that we --


                      U .S. Legal Support   I www.uslegalsupport.com           278
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 277 of
                                      309
                                       Rishi Kukreja
                                       July 18, 2023

     1                MR. MAZZOLA:     I will, but I can't leave the

     2          door ajar without kicking it .

     3                MS . MARTINEZ:    I think - - then I object, and

     4          I am going to instruct Rishi not to answer to

     5          these questions unless and until they are tied to

     6          s ome document, because I have given some leeway

     7          and I still don't see the connection and these are

     8          questions outside the scope.

     9    BY MR. MAZZOLA:

    10          Q     I do think you did just say, Rishi           and I

    11    think Laurie is an excellent court reporter, so I am

    12    sure she wrote that down -- I asked you when did CTX

    13    Hong Kong become part of the agreement, and I could

    14    have sworn you said through the second.          Were you

    15    referring to the second agreement, the letter, Rishi?

    16                MS. MARTINEZ:     Objection .

    17                MR. ROSENTHAL:     JC, what are you doing?        She

    18          is instructing him not to answer unless you comply

    19          with the terms of the agreement that we had.            This

    20          deposition is limited to documents produced since

    21          the last deposition .       If you'd just tie it in,

    22          maybe you can ask these questions, but without

    23                MR. MAZZOLA:     He just offered it, Stephen.

    24                MR. ROSENTHAL:     He didn ' t offer it.    You

    25          asked him questions, JC, and those are improper so


                      U.S . Legal Support   I www.uslegalsupport.com           279
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 278 of
                                       309
                                      Rishi Kukreja
                                      July 18, 2023

     1          far .    So at this point we are instructing him not
     2          to answer and --

     3                  MS. MARTINEZ:      I did instruct him not to
     4          answer unless and until it's tied to some
     5          document.

     6                  MR. MAZZOLA:      Are you instructing him to not
     7          answer my question for clarification with the

     8          answer he partially gave?          Is that correct,

     9          Christina?

    10                  MS . MARTINEZ :    Yes.

    11                  MR. MAZZOLA:      All right, Christina.    Thank
    12          you .

    13                  (Thereupon, Deposition Exhibit No. 138

    14                   is marked for identification.)

    15    BY MR . MAZZOLA :

    16          Q       All right.      Let's look at the document we

    17    just put up here as Exhibit 138.

    18                  Do you see this document, Rishi?

    19                  MR . MAZZOLA:     Something is blacked out at the

    20          top.     Did you do that, Richard?        Do you see that,

    21          Christina, the blacked-out section?

    22                  MS. MARTINEZ:      I see the blacked-out section.

    23          I don't -- yeah.

    24                  MR. MAZZOLA:      We didn ' t do that .

    25


                        U.S. Legal Support j www.uslegalsupport.com           280
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 279 of
                                      309
                                         Rish i Kukreja
                                         July 18, 2023

     1    BY MR. MAZZOLA:

     2             Q    Do you know what this document is, Rishi?        It

     3    was produced by your lawyers?

     4             A    Can you just scroll all the way to the right?

     5                  Yes, I know what this document is.

     6             Q    And this document was prepared by your

     7    office; is that correct?

     8             A    It was prepared by both the offices -- Hong

     9    Kong, US -- and it was consolidated in one sheet.

    10             Q    So it is a consolidation of things from both

    11    Hong Kong and US; is that correct?

    12             A    Yes, but if you go to the right - - scroll to

    13    the right.         More, more, more, more.

    14                  Yeah.     So you can change the name of the

    15    company and - - if you select .        You can either select

    16    Hong Kong, you can select US, or you can select both of

    17    them .

    18                  MS. MARTINEZ:     This is Column T for the

    19             record.

    20                  MR. MAZZOLA:     Yes, we are looking at Column T

    21             over here.

    22    BY MR. MAZZOLA:

    23             Q    Rishi, I am going to scroll all the way over

    24    to the left and to the top.          Do you see that?

    25             A    Yes.


                        U.S . Legal Support   I www.uslegalsupport.com        281
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 280 of
                                        309
                                      Rishi Kukreja
                                      J uly 18, 2023

     1          Q     In Column B, do you see where it says
     2    Proforma?    Do you see that?

     3          A     Yes .

     4          Q     When you write Proforma there, that relates
     5    to a probably proforma invoice; is that correct?
     6          A     That is correct.
     7          Q     A proforma invoice is something that was
     8    issued by CTX, either Hong Kong or US; is that correct?
     9          A     That is not correct.      Proforma -- the
    10    proforma invoice was issued by Benlida.

    11          Q     I beg your pardon, by Benlida .       Okay.

    12                Benlida would issue these proforma invoices.
    13    Do you see them in Column B?

    14                MS . MARTINEZ:    And for the record -- sorry to

    15          interrupt you -- this is tab labeled Payment and

    16          Shipment Analysis.

    17                MR. MAZZOLA:     Yes, that is correct.        Thank
    18          you, Christina.

    19    BY MR. MAZZOLA:

    20          Q     Let ' s scroll down .   So you see at the top

    21    over here they all have an HK in them.          Do you see

    22    that, Rishi, looking at Line 3?

    23          A     Yes.

    24          Q     And let's scroll down to Line 2028.

    25          A     You don't need to scroll down .       You can just


                      U.S. Legal Suppo rt   I www.uslegalsupport.com          282
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 281 of
                                      309
                                      Ri shi Kukreja
                                      July 18, 2023

     1    go and select by the company and you only get the US

     2    ones.

     3            Q   We weren't able to do that .       It wasn' t in

     4    that sortable fashion .

     5            A   I f you g o to the right and choose a

     6    company

     7            Q   It's okay.    We are there now.

     8                Do you see Line 2028 on tab Payments and

     9    Shipment Analysis?

    10            A   Yes .

    11            Q   You see another what I call proforma invoice .

    12    Do you see that?

    13            A   Yes.

    14            Q   And there is no reference to HK on that; i s

    15    that c orrect?

    16            A   Yes, those are US .

    17            Q   So that would lead me to believe -- so that

    18    is a di stinguishing fac tor on the proforma invoice; the

    19    ones fo r Hong Kong had HK on it , and the ones issued

    20    for US had nothing on it?         Is that correct?

    21            A   They followed the same methodology, the

    22    regular invoices and proforma invoices.

    23            Q   And that is a methodology that was devised

    24    between CTX and Benlida?

    25            A   No, Benlida, because they are two separate


                      U.S . Legal Support   I www.uslegalsupport.com           283
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 282 of
                                      309
                                     Rishi Kukreja
                                      July 18, 2023


     1    companies.     CTX Hong Kong was a different company and

     2    CTX LLC was a different company .        They did what they

     3    were supposed to do.

     4          Q      But the proforma invoices are things that

     5    were approved by CTX US and CTX Hong Kong; is that

     6    correct?

     7          A      The way the proforma invoices worked was we

     8    would tell -- we would give a bunch of purchase

     9    orders -- LLC would send a bunch of purchase orders to

    10    Tracy and ask her - - ask them to issue a proforma

    11    invoice.     She would give a proforma invoice for LLC.

    12    Hong Kong would do the same thing, and she would give

    13    proforma invoice for Hong Kong.         And then we would pay

    14    the proforma invoices, and then they would build the

    15    parts, and once they build the parts they -- they would

    16    build and ship the parts, yes.

    17          Q      If I see HK in a proforma invoice, that

    18    indicates that it relates to an HK purchase order; is

    19    that correct?

    20          A      Yes.

    21          Q      If I don't see HK on a proforma invoice, that

    22    would indicate that it relates to a CTX US purchase

    23    order; is that correct?

    24          A      Yes.

    25          Q      Let's look at Line -- Column D.        Do you see


                       U.S . Legal Support   I www.uslegalsupport.com          284
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 283 of
                                      309
                                         Rishi Kukreja
                                         J uly 18 , 2023

     1    Column D?

     2           A       Yes .

     3           Q       There is an X number in that purchase order .
     4    Do you see that?

     5           A       There is an X number -- yes.

     6           Q       I am going to

     7           A       Yes, yes.

     8           Q       It says X57.    Do you see that?

     9           A       Yes.

    10           Q       That X57 relates to a customer on the

    11    exclusive customer list; is that correct?

    12           A       It relates to a customer on the exclusive
    13    customer li st, but it ' s not -- it doesn ' t tie back to

    14    the customer list .

    15                   Benlida at some point in time had requested

    16    so that they could - - they could know what were the

    17    acceptance criteria for PCB or packaging criteria for

    18    PCB.       All customers which had a similar acceptance

    19    criteria were called -- got the same categorization.

    20           Q       So if I see -- so X57 does not necessarily

    21    mean it was for that customer, X57?

    22           A       So it means that -- it means that - - X57

    23    means that it's for -- X57 means that Lear USA has the

    24    same requirements -- acceptance criteria and packaging

    25    requirements as Lear Philippines, and that is why both


                        U . S . Legal Support   I www.uslegalsupport . com    285
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 284 of
                                      309
                                     Rishi Kukreja
                                     July 18, 2023

     1    of them have been given the code 57.

     2          Q     So you just mentioned Lear, L-E - A-R; is that

     3    correct?

     4          A     Yes.

     5          Q     And the code X57, that applies to Lear and

     6    all of Lear's locations; is that correct?

     7          A     That is correct, because we have

     8          Q     And Lear, L - E-A- R, with the number X57 is an

     9    exclusive customer pursuant to the agreement; is that

    10    correct?

    11          A     Yes.   For both Circuitronix -- Lear USA, Lear

    12    Mexico and Lear USA for LLC; Lear Germany, ~ear Lapat,

    13    Lear Europe, Lear Spain, and Lear Philippines for

    14    Circuitronix Hong Kong.

    15          Q     So if it's an exclusive customer for US,

    16    Philippines, Germany         the whole wide world - - the

    17    message is, pursuant to the contract, Benlida, don't go

    18    selling anything to any of these peopl e at Lear unless

    19    it comes through us; is that correct?

    20                MS. MARTINEZ:     Ob jection.   It's outside of

    21          the scope of the agreement for this depo.

    22    BY MR . MAZZOLA:

    23          Q     Can you answer that question, Rishi, unless

    24    your lawyer is instructing you not to?

    25                MS. MARTINEZ:     I am instructing him not to.


                      U.S . Legal Support   I www.uslegalsupport.com           286
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 285 of
                                      309
                                     Rishi Kukreja
                                     July 18, 2023

     1    BY MR. MAZZOLA:

     2           Q       Let's go down to -- look at Line 3.      Do you

     3    see that?

     4           A       Line which one?

     5           Q       Line 3 .

     6           A       Yes.

     7           Q       That is a purchase order.     That is a CTX Hong

     8    Kong purchase order number; is that correct?

     9           A       I do not think that our purchase orders

    10    had        have 57 written on them.     But yeah -- again,

    11    yes.       So that -- that should be a Circuitronix Hong

    12    Kong PO .      That is correct.

    13           Q       This document came from you; is that right,

    14    Rishi?

    15           A       It came from my team, yes.     It came from

    16    Circuitronix .

    17           Q      Let's scroll down to Line 22 -- 2028 .

    18                  We are at Line 2028.     Do you see this, Rishi?

    19           A      Yes.

    20           Q       If you scroll over to the purchase order, do

    21    you see that?

    22           A      Yes, I do.

    23           Q       Line Dor Column D.     It says us there; is

    24    that correct?

    25           A      Yes.


                        U.S. Legal Support   I www.uslegalsupport.com         287
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 286 of
                                      309
                                        Rishi Kukreja
                                        July 18, 2023

     1          Q     Is that an indication that this is a purchase

     2    order issued by CTX US?

     3          A     Yes.

     4          Q     This purchase order also contains X57 on it .

     5    Do you see that?

     6          A     Yes.

     7          Q     And that is the code number ide ntifying i t as

     8    an exclusive customer, Lear ; is that correct?

     9          A     Lear USA.

    10          Q     Okay.      Lear and one of its global entities,

    11    correct?

    12          A     Lear USA.

    13          Q     So X57 over there just means Lear USA; is

    14    that what your te s timony is?

    15          A     So X57 represents a Lear location which has a

    16    similar requirement as - - similar quality and

    17    acceptance criteria and packaging requirement as

    18    another Lear location .

    19          Q     You sound like you are talking about a can

    20    have soda, that Pepsi has similar packaging criteria as

    21    Coca-Cola, it's just a dif f erent color.        Is that what

    22    you are saying?

    23                MS . MARTINEZ :    Objection.

    24                THE WITNESS:      I don't know what you just

    25          sai d, but - -


                      U.S . Legal Support   I www.uslegalsupport.com          288
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 287 of
                                      309
                                       Rishi Kukreja
                                       July 18, 2023

     1    BY MR . MAZZOLA:

     2          Q     X57 relates to Lear; is that correct?
     3          A     So

     4          Q     Is that correct?     Is X57 the code number for
     5    Lear; yes or no?

     6                MS. MARTINEZ:     Obj ection.
     7                MR. ROSENTHAL:     Asked and answered.
     8    BY MR. MAZZOLA:

     9          Q     Is that correct, Rishi?

    10                MS. MARTINEZ:     Objection.

    11                MR . MAZZOLA:    He can ' t answer the question?

    12                MS. MARTINEZ:     He can answer it, but he

    13          answered it many times I think already.
    14    BY MR. MAZZOLA:

    15          Q     Is that correct, Rishi?

    16                MS . MARTINEZ:    Objection.

    17                You can answer, Rishi.

    18                THE WITNESS :    X57 is Lear USA - - it is Lear

    19          USA for Circuitronix LLC; and X57 is Lear Sabu,

    20          and Lear Germany for CTX Hong Kong.

    21    BY MR. MAZZOLA :

    22          Q     Okay.   So X57 -- just the X and the 57 --

    23    means different things depending on who issues the

    24    purchase orders; is that your testimony?

    25                MS. MARTINEZ:     Objection.


                      U.S. Legal Support   I www.uslegalsu pport. com         289
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 288 of
                                      309
                                         Rishi Kukreja
                                         J uly 18, 2023

     1                  THE WITNESS:     My testimony is that the code

     2            had little to do with the customer, it had to do

     3            with commonality in the acceptance criteria the

     4            customer requires.

     5    BY MR. MAZZOLA:

     6            Q     Let me ask you this question, Rishi.         If

     7    Benlida manufactured PCBs for Lear through some other

     8    company, would they be in breach of the contract?

     9                  MS . MARTINEZ:    Objection .     I am going to

    10            instruct him not to answer.

    11    BY MR . MAZZOLA:

    12            Q      Let's look at - - let me ask you this question

    13    then.       How does BLD distinguish X57 as being for the

    14    Philippines versus US versus Germany versus Dubai?              How

    15    do they know that?

    16            A      The way they know that is because we

    17    communicate to them that             we communicate to them

    18    while we are loading the project that -- so the first

    19    thing they are aware of is Circuitronix LLC only sells

    20    into North American customers, and Circuitronix Hong

    21    Kong sells into non-North American customers.             And then

    22    the second thing is when we aboard a project to them,

    23    we tell them that the shipping for this customer is

    24    Lear Sabu or it's Lear Germany.           So they are aware of

    25    it.


                         U .S. Legal Support   I www.uslegalsupport.com         290
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 289 of
                                      309
                                     Rishi Kukreja
                                     July 18, 2023

     1            Q     I understand, Rishi.       Let's look at another

     2    line.

     3                  Before we go to that, let ' s look at Line
     4    let's look at Line 118 .        Do you see that Rishi,

     5    Line 118?

     6            A     Yes.

     7            Q     Here we have a proforma invoice that has HK

     8    on it.      Do you see that?     Column B.    Do you see that?

     9            A     We have a proforma invoice

    10            Q     You don ' t see the HK there, Rishi?

    11            A     I do, I do.    Yes.

    12            Q     You see the HK.       Let's go to Column D.      Do
    13    you see that Column D, Line 118?

    14            A     Yes.

    15            Q     Do you see that?

    16            A    Yes.

    17            Q     It says X70.     Do you see that?

    18            A     Yes .

    19            Q    X70 identifies an exclusive customer .         Do you

    20    see that?

    21            A     Yes.

    22            Q     There is an HK next to it.       Do you see that?

    23            A     Yes.

    24            Q     Let's go back up to Line 3.       No, not Line 3.

    25    I beg your pardon.      Line 2171.


                       U.S . Legal Support    I www.uslegalsupport.com         291
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 290 of
                                      309
                                      Rishi Kukreja
                                      July 18, 2023

     1                So X70, as we go down to it, that is an

     2    exclusive customer number; is that correct?

     3          A     X70 for Circuitronix LLC is Kimball Mexico

     4    and Kimball Jasper, Indiana; and for Circuitronix Hong

     5    Kong is Kimball Thailand and Kimball Nanjing.

     6          Q     You see in Line 2171 there is another X70 .

     7    Do you see that?

     8          A     That's right.

     9          Q     So it's the same company, but your testimony

    10    is that when it says X70 on an HK --

    11          A     It's not the same company.       Kimball Jasper,

    12    Indiana, is a separate company than Kimball Nanjing,

    13    China, or Kimball Thailand.        They are not the same

    14    entities - - legal entities.

    15          Q     How would Benlida know - - strike that.

    16                So let me just give you an example.         This

    17    X70, that relates to Kimball; is that what you are

    18    saying?

    19          A     That is right.

    20          Q     And if the purchase order is issued by Hong

    21    Kong, Benlida is to know that it relates to Kimball

    22    Electronics Nanjing, right, or someplace else?

    23          A     Nanjing, Thailand, yes.

    24          Q     And if it's issued by CTX US, Benlida is to

    25    know that it relates to Kimball Electronics Indiana; is


                      U.S. Legal Support   I www.uslegalsupport.com            292
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 291 of
                                      309
                                      Rishi Kukreja
                                      July 18, 2023

     1    that your testimony?

     2           A    That is my - - they are not supposed to

     3    know       I mean, they know, and it's also communicated

     4    to them in the e-mail.

     5           Q    Now, when you said it's all communicated to

     6    them by e-mail, what do you mean?         Would there be

     7    e-mails explaining this to them?

     8           A    Basically when we send them a purchase

     9    supposedly when a purchase order is sent by

    10    Circuitronix Hong Kong, they know it's not for any US

    11    location, North American location.          When we send them a

    12    project, we say this is a new project for Kimball

    13    Thailand or Kimball Mexico.         We give them that

    14    information.

    15           Q    But you also give them the code number; X70,

    16    X57, whatever it code it may be?

    17           A     We don 't give them any code number at the

    18    time where we are discussing the project.          When the

    19    purchase order is being issued, the code number is

    20    added for one reason and only one reason -- which is

    21    documented extremely well -- to show the acceptance

    22    criteria.

    23           Q     Looking at these -- Column D, those are

    24    purchase order numbers; is that correct?

    25           A     They seem to be.      I --


                       U.S . Legal Support   I www.uslegalsupport.com          293
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 292 of
                                      309
                                      Ri shi Kukreja
                                      July 18 , 2023

     1          Q     Rishi, what are you looking at?         You are

     2    moving your cursor around .

     3          A     Nothi ng .   I am not looking at anything.

     4          Q     Are you looking at documents other than the

     5    one that is on the screen in front of you?

     6          A     No, no, I am trying to get my Zoom on my

     7    laptop to work.

     8          Q     Okay.    Are you ready, Rishi?

     9          A     I am ready.     I am trying to get the video on

    10    the laptop, but I am ready.

    11          Q     Let's put up --

    12                MR . ROSENTHAL:      Quick question before you

    13          l eave it, JC .    The document you put up there, is

    14          t hat one you marked as 138?

    15                MR . MAZZOLA:      138, yup.

    16                MR . ROSENTHAL :     Okay.     I don't know what the

    17          title of t hat is --

    18                MR. MAZZOLA:       I don ' t know what time we

    19          started.      I think we started at

    20                MR. ROSENTHAL :      Ten after .

    21                MS. MARTINEZ:       I t was about 2: 10, JC.

    22                MR. MAZZOLA :      Okay, let ' s l ook at

    23                MR. LERNER:     Hold on.       He had a question as

    24          to the title --

    25                MR. MAZZOLA:       I know the document number.


                      U.S. Legal Support     I www.uslegalsupport . com       294
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 293 of
                                      309
                                       Rishi Kukreja
                                       July 18, 2023

     1          CTX- 01533295.    It's titled Benlida Proforma Cost
     2          and Inventory Management.

     3    BY MR . MAZZOLA:

     4          Q     I need some help understanding a document
     5    Rishi, that your lawyers provided to us.           It's called
     6    ROK Payment Detail.

     7          A     Sure.

     8          Q     It ' s going to be Exhibit 139.

     9                MS . MARTINEZ:    JC, is this the document
    10          titled -- sorry.       Is this dated 2012 to 2018?
    11                MR . MAZZOLA:    Yes.

    12                MS . MARTINEZ:    Okay, perfect .     Okay, great.
    13          Sorry.     I couldn't see the whole thing .      Thanks.

    14                (Thereupon, Deposition Exhibit No. 139

    15                   is marked for identification . )

    16    BY MR. MAZZOLA:

    17          Q     This is going to be Exhibit 139, and let's go
    18    to the tab where it says November 2017.           You have to

    19    keep going over.

    20          A     By the way, I am not being able to see the

    21    document on the screen either.

    22                MS. MARTINEZ:      I can see it.

    23                THE WITNESS:     Okay, I see it now.

    24    BY MR. MAZZOLA:

    25          Q     Do you see this November 2017?


                     U.S. Legal Support    I www.uslegalsupport.com           295
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 294 of
                                       309
                                      Rishi Kukreja
                                      Jul y 18, 2023

      1         A     I do.
      2         Q     This is what we talked about, payment detail?
      3   Do you see that?

      4         A     Yes, but I am not being able to see the
      5   entire document, I am just being able to see parts of
      6   it.

      7         Q     I am just going to scroll down to the bottom
      8   so you can clarify some things for me.

     9                This was a document that was recently
    10    provided to us that your lawyers provided to us, Rishi.
    11    Do you see this?

    12          A     Yes.

    13          Q     At the bottom of this where I will highlight
    14    Line 139, do you see HK total?        Do you see that?
    15          A     Yes.

    16          Q     And then I scroll up and I see a US total.
    17    Do you see that?

    18          A     Yes.

    19          Q     So the US total relates to money owed or

    20    money due on purchase orders issued by CTX US to ROK.

    21    Do you see that?

    22          A     Yes .

    23          Q     And then where it says HK, it's money owed on

    24    purchase orders issued by ROK to CTX HK; is that

    25    correct?


                      U.S. Legal Support   I www.uslegalsupport.com           296
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 295 of
                                       309
                                      Rishi Kukreja
                                      July 18, 2023

     1          A     Yes.

     2          Q     Then there is a subtotal of 706,000?

     3          A     Yes.

     4          Q     And then what you have done is you carried

     5    over the balance of 777.       Do you see that?

     6          A     Yes.

     7          Q     And then this month, on February 1, 2018, you

     8    made a payment of 300,000.       Do you see that?

     9          A     Yes.

    10          Q     And that left a balance of 218,000.         I beg

    11    your pardon, 1.1 million?

    12          A     1.1 million.

    13          Q     I am going to pull up a document, and we are

    14    going to call it --

    15                MS. MARTINEZ:     This will be 140, the new one

    16          you are pulling up.      The ROK Payment Details was

    17          Exhibit 139.

    18                {Thereupon, Deposition Exhibit No. 140

    19                 is marked for identification . )

    20    BY MR. MAZZOLA:
    21          Q     This is a payment detail spreadsheet.          We are

    22    calling it exhibit 140.       Rishi, I will tell you this

    23    was a document that was produced by your lawyers.

    24    Presumably it came from your office, is that correct?

    25          A     Yeah, should be, but I am trying to see what


                      U.S. Legal Support \ www.uslegalsupport.com              297
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 296 of
                                       309
                                      Rishi Kukreja
                                      July 18, 2023

      1   document is this.       This is ROK payments
      2                MR. ROSENTHAL:     Can I suggest you show him
      3         sorry, JC.      Can you show him the title of the
      4         document?      Your screen has that black on it all
      5         the time.      Oh, it's a Zoom feature.
      6                MR. MAZZOLA:     It's Payment Schedule for ROK
      7         US HK payments.
      8   BY MR . MAZZOLA:

     9          Q      Do you see this document, Rishi?
    10          A      I do.   I am just trying to see what this
    11    document is about.        Okay, go ahead.
    12          Q      Do you see there is a Column C that says
    13    Disbursement Bank, Citibank.        Do you see that?
    14          A      Yes, I do.
    15          Q     And it's got a Swift Number, and it says
    16    CITIUS.     Do you see that on that?
    17          A     Yes, it should be the Citibank.
    18          Q     And that bank account number ending in 698,
    19    that is CTX US's US bank; is that correct?
    20          A     That is correct.
    21          Q     So back to the payment detail, do you see

    22    that less payment?        February 1, 2018, 300,000.     Do you
    23    see that?    I am looking at Exhibit 13 9.
    24          A     Yes.

    25          Q     If we go back to -- if we go back to the


                      U.S. Legal Support / www.uslegalsupport.com             298
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 297 of
                                      309
                                       Rishi Kukreja
                                       July 18 , 2023

      1   payment and look at February 1, 2018, and we go back
      2   down to February 1, 2018 - - I am scrolling down here
      3   do you see that?

     4          A     Yes.

     5          Q     Do you see that payment for 300,000?
     6          A     I am not being able to see that at the bottom
     7    of the screen.

     8          Q     Well, I have the cursor circling it now.          Do
     9    you see that?

    10          A     No, I cannot.

    11          Q     You can't see that 300 right there?

    12          A     No.    You have to take it a little more down.

    13          Q     Well, it's on my screen.

    14                MR. MAZZOLA:     Do you see it, Christina?
    15                MS. MARTINEZ:     I see it .
    16                THE WITNESS:     I am able to see - -
    17    BY MR. MAZZOLA:

    18          Q     How is that?    Can you see it now?
    19                MS. MARTINEZ:     Can you see it now, Rishi?
    20                THE WITNESS:     I mean, I can see t he

    21          documented, but I cannot see

    22                MS. MARTINEZ:     The row?

    23                THE WITNESS:    Yeah, I cannot see -- the row I

    24          am seeing just has 1 February 2018.         That is it.

    25          That is the only thing I can see on my screen.


                     U.S. Legal Support    I www.uslegalsupport.com           299
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 298 of
                                      309
                                          Rishi Kukreja
                                          July 18, 2023

     1                Now I can see 300,000.
     2    BY MR. MAZZOLA :
     3          Q     Okay.      And now you can see Citibank?
     4          A     Yes.
     5          Q     You can see the account number ending in 698?
     6          A     No, I can only see -- now I can see the
     7    account number.        Okay.

     8          Q     So does that mean then that that payment that
     9    was made on February 1, 2018 -- this payment over
    10    here -- that means it came from your Citibank US
    11    account; is that correct?

    12          A     That is what the spreadsheet says, yes.

    13          Q     Let ' s look now at -- on 139, Exhibit 139,
    14    December 27 .       Do you see this?     2017 .    Do you see this?

    15          A     Yes, I do.

    16          Q     I am going to scroll down.            Again, it 's got a
    17    US total of 414,000 .          Do you see that?

    18          A     Yes.

    19          Q     And then it's got a Hong Kong total of

    20    118,000 .   Do you see that?

    21          A     Yes.

    22          Q     It has a subtotal of 532, and then it has

    23    that balance of 1.183 that was carried over from the

    24    previous payment memo.           Do you see that?

    25          A     Yes .


                      U.S. Legal Support      I www.uslegalsupport.com           300
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 299 of
                                      309
                                       Rishi Kukreja
                                       July 18 , 2023

     1          Q     And then it says you made another payment on
     2    February 8, 2018.        Do you know where that came from?
     3    Did that come from the Hong Kong account, or did it
     4    come from the US account?

     5          A     I would have to go and look, but based upon
     6    what you showed there I think it came from the US
     7    account.

     8          Q     It did come from the US account?

     9          A     Again --

    10          Q     Now you have a balance of 1 . 416.       Do you see
    11    that , Rishi?

    12          A     Yes.

    13          Q     Let ' s look to the next month.      We can see you

    14    carried that balance over.        Do you see that Rishi?

    15          A     Yes.

    16          Q     Now, here you still owe money to the Hong

    17    Kong entity.        Do you see that?   96,000 was the new

    18    money, right?

    19          A     Yes.

    20          Q     And then you owe 131,000 new money to the US .

    21    Do you see that?

    22          A     Yes .

    23          Q     And the total owed is 227.        Do you see that?

    24          A     Yes.

    25          Q     Now, here you made payments of -- looks like


                      U.S . Legal Support j www.uslegalsupport . com          301
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 300 of
                                      309

                                       Rishi Kukreja
                                       July 18, 2023

     1    you made payments of close to $2 million, little more

     2    than 2 million.     Do you see that?

     3          A     Yes.

     4          Q     And that give you a credit of 296,236.51.          Do

     5    you see that?

     6          A     Yes .

     7          Q     Do you know where these payments come from,

     8    the March payments?      Did they come from the US account
                                   1

     9    or did they come from the Hong Kong account?

    10          A     I have to go back and look into that sheet.

    11          Q     I am going to write these down now.         We

    12    got

    13          A     No, but if you look at the right-hand side,

    14    it's saying US, US, US.

    15          Q     Okay, it does say that.       So they came from

    16    the US account; is that what you are saying?

    17          A     That is what that should mean.

    18          Q     So let's go back now.       In November you were

    19    running a balance.      Do you see that?

    20          A     Yes.

    21          Q     And by January -- and then by January you now

    22    had a credit?

    23                MS. MARTINEZ :    That is the January 2018

    24          payment tab .

    25


                      U.S. Legal Support    I www.uslegalsupport . com         3 02
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 301 of
                                      309
                                        Rishi Kukreja
                                        July 18, 2023

     1    BY MR. MAZZOLA:

     2            Q     Do you see that?

     3            A     Yes.

     4            Q     Rishi, can you explain then - - it looks to me

     5    that the Hong Kong debts, at least owed to ROK from CTX

     6    Hong Kong, were being paid out of the CTX US account.

     7    Why was that?

     B            A      Can you rep eat it again?

     9            Q     Why were the debts to ROK Hong Kong for Hong

    10    Kong invoices and Hong Kong purchase orders being paid

    11    out of CTX US's Citibank account?

    12            A     Because Benlida had         was requesting us

    13    to -- they were asking us how to make the payments

    14    because they were trying to fix something on their

    15    side.       They were trying to fix numbers that they

    16    reported, and so they were asking us how to make the

    17    payments, and I believe we were just following the

    18    direction and making the payments.

    19            Q     And you were paying ROK Hong Kong - - ROK for

    20    Hong Kong purchase orders from CTX US, right?

    21            A      We were - - again, we were not paying - - we

    22    were just         at the end of the day, the moneys belonged

    23    to -- we were just following the g ui delines which ROK

    24    was specifically giving, because a t          this point in time

    25    they were in debt with Mr. Huang.            Douglas and Tracy


                         U.S . Legal Support   I www.uslegalsupport . com      303
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 302 of
                                      309
                                      Rishi Kukreja
                                      July 18, 2023

     1    indicated to me they were in trouble with the Tax

     2    Department .   And so they were asking me -- they were

     3    asking that they need X amount from this place and Y

     4    amount from this place, and I was sending them the

     5    money with the general idea that - - that at the end of

     6    the day we would just -- we would allocate the funds

     7    that they were supposed to come from.

     8          Q     So because Mr. Huang and Tracy and Roger

     9    asked you to pay invoices on purchase orders issued by

    10    CTX Hong Kong, you did do that and paid them through

    11    Citibank US -- CTX US's account; is that correct?

    12          A     The entire thought process was when they were

    13    doing something of this sort, when they were making

    14    these requests, these requests were being made as loans

    15    which -- as loans made to them.        So when we were giving

    16    the money to them, it was more of a loan rather than a

    17    payment at that point in time when they were making

    18    these requests to us.

    19          Q     The question is you paid for goods that were

    20    prepared and delivered based upon CTX Hong Kong

    21    purchase orders from CTX US's Citibank account; is that

    22    correct?    Yes or no?

    23          A     I will have to go through each one of the

    24    how the payments were applied, but I do not believe so,

    25    because at the end of the day the Hong Kong payments


                      U.S. Legal Support   I www.uslegalsupport . com          304
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 303 of
                                      309
                                       Rishi Kukreja
                                       July 18, 2023

     1    were made from Hong Kong and the US payments were made

     2    from the US.

     3          Q     Let ' s do something else.       Let's go look at

     4    April of 2016.       Sarne spreadsheet, Exhibit 140.

     5                We are going to do the same exercise.           Do you
     6    see that, Rishi?

     7          A     April 2016.      Yes, I do.

     8                MS . MARTINEZ:     I think this may be

     9          Exhibit 139.     Am I mixed up?

    10                MR. MAZZOLA :    Yes, 139.      It is, yeah .

    11                MS. MARTINEZ:      Okay.

    12    BY MR. MAZZOLA :
    13          Q     Again it's a payment memo, right?

    14          A     Yes, it is a payment detail .

    15          Q     Here you have got $771,000 owed on US

    16    purchase orders .     Do you see that?

    17          A     Yes.

    18          Q     And then you have 167,000 owed on Hong Kong

    19    purchase orders .     Do you see that?

    20          A     Yes.

    21          Q     And then you have got a balance that was

    22    carried over, about 200,000.           Do you see that?

    23          A     Yes.

    24          Q     And you made these three payments; 250, 500

    25    and 400,000.       Do you see that?


                      U.S . Legal Support   I www.uslegalsupport.com           305
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 304 of
                                      309
                                       Rishi Kukreja
                                       July 18, 2023

     1            A    Yes .

     2            Q    And that almost kind of zeros it out?

     3            A    Yes.

     4            Q    Now, let's go look and see .      Where did those
     5    payments come from?

     6            A    I would have

     7            Q    The ones June 7 , July 5, and July 27; do you
     8    know?

     9            A    Not by looking at this, but I can once I look

    10    at the master sheet .

    11            Q    Let's look at the payment details,

    12    Exhibit 140.

    13                 Can you see that, Rishi?

    14            A    I do.
    15            Q    Let's go back and look at those payments made

    16    in March of 2 016 .    Did I get that date right?

    17                MR. ROSENTHAL:      No, June and July.

    18                MR . MAZ ZOLA:    July, right here .   Do you see

    19            them here?    It was July 5.

    20                 THE WITNESS:     I cannot

    21    BY MR. MAZZOLA:

    22            Q    Sorry.   June 7, July 5 and July 27.       There is

    23    the June 7 payment -- d o you see that -- for 25 0?

    24            A    Let me see .    Yes, I do.

    25            Q   And then there is the 300,000-dollar payment


                      U.S. Legal Support   I www.uslegalsupport.com           306
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 305 of
                                      309
                                     Rishi Kukreja
                                     July 18, 2023

     1    on June 27.        Do you see that?

     2            A    Yes.

     3                 MR. ROSENTHAL:     Hold on .    JC, I am sorry to
     4            interrupt you, but it's not June 27, it's July 27.
     5                 MR. MAZZOLA:     I beg your pardon.

     6                 MR. ROSENTHAL:     And it's 400,000, not
     7            300,000.

     8                 MR. MAZZOLA :    I am looking at     --
     9                 MR. ROSENTHAL:     The wrong line.
    10                 MR. MAZZOLA:     Hold on.      I am looking at
    11            June 7, July 5 and July 27.

    12    BY MR. MAZZOLA:

    13            Q    June 7 for 250, do you see that there?
    14            A    Yes .

    15            Q    That came from Citibank, right?

    16            A    Yes.

    17            Q    And then I am looking a t June 27.        Do you see

    18    that?

    19                 MR. ROSENTHAL:     Aga i n, dif ferent date.

    20                 MS. MARTINEZ:     It's July 5 was the next one .

    21    BY MR . MAZZOLA :

    22            Q    I beg your pardon.       July 5, that is 500,000

    23    that came from Citibank .       Do you see that?

    24            A    Yes .

    25            Q    And then the next one is July 27 .        Do you see


                       U.S. Legal Support   I www.uslegalsupport.com          307
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 306 of
                                      309
                                           Ri shi Kukre ja
                                           J uly 1 8, 2 0 23

     1    that, the 400,000 that c a me from Citibank?
     2          A      Yes.

     3          Q      So is this a nothe r e x ample of i nvoices f or
     4    purchase orders issued by Hong Kong that are being paid
     5    out of CTX US ' s bank account?

     6          A      That is right, because a t the time of the
     7    payment it was done as a loan .             But eventually -- yes .

     8          Q      Yes, okay.

     9                 MS . MARTINEZ:       JC, i t's b een about an hour.
    10                 MR . MAZ ZOLA :     I know.      One second p l ease .

    11          Can we stop the clock for a moment?

    12                 (Ther eupon, t h ere is a b r eak in the

    13                  p r oceedings. )

    14                 MR . MAZZOLA :      All righ t, I think we are done.

    15                 MS. MARTINEZ:        Okay.

    16                 MR. MAZZOLA:        Thank you, Rishi .

    17                 THE WITNESS :       Thank you.

    18                 THE REPORTER :       Are you ordering, Mr . Lerner?

    19                 MR . LERNER:      Yes .

    20                 THE REPORTER:        Copy, Ms . Mar tinez?

    21                 MS . MARTINEZ :      Yes.

    22                 THE REPORTER:        I s somebody going to send me

    23          t he exhi bits?

    24                 MR . LERNER :     I wil l send them.       Wh at i s your

    25          e - ma il?


                      U .S. Legal Support        I www. uslegal support. com       308
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 307 of
                                      309
                                        Ri shi Kukreja
                                        J u l y 18, 2023

     1                THE REPORTER:          I will put it in the chat so
     2          that it ' s clear.

     3                MR . LERNER:      We l l, it's over a thousand

     4          pages, this Excel.           I don't know if that is going
     5          to work .

     6                MR. ROSENTHAL:             Do you need them, Laurie?

     7                THE REPORTER:          I    don't need them.       I   can just
     8          note in the transcript that they are being held.

     9                MR. ROSENTHAL:             Okay.    And if you need

    10          anything, just let us know .

    11                (Thereupon, at 3 : 20 p.m., the de position

    12                 cone 1 uded. )

    13                                   *        *   *
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Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 308 of
                                      309
                                      Rishi Kukreja
                                      July 18, 2023

     1                         CERTIFICATE OF OATH

     2

     3    State of Florida

     4    County of Dade

     5

     6

     7                I the undersigned authority, certify that the

     8    witness, RISH! KUKREJA, appeared remotely before me and

     9    was duly sworn.

    10

    11                Witness my hand and official seal this

    12    25th day of July, 2023.

    13

    14

    15                          Laurel A. Mazur
                                Notary Public, State of Florida
    16                          Commission No . HH 396579
                                Expires : 7/28/27
    17

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                      U.S. Legal Support   I www.uslegalsupport.com           310
Case 0:21-cv-60125-RNS Document 203-3 Entered on FLSD Docket 08/22/2023 Page 309 of
                                      309
                                      Rishi Kukreja
                                      July 18, 2023

     1                       REPORTER'S CERTIFICATE

     2   State of Florida
         County of Dade
     3

     4            I, Laurel A. Mazur, Court Reporter and Notary
         Public, State of Florida, do hereby certify that I was
     5   authorized to and did stenographically report the
         foregoing deposition in stenotype, that the foregoing
     6   pages, numbered from 262 to 309, inclusive, are a true
         and correct transcription of my shorthand notes of said
     7   deposition, and that the witness did not waive review
         of the transcript.
     8
                   I further certify that I am not a relative,
     9    employee, attorney, or counsel of any of the parties,
          nor am I a relative or employee of any of the parties'
    10    attorneys or counsels connected with the action, nor am
          I financially interested in the action.
    11
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    14              Dated this 25th day of July, 2023.

    15

    16
                            Laurel A. Mazur
    17                      Notary Public, State of Florida
                            Commission No. HH 396579
    18                      Expires:  7/28/27

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                      U.S. Legal Support   I www.uslegalsupport.com            311
